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                                        UNITED STATES DISTRICT COURT
                                         WESTERN DISTRICT OF TEXAS
                                              EL PASO DIVISION
 LEAGUE OF UNITED LATIN AMERICAN                                        §
 CITIZENS, et al.                                                       §
                  Plaintiffs,                                           §
                                                                                                Case No. 3:21-cv-00259
 V.                                                                     §
                                                                                                     [Lead Case]
                                                                        §
 GREG ABBOTT, et al.,                                                   §
              Defendants.                                               §

 ROY CHARLES BROOKS, et al.                                             §
              Plaintiffs,                                               §
 V.                                                                     §                       Case No. 1:21-cv-00991
                                                                        §                        [Consolidated Case]
 GREG ABBOTT, et al.,                                                   §
              Defendants.                                               §

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                     Exhibit 1:
            Declaration of Rep. Phil King
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                        IN THE UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                  EL PASO DIVISION

 LEAGUE OF UNITED LATIN AMERICAN                   §
 CITIZENS, et al.                                  §
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                                                   §
         Plaintiffs,                               §
 V.                                                §                 Case No. 1:21-cv-00991
                                                   §                  [Consolidated Case]
 GREG ABBOTT, et al.,                              §
                                                   §
         Defendants.                               §



                        DECLARATION OF PHILLIP STEPHEN KING

        Pursuant to 28 U.S.C., I, Phillip Stephen King, declare the following:

1.      My name is Phillip Stephen King. I am over the age of 18 and competent to make this
declaration. I currently reside in Parker County, Texas.

2.      I have served as a State Representative since 1999. I have held leadership positions including
as the former Committee Chair of the House Redistricting Committee. I currently represent District
61, which encompasses all of Parker County. This includes the sections of Fort Worth that extend
into Parker County.

3.     My family moved to east Fort Worth when I was four years old. I lived there from 1960 until
1983. During that time, I attended Fort Worth public schools and graduated from Eastern Hills High
School. Many of Fort Worth’s African American neighborhoods were located in east Fort Worth
when I resided there.

4.      Following my graduation, I began my undergraduate studies at Tarrant County College. In
1993, I received my law degree from Texas Wesleyan University School of Law in Fort Worth.

5.       My wedding was held at Sagamore Hill Baptist Church, which I started attending when I was
five or six years old. During my tenure at this church, it was located in east Fort Worth at 4400 Panola.
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The first home that my wife and I purchased was located in east Fort Worth. We had our first child
while we still lived in east Fort Worth.

6.      I proudly served as a police officer in the Fort Worth Police Department from 1974 to 1989.
At the time I departed from the force, I was serving as the Commander of the Fort Worth Police
Department’s East Division.

7.     In 1983, I moved from east Fort Worth to Parker County. I served as a Justice of the Peace
for Parker County from 1991 to 1998. My Justice of the Peace district included the portion of Fort
Worth that extends into Parker County.

8.      My family and I have also been active members of Trinity Bible Church since 1984. That
church is located off Interstate 20 in Willow Park, which is a small community in Parker County
situated between Weatherford and Fort Worth. I am also on the Board of Directors for the
Weatherford College Education Foundation.

9.      Having spent my life and my career in public service in Fort Worth and Parker County, I am
intimately familiar with the issues that are unique to the area. In particular, I am familiar with the
region’s economic development, workforce, education, transportation corridors, public safety,
environmental, water, oil and gas, electricity distribution, and population growth trends.

10.    The portions of Tarrant County that are included in the new Senate District 10 have much in
common with the rest of the district, especially Johnson County, Parker County, and Palo Pinto
County. For example, the city of Burleson is partially located in both Tarrant County and Johnson
County. As already mentioned, Fort Worth extends into Parker County. Moving west, the city of
Mineral Wells is located in both Parker County and Palo Pinto County.

11.     The economies of both Parker County and Johnson County are directly tied to Tarrant
County. Johnson County shares the Interstate 35 corridor with Tarrant County. Interstate 20 runs
west from Tarrant County into Parker County, Palo Pinto County, and Callahan County. It is therefore
not uncommon for people to commute into Tarrant County for work from Parker, Johnson, and
sometimes even Palo Pinto County. In fact, for five or six years after I moved to Parker County, I was
just such a commuter.

12.     Because of their many shared interests and commonalities, Tarrant, Johnson, Parker, and Palo
Pinto counties are often grouped with one another for administrative efficiency and convenience. For
example, all four counties are part of the Texas Department of Transportation’s Fort Worth District.
All four counties are part of the Texas Department of State Health Services’ Health Region 3. The
Texas Commission on Environmental Quality has placed all four counties in the same region, Region
4. All four counties fall within the regulations of the Barnett Shale under 30 Texas Administrative
Code 106.352. All four counties are part of the same Texas Highway Patrol District. All four counties
are included in the North Central Texas Council of Governments. All four counties are included in
the same district, District 3, by the Department of Family and Protective Services. All four counties
are part of the Texas Health and Human Services’ North Central Texas Regional Advisory Council,
which provides resources to local emergency managers in case of an emergency. All four counties are
in Joint Disaster District 4A for the Texas Division of Emergency Management as well as the
Department of Public Safety. Tarrant, Johnson, and Parker counties are all serviced by Tarrant
Regional Water District.
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13.     Like the new district’s four easternmost counties, the counties of Stephens, Shackelford,
Callahan, and Brown are also often grouped together for administrative efficiency and convenience.
Those counties are all grouped together in the Texas Department of State Health Services’ Health
Region 2, the Texas Commission on Environmental Quality’s Region 3, the same Texas Highway
Patrol District, District 2 of the Department of Family and Protective Services, the Texas Health and
Human Services’ Regional Advisory Council, and Joint Disaster District 7 for the Texas Division of
Emergency Management as well as the Department of Public Safety. Those four counties are also
grouped with Parker and Palo Pinto counties in District 7B of the Railroad Commission Oil and Gas
Division’s boundaries, and they are all four grouped with Johnson and Palo Pinto counties into the
same Regional Water Planning Area by the Texas Water Development Board. All of these connections
among the counties of Senate District 10 reflect these communities common interests.

14.     Additionally, the counties included in the new Senate District 10 often share school districts.
For example, Burleson ISD and Crowley ISD both cover parts of Tarrant and Johnson County. Aledo
ISD extends from Parker County into Tarrant County. Santo ISD, Millsap ISD, and Mineral Wells
ISD all include portions of both Parker County and Palo Pinto County. Moran ISD extends from
Shackelford County into Callahan and Stephens counties. Clyde Consolidated ISD extends from
Callahan County into Shackelford County. And Cross Plains ISD extends from Callahan County down
into Brown County.

15.     Senate District 10 has never been a majority Black, majority Hispanic, or majority Asian-
American district. In the last two decades, there have been four Senators elected to represent Senate
District 10. Those four individuals were Republican Kim Brimer, who is a white male, followed by
Democrat Wendy Davis, who is a white female, followed by Republican Konni Burton, who is a white
female, and then most recently Democrat Beverly Powell, who is another white female. To the best
of my recollection, no member of a racial or ethnic minority has ever been elected to Senate District
10.

16.     I would also note that as reflected in the publicly reported voting records, three Democratic
senators voted in favor of the new Senate District 10. I also firmly believe that Republican senators
would not have voted for a racially discriminatory plan. The fact that many Senators from both sides
of the aisle voted in favor of a plan containing Senate District 10 also suggests the new configuration
was not in any way motivated by race.

17.     I am a candidate for the Texas Senate in the newly configured Senate District 10. Although
the primary elections are not until March, political campaigns have been underway for weeks if not
months. I have extensively traveled and spent time with members of the public all across the district
in preparation for the election. Donors and other supporters in the new Senate District 10 who have
contributed their time, money, and energy to support my campaign have done so with the
understanding that I am running for the district that the legislature enacted.

18.      Changing the map for Senate District 10 at this point in the election cycle would be a
significant hardship for both my campaign and the public. Voters who are no longer in Senate District
10 would have to begin anew their efforts to educate themselves about the candidates they will be
voting on. Limited campaign resources would have been effectively wasted if they were spent in areas
no longer covered under the new map. And any delay in the primary election will necessarily entail
greater expense for candidates and campaigns and could result in voter confusion.
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I declare under penalty of perjury that the foregoing is true and correct.



Executed in Parker County, State of Texas, on the 20th day of December, 2021.



                                                        ___________________________________
                                                        Phillip Stephen King




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                      Exhibit 2:
            Declaration of Dr. John Alford
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                        IN THE UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                  EL PASO DIVISION

 LEAGUE OF UNITED LATIN AMERICAN                   §
 CITIZENS, et al.                                  §
                                                   §
         Plaintiffs,                               §
                                                                    Case No. 3:21-cv-00259
 V.                                                §
                                                                         [Lead Case]
                                                   §
 GREG ABBOTT, et al.,                              §
                                                   §
         Defendants.                               §

 ROY CHARLES BROOKS, et al.                        §
                                                   §
         Plaintiffs,                               §
 V.                                                §                Case No. 1:21-cv-00991
                                                   §                 [Consolidated Case]
 GREG ABBOTT, et al.,                              §
                                                   §
         Defendants.                               §


                            DECLARATION OF JOHN R. ALFORD

       Pursuant to 28 U.S.C. § 1746, I, John R. Alford, declare the following:

1.      My name is John R. Alford. I am over the age of 18 and competent to make this declaration.
I currently reside in Harris County, Texas.

2.      I am a Professor in the Department of Political Science at Rice University. I have been retained
by the Texas Attorney General to serve as an expert witness in connection with the above-captioned
matter.

3.      Attached hereto is a true and correct copy of the document titled “Initial Expert Report of
John R. Alford Ph.D.” This document represents my limited, preliminary analysis of issues raised by
the Brooks plaintiffs related to the redrawing of Texas State Senate District 10. I reserve the right to
supplement this initial report as appropriate and to provide the full disclosures required by Federal
Rule of Civil Procedure 26(a)(2)(B) under the schedule ordered by the Court.

4.     My Initial Expert Report references two exhibits: my curriculum vitae and an article by Rene
R. Rocha. True and correct copies of those documents are also attached hereto.

5.     I declare under penalty of perjury that the foregoing is true and correct.

Executed in Harris County, State of Texas, on the 20th day of December, 2021.
Case 3:21-cv-00259-DCG-JES-JVB Document 102-1 Filed 12/20/21 Page 10 of 195




                                         ___________________________________
                                         John R. Alford




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                      Exhibit 3:
           Initial Report of Dr. John Alford
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                            Initial Expert Report of John R. Alford Ph.D.




    1. Scope of Inquiry

    I have been retained by the Texas Attorney General as an expert to provide analysis of issues

raised by the Brooks plaintiffs related to the redrawing of Texas State Senate District 10. My rate

of compensation as an expert is $400 per hour. Given the very tight schedule my analysis below

is both limited and preliminary and I reserve the right to supplement this initial report as

appropriate.

    2. Qualifications

    I am a tenured full professor of political science at Rice University. In my over thirty-five years

at Rice, I have taught courses on redistricting, elections, political representation, voting behavior,

and statistical methods at both the undergraduate and graduate level. Over the last thirty-five years,

I have worked with numerous local governments on districting plans and on Voting Rights Act

issues. I have previously provided expert reports and/or testified as an expert witness in voting

rights and statistical issues in a variety of court cases, working for the U.S. Attorney in Houston,

the Texas Attorney General, a U.S. Congressman and various cities and school districts.

    In the 2000 round of redistricting, I was retained as an expert to provide advice to the Texas

Attorney General in his role as Chair of the Legislative Redistricting Board. I subsequently served

as the expert for the State of Texas in the state and federal litigation involving the 2001 redistricting

for U.S. Congress, the Texas Senate, the Texas House of Representatives, and the Texas State

Board of Education.



                                                   1
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   In the 2010 round of redistricting in Texas, I was again retained as an expert by the State of

Texas to assist in defending various state election maps and systems including the district maps

for the U.S. Congress, the Texas Senate, the Texas House of Representatives, and the current at

large system for electing Justices to the State Supreme Court and Court of Appeals, as well as the

winner-take-all system for allocating Electoral College votes.

   I have also worked as an expert on redistricting and voting rights cases at the state and/or local

level in Michigan, Washington, Louisiana, New Mexico, Mississippi, Wisconsin, Florida, New

York, Georgia, South Carolina and Alabama.

   The details of my academic background and qualifications, including all publications in the

last ten years, and work as an expert, including all cases in which I have testified by deposition or

at trial in the last four years, are included in my curriculum vitae, which is attached to this report

as Exhibit 1.

   3. The History of Texas Senate District 10

   In the 1962 Texas Senate District 10 was, like all 31 of the Senate districts, occupied by a

Democrat, Don Kennedy. In the 1972 election Democrat Bill Meier won election and was

reelected throughout the decade. In 1981, near the end of his last term, Meier switched parties and

became a Republican. In the 1982 election Republican Bob McFarland won SD 10, becoming the

first Republican to be elected as a Republican to SD10. This made SD 10 one of only a handful

of Republican Senate districts in the state (the 68th Senate that met in 1983 had only five

Republican Senators). McFarland served for the entire decade of the 80s, and in 1992 Republican

Chris Harris was elected to the seat with 61.4% of the vote, besting Democrat Bob Bass, and

joining a rise tide of 12 other Republicans in the 73rd Senate in 1993. Harris was reelected without


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a Democratic opponent in 1994, 1996, and 2000. By his last term in the Senate Harris was part of

a Republican majority of 16 Republicans to 15 Democrats in the Texas Senate.

    In the 2000 round of redistricting Senate District 10 returned to being drawn entirely within

Tarrant County (as it had been in the 50s through the 80s, and in 2002 Republican Kim Brimer

was elected to the seat winning with 58.7% of the vote over Democrat Hal Ray. Brimer was

reelected in 2004 over Democrat Andrew Hill with a similar 59.2% of the vote. In the 2008

election Brimer was weakened by several campaign finance questions as well as the questionable

use of a loophole to funnel Austin rent money to his spouse. State Democrats identified SD 10 as

a key target that year, and with strong support from Matt Angle and The Lone Star Project, Brimer

was narrowly defeated by rising Democratic star Wendy Davis by a margin of 49.9% to 47.5% of

the vote. Davis managed a narrow reelection win in 2012 with 51.1% to Republican Mark

Shelton’s 48.9%. In 2014 the seat was open due to Davis’ decision to run for governor, and

Republican Konni Burton flipped the seat back to the Republicans, winning the election with

52.8% over Democrat Libby Willis 44.7%. In 2018 the seat flipped again, with Democrat Beverly

Powell winning election with 51.7% to incumbent Rep Konni Burton’s 48.3%.

    Senate District 10 was a securely Republican district throughout the 80s and 90s, in the two

most recent decades the district has become more competitive, and in the six elections beginning

with 2002 has been won by Republicans three time and Democrats three times. The redraw of the

district in the recently enacted plan shifts the district back toward what would likely be a more

similar to its earlier status as a secure Republican district.




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    4. Plaintiffs’ Analysis

    In line with Bartlett, plaintiffs raise no VRA Section 2 claim with regard to Senate District 10.

The most recent American Community Survey (ACS) Citizen Voting Age Population (CVAP)

data (2015-2019) has the district at 53.9% Anglo, 20.6% non-Hispanic Black, 20.4% Hispanic,

3.2% Asian, and the remaining 2.0% other. Clearly the district does not meet the bright-line

Gingles 1 50% plus 1 test for any single minority group. Nor does it meet the test with Blacks and

Hispanics combined (41.0%). Even combining Blacks, Hispanics, Asians, and all others, the

district falls short of the 50% line for minorities. As such, the plaintiffs are seeking to combine

two already murky legal concepts – crossover districts and coalition districts.

4.1 Dr. Barreto’s Report

        In his report, Dr. Barreto offers election analysis that attempts to demonstrate that Blacks

and Hispanics can be treated as a single combined minority in District 10 solely on the basis of the

fact that both groups vote Democratic by strong majorities in the general election in the district.

As has been noted in multiple court cases in Texas, the fact that two distinct racial or ethnic groups

both provide majority support to the Democratic Party in the general election is not sufficient to

allow them to be treated as a single politically cohesive minority group for legal purposes. As it

happens there is an ethnically contested Democratic primary in Senate District 10 that illustrates

this point.

        The 2014 Democratic primary in SD 10 included an Anglo candidate, Libby Willis, against

a Hispanic candidate, Mike Martinez. Willis defeated Martinez in the primary 53.5% to 43.5%.

An EI analysis, of the same sort provided for the general election by Dr. Barreto, shows that in

that primary Anglo voters gave an estimated 69% of their vote to the Anglo candidate Libby Willis.


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A similar, but reversed pattern appears for Hispanic voters, with Mike Martinez getting and

estimated 62% of the Hispanic vote. While this voting pattern is far from the strongly polarized

partisan voting that Dr. Barreto reports in his tables (Anglos voting 85-90% Republican, Blacks

voting 90%+ Democratic, and Hispanics voting 75%+ Democratic), it is nonetheless clear that a

majority of Anglo voters preferred the Anglo candidate and a majority of Hispanic voters preferred

the Hispanic candidate. However, the same EI analysis shows that Black voters did not favor the

Hispanic candidate, but instead favored Libby Willis, the Anglo candidate, by an estimated margin

of 61% to 39%.

       In other words, focusing in on the behavior of the two minority groups, one racial and one

ethnic, which form the bulk of the minority coalition that plaintiffs argue exists and must be

protected in SD10, shows that by Dr. Barreto’s own definition they do not qualify as a coalition.

In fact, assuming Barreto’s definition is correct, by his definition they exhibit Racially Polarized

Voting in this endogenous Democratic primary. Dr. Barreto offers as a simple definition of

Racially Polarized Voting (RPV) – “It means simply that voters of different groups are voting in

polar opposite directions, rather than in a coalition.” That is exactly what Black and Hispanic

voters are doing in this contested Democratic primary. As a result, it is fair to say that the Anglo

candidate, Libby Willis, was the preferred candidate of Anglos and Black voters, but the same is

not true for Hispanic voters whose preferred candidate, Mike Martinez, was defeated by a coalition

of Anglo and Black voters.

       In sum, Senate District 10 is an adult citizen majority Anglo district that was historically

safe for Republicans and has more recently become competitive. In the last two decades in its

configuration entirely within Tarrant County, the district has elected Anglo Democrats three times

and Anglo Republicans three times. In this same period, no minority has been elected to this seat,

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and no minority has been nominated by a major party. Aside from a common partisan preference

for Democrats in the November general election, there is no evidence of a political coalition

sufficient to justify treating Black and Hispanic voters as a single politically cohesive minority

group.

4.2 Other Evidence on Black-Hispanic Voting Patterns

         The failure of these two groups to unite as a single cohesive political minority, outside of

the partisan general election, is hardly unique to SD10. The potential for a VRA Section 2 Black

plus Hispanic coalition district in the Dallas and Tarrant County area was raised by plaintiffs in

the Perez v Abbott litigation and analysis of Democratic primaries in Tarrant County was included

in the expert testimony. The analysis indicated that Black and Hispanic voters almost always

supported different candidates in these primaries. The results in Tarrant County were not unusual,

and in fact were very similar to the results in the other urban counties in Texas where the same

pattern of Black voters preferring different candidates from those preferred by Hispanic voters in

Democratic primaries was evident. Similarly, in the recent DFW area Kumar v Frisco ISD case,

see 476 F. Supp. 3d 439 (E.D. Tex. 2020), the judge rejected the claim of a Black, Hispanic, Asian

coalition on the bases of clear election evidence that, despite the evidence of similar voting patterns

in partisan November elections, the three distinct groups were not politically cohesive.

         This same point is clear in the continuing history of conflict between Black and Hispanic

voters in the Democratic primary in CD 33. CD 33 is near a Hispanic majority in CVAP (48.6%

Hispanic, 23.5% Anglo, and 24.2% Black). In the first contest for the Democratic nomination in

the newly created CD 33 a Black candidate, Marc Veasey (preferred by Black and Anglo voters),

prevailed over multiple Hispanic candidates in the Democratic primary, and over Domingo Garcia

(preferred by Hispanic voters) in the runoff primary. This pattern has continued since, with Veasey

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regularly challenged unsuccessfully by Hispanic candidates in the Democratic primary and by

Hispanic Republicans in the general election.

       This pattern is no surprise to political science. The research literature on minority

representation in school board elections has long noted the lack of evidence for the formation of

Black-Hispanic voting coalitions, sometimes termed “rainbow coalitions”. As for example Dr.

Rene Rocha concludes in a recent study (attached to this report as Exhibit 2) of fifteen hundred

school board elections:

       The dynamics of interminority relations are unquestionably complicated. Despite
       commonly held beliefs about the ideological similarity between racial and ethnic
       minorities, the development of long- lasting rainbow coalitions is considered to be unlikely
       in most local settings. Like many previous works (i.e., McClain 1993; McClain and Karnig
       1990; Meier and Stewart 1991a; Kaufmann 2003, 2004), the evidence presented here does
       not support the contention that rainbow coalition routinely form in urban areas. However,
       the data point to different patterns of conflict than those suggested by earlier studies.
       Contrary to the predictions of Meier and Stewart’s (1991a) power thesis, there is little
       support for the notion that Anglo-Latino coalitions are an expected substitute for
       interminority ones. Rather, Latino immigration may encourage the development of Anglo-
       black coalitions, as seen by the increased likelihood of African Americans to be elected to
       local boards in districts with a large Latino noncitizen population.


4.4 Plaintiff’s ‘Alternative’ District Plan

       The district history discussed above suggests that SD 10 would be a likely target for a

Republican legislature seeking to bolster Republican prospects without risking too much security

in existing Republican districts. It had become an anomaly – a truly competitive district that could

be won by either party - adjacent to substantial secure Republican territory in adjacent counties.

The plaintiffs argue that the partisan motivation asserted by the legislature was clearly pretext. As

they say:

       Race, not politics, explains why SD10’s minority populations were cracked apart in SB4.
       This is apparent from the legislative process and from the alternative plan Plaintiffs discuss

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        below that demonstrates that the legislature’s purported political goals could have been
        achieved without dismantling SD10 and cracking apart its minority populations”. … First,
        any suggestion that politics, not race, explained SD10’s lines would be post hoc pretext.
        At the September 24, 2021 hearing, Sen. Huffman read aloud from a scripted statement
        and identified her redistricting criteria. Ex. 14 at 5; Ex. 6K at 16. Seeking partisan
        advantage was not among them. … She repeated each of the criteria previously identified
        on September 24, but added a new criterion to her script: “partisan considerations.” Id.;
        see also id. at 16 (denying being told to add “partisan considerations” to the criteria post
        hoc). The addition of this new purported criterion in scripted remarks after the lines were
        drawn, after the criteria were already announced in earlier scripted remarks, and after
        days of testimony about the racially discriminatory cracking of SD10’s minority
        populations, is strong evidence that it is pretextual.


        The notion that the Republican majority in the Texas Legislature, or any partisan majority

in any state legislature in the United States, conducted an entire redraw of legislative lines without

any partisan motivation or consideration, and only fabricated the notion of a partisan purpose later

simply defies the stark reality of the overwhelming predominance of partisan gerrymandering,

both in Texas and in the rest of the U.S.

        Similarly, the attempt to suggest that there is, and was, an alternative to be found by

dismantling a Democratic district in Travis County fails on several grounds. First, the desire to

return a once secure Republican district to the fold involved a natural redistricting focus on that

Senate district in Tarrant County, not a focus on a very different political reality in Travis County.

The district in Travis County plaintiffs suggest as a more natural partisan focus is the 14th, a district

that has been held by a Democrat since the end of reconstruction, and typically votes 60-80%

Democratic. It is in fact a packed Democratic district, an arrangement all too familiar in partisan

gerrymandering, and the sort of district that is challenging to unpack without substantial

disturbance to the surrounding Republican districts and their Republican incumbents, as evident

in the five Republican districts impacted in the plaintiffs’ alternative proposal. In short, the

responsibility of plaintiffs to offer a plausible alternative that would have achieved the legislature’s


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purpose without the challenged racial impact would need to be satisfied by an alternative plan that

returned Senate District 10 to secure Republican performance numbers with the alleged racial

impact, not by a redraw distinct in both character and geography like that offered here.

Conclusion

       These are my initial impressions based on a preliminary review. I reserve the right to revise

and extend based on more time as the schedule allows.




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                                                  John R. Alford
                                                   Curriculum Vitae
                                                   December, 2021

Dept. of Political Science
Rice University - MS-24
P.O. Box 1892
Houston, Texas 77251-1892
713-348-3364
jra@rice.edu


Employment:
Full Professor, Rice University, 2015 to present.
Associate Professor, Rice University, 1985-2015.
Assistant Professor, University of Georgia, 1981-1985.
Instructor, Oakland University, 1980-1981.
Teaching-Research Fellow, University of Iowa, 1977-1980.
Research Associate, Institute for Urban Studies, Houston, Texas, 1976-1977.

Education:
Ph.D., University of Iowa, Political Science, 1981.
M.A., University of Iowa, Political Science, 1980.
M.P.A., University of Houston, Public Administration, 1977.
B.S., University of Houston, Political Science, 1975.

Books:
Predisposed: Liberals, Conservatives, and the Biology of Political Differences. New York: Routledge, 2013. Co-authors,
John R. Hibbing and Kevin B. Smith.

Articles:
“Political Orientations Vary with Detection of Androstenone,” with Amanda Friesen, Michael Gruszczynski,
and Kevin B. Smith. Politics and the Life Sciences. (Spring, 2020).

 “Intuitive ethics and political orientations: Testing moral foundations as a theory of political ideology.” with
Kevin Smith, John Hibbing, Nicholas Martin, and Peter Hatemi. American Journal of Political Science.
(April, 2017).

“The Genetic and Environmental Foundations of Political, Psychological, Social, and Economic Behaviors: A
Panel Study of Twins and Families.” with Peter Hatemi, Kevin Smith, and John Hibbing. Twin Research and
Human Genetics. (May, 2015.)

“Liberals and conservatives: Non-convertible currencies.” with John R. Hibbing and Kevin B. Smith.
Behavioral and Brain Sciences (January, 2015).

“Non-Political Images Evoke Neural Predictors Of Political Ideology.” with Woo-Young Ahn, Kenneth T.
Kishida, Xiaosi Gu, Terry Lohrenz, Ann Harvey, Kevin Smith, Gideon Yaffe, John Hibbing, Peter Dayan, P.
Read Montague. Current Biology. (November, 2014).
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   “Cortisol and Politics: Variance in Voting Behavior is Predicted by Baseline Cortisol Levels.” with Jeffrey
   French, Kevin Smith, Adam Guck, Andrew Birnie, and John Hibbing. Physiology & Behavior. (June, 2014).

   “Differences in Negativity Bias Underlie Variations in Political Ideology.” with Kevin B. Smith and John R.
   Hibbing. Behavioral and Brain Sciences. (June, 2014).

   “Negativity bias and political preferences: A response to commentators Response.” with Kevin B. Smith and
   John R. Hibbing. Behavioral and Brain Sciences. (June, 2014).

   “Genetic and Environmental Transmission of Political Orientations.” with Carolyn L. Funk, Matthew Hibbing,
   Kevin B. Smith, Nicholas R. Eaton, Robert F. Krueger, Lindon J. Eaves, John R. Hibbing. Political
   Psychology, (December, 2013).

   “Biology, Ideology, and Epistemology: How Do We Know Political Attitudes Are Inherited and Why Should
   We Care?” with Kevin Smith, Peter K. Hatemi, Lindon J. Eaves, Carolyn Funk, and John R. Hibbing.
   American Journal of Political Science. (January, 2012)

   “Disgust Sensitivity and the Neurophysiology of Left-Right Political Orientations.” with Kevin Smith, John
   Hibbing, Douglas Oxley, and Matthew Hibbing, PlosONE, (October, 2011).

   “Linking Genetics and Political Attitudes: Re-Conceptualizing Political Ideology.” with Kevin Smith, John
   Hibbing, Douglas Oxley, and Matthew Hibbing, Political Psychology, (June, 2011).

   “The Politics of Mate Choice.” with Peter Hatemi, John R. Hibbing, Nicholas Martin and Lindon Eaves,
   Journal of Politics, (March, 2011).

   “Not by Twins Alone: Using the Extended Twin Family Design to Investigate the Genetic Basis of Political
   Beliefs” with Peter Hatemi, John Hibbing, Sarah Medland, Matthew Keller, Kevin Smith, Nicholas Martin, and
   Lindon Eaves, American Journal of Political Science, (July, 2010).

   “The Ultimate Source of Political Opinions: Genes and the Environment” with John R. Hibbing in
   Understanding Public Opinion, 3rd Edition eds. Barbara Norrander and Clyde Wilcox, Washington D.C.:
   CQ Press, (2010).

   “Is There a ‘Party’ in your Genes” with Peter Hatemi, John R. Hibbing, Nicholas Martin and Lindon Eaves,
   Political Research Quarterly, (September, 2009).

   “Twin Studies, Molecular Genetics, Politics, and Tolerance: A Response to Beckwith and Morris” with John
   R. Hibbing and Cary Funk, Perspectives on Politics, (December, 2008). This is a solicited response to a
   critique of our 2005 APSR article “Are Political Orientations Genetically Transmitted?”

   “Political Attitudes Vary with Physiological Traits” with Douglas R. Oxley, Kevin B. Smith, Matthew V.
   Hibbing, Jennifer L. Miller, Mario Scalora, Peter K. Hatemi, and John R. Hibbing, Science, (September 19,
   2008).

   “The New Empirical Biopolitics” with John R. Hibbing, Annual Review of Political Science, (June, 2008).

   “Beyond Liberals and Conservatives to Political Genotypes and Phenotypes” with John R. Hibbing and Cary
   Funk, Perspectives on Politics, (June, 2008). This is a solicited response to a critique of our 2005 APSR
   article “Are Political Orientations Genetically Transmitted?”

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   “Personal, Interpersonal, and Political Temperaments” with John R. Hibbing, Annals of the American
   Academy of Political and Social Science, (November, 2007).

   “Is Politics in our Genes?” with John R. Hibbing, Tidsskriftet Politik, (February, 2007).

   “Biology and Rational Choice” with John R. Hibbing, The Political Economist, (Fall, 2005)

   “Are Political Orientations Genetically Transmitted?” with John R. Hibbing and Carolyn Funk, American
   Political Science Review, (May, 2005). (The main findings table from this article has been reprinted in two
   college level text books - Psychology, 9th ed. and Invitation to Psychology 4th ed. both by Wade and Tavris,
   Prentice Hall, 2007).

   “The Origin of Politics: An Evolutionary Theory of Political Behavior” with John R. Hibbing, Perspectives
   on Politics, (December, 2004).

   “Accepting Authoritative Decisions: Humans as Wary Cooperators” with John R. Hibbing, American Journal
   of Political Science, (January, 2004).

   “Electoral Convergence of the Two Houses of Congress” with John R. Hibbing, in The Exceptional Senate,
   ed. Bruce Oppenheimer, Columbus: Ohio State University Press, (2002).

   “We’re All in this Together: The Decline of Trust in Government, 1958-1996.” in What is it About
   Government that Americans Dislike?, eds. John Hibbing and Beth Theiss-Morse, Cambridge: Cambridge
   University Press, (2001).

   “The 2000 Census and the New Redistricting,” Texas State Bar Association School Law Section
   Newsletter, (July, 2000).

   “Overdraft: The Political Cost of Congressional Malfeasance” with Holly Teeters, Dan Ward, and Rick Wilson,
   Journal of Politics (August, 1994).

   "Personal and Partisan Advantage in U.S. Congressional Elections, 1846-1990" with David W. Brady, in
   Congress Reconsidered 5th edition, eds. Larry Dodd and Bruce Oppenheimer, CQ Press, (1993).

   "The 1990 Congressional Election Results and the Fallacy that They Embodied an Anti-Incumbent Mood"
   with John R. Hibbing, PS 25 (June, 1992).

   "Constituency Population and Representation in the United States Senate" with John R. Hibbing. Legislative
   Studies Quarterly, (November, 1990).

   "Editors' Introduction: Electing the U.S. Senate" with Bruce I. Oppenheimer. Legislative Studies Quarterly,
   (November, 1990).

   "Personal and Partisan Advantage in U.S. Congressional Elections, 1846-1990" with David W. Brady, in
   Congress Reconsidered 4th edition, eds. Larry Dodd and Bruce Oppenheimer, CQ Press, (1988). Reprinted
   in The Congress of the United States, 1789-1989, ed. Joel Silby, Carlson Publishing Inc., (1991), and in The
   Quest for Office, eds. Wayne and Wilcox, St. Martins Press, (1991).

   "Can Government Regulate Fertility? An Assessment of Pro-natalist Policy in Eastern Europe" with Jerome
   Legge. The Western Political Quarterly (December, 1986).

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   "Partisanship and Voting" with James Campbell, Mary Munro, and Bruce Campbell, in Research in
   Micropolitics. Volume 1 - Voting Behavior. Samuel Long, ed. JAI Press, (1986).

   "Economic Conditions and Individual Vote in the Federal Republic of Germany" with Jerome S. Legge.
   Journal of Politics (November, 1984).

   "Television Markets and Congressional Elections" with James Campbell and Keith Henry. Legislative Studies
   Quarterly (November, 1984).

   "Economic Conditions and the Forgotten Side of Congress: A Foray into U.S. Senate Elections" with John R.
   Hibbing, British Journal of Political Science (October, 1982).

   "Increased Incumbency Advantage in the House" with John R. Hibbing, Journal of Politics (November,
   1981). Reprinted in The Congress of the United States, 1789-1989, Carlson Publishing Inc., (1991).

   "The Electoral Impact of Economic Conditions: Who is Held Responsible?" with John R. Hibbing, American
   Journal of Political Science (August, 1981).

   "Comment on Increased Incumbency Advantage" with John R. Hibbing, Refereed communication: American
   Political Science Review (March, 1981).

   "Can Government Regulate Safety? The Coal Mine Example" with Michael Lewis-Beck, American Political
   Science Review (September, 1980).



   Awards and Honors:
   CQ Press Award - 1988, honoring the outstanding paper in legislative politics presented at the 1987 Annual
   Meeting of the American Political Science Association. Awarded for "The Demise of the Upper House and
   the Rise of the Senate: Electoral Responsiveness in the United States Senate" with John Hibbing.



   Research Grants:
   National Science Foundation, 2009-2011, “Identifying the Biological Influences on Political Temperaments”,
   with John Hibbing, Kevin Smith, Kim Espy, Nicolas Martin and Read Montague. This is a collaborative project
   involving Rice, University of Nebraska, Baylor College of Medicine, and Queensland Institute for Medical
   Research.

   National Science Foundation, 2007-2010, “Genes and Politics: Providing the Necessary Data”, with John
   Hibbing, Kevin Smith, and Lindon Eaves. This is a collaborative project involving Rice, University of
   Nebraska, Virginia Commonwealth University, and the University of Minnesota.

   National Science Foundation, 2007-2010, “Investigating the Genetic Basis of Economic Behavior”, with John
   Hibbing and Kevin Smith. This is a collaborative project involving Rice, University of Nebraska, Virginia
   Commonwealth University, and the Queensland Institute of Medical Research.



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   Rice University Faculty Initiatives Fund, 2007-2009, “The Biological Substrates of Political Behavior”. This is
   in assistance of a collaborative project involving Rice, Baylor College of Medicine, Queensland Institute of
   Medical Research, University of Nebraska, Virginia Commonwealth University, and the University of
   Minnesota.

   National Science Foundation, 2004-2006, “Decision-Making on Behalf of Others”, with John Hibbing. This
   is a collaborative project involving Rice and the University of Nebraska.

   National Science Foundation, 2001-2002, dissertation grant for Kevin Arceneaux, "Doctoral Dissertation
   Research in Political Science: Voting Behavior in the Context of U.S. Federalism."

   National Science Foundation, 2000-2001, dissertation grant for Stacy Ulbig, "Doctoral Dissertation Research
   in Political Science: Sub-national Contextual Influences on Political Trust."

   National Science Foundation, 1999-2000, dissertation grant for Richard Engstrom, "Doctoral Dissertation
   Research in Political Science: Electoral District Structure and Political Behavior."

   Rice University Research Grant, 1985, Recent Trends in British Parliamentary Elections.

   Faculty Research Grants Program, University of Georgia, Summer, 1982. Impact of Media Structure on
   Congressional Elections, with James Campbell.



   Papers Presented:
   “The Physiological Basis of Political Temperaments” 6th European Consortium for Political Research General
   Conference, Reykjavik, Iceland (2011), with Kevin Smith, and John Hibbing.

   “Identifying the Biological Influences on Political Temperaments” National Science Foundation Annual
   Human Social Dynamics Meeting (2010), with John Hibbing, Kimberly Espy, Nicholas Martin, Read Montague,
   and Kevin B. Smith.

   “Political Orientations May Be Related to Detection of the Odor of Androstenone” Annual meeting of the
   Midwest Political Science Association, Chicago, IL (2010), with Kevin Smith, Amanda Balzer, Michael
   Gruszczynski, Carly M. Jacobs, and John Hibbing.

   “Toward a Modern View of Political Man: Genetic and Environmental Transmission of Political Orientations
   from Attitude Intensity to Political Participation” Annual meeting of the American Political Science
   Association, Washington, DC (2010), with Carolyn Funk, Kevin Smith, and John Hibbing.

   “Genetic and Environmental Transmission of Political Involvement from Attitude Intensity to Political
   Participation” Annual meeting of the International Society for Political Psychology, San Francisco, CA (2010),
   with Carolyn Funk, Kevin Smith, and John Hibbing.

   “Are Violations of the EEA Relevant to Political Attitudes and Behaviors?” Annual meeting of the Midwest
   Political Science Association, Chicago, IL (2010), with Kevin Smith, and John Hibbing.

   “The Neural Basis of Representation” Annual meeting of the American Political Science Association, Toronto,
   Canada (2009), with John Hibbing.

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   “Genetic and Environmental Transmission of Value Orientations” Annual meeting of the American Political
   Science Association, Toronto, Canada (2009), with Carolyn Funk, Kevin Smith, Matthew Hibbing, Pete
   Hatemi, Robert Krueger, Lindon Eaves, and John Hibbing.

   “The Genetic Heritability of Political Orientations: A New Twin Study of Political Attitudes” Annual Meeting
   of the International Society for Political Psychology, Dublin, Ireland (2009), with John Hibbing, Cary Funk,
   Kevin Smith, and Peter K Hatemi.

   “The Heritability of Value Orientations” Annual meeting of the Behavior Genetics Association, Minneapolis,
   MN (2009), with Kevin Smith, John Hibbing, Carolyn Funk, Robert Krueger, Peter Hatemi, and Lindon Eaves.

   “The Ick Factor: Disgust Sensitivity as a Predictor of Political Attitudes” Annual meeting of the Midwest
   Political Science Association, Chicago, IL (2009), with Kevin Smith, Douglas Oxley Matthew Hibbing, and
   John Hibbing.

   “The Ideological Animal: The Origins and Implications of Ideology” Annual meeting of the American Political
   Science Association, Boston, MA (2008), with Kevin Smith, Matthew Hibbing, Douglas Oxley, and John
   Hibbing.

   “The Physiological Differences of Liberals and Conservatives” Annual meeting of the Midwest Political Science
   Association, Chicago, IL (2008), with Kevin Smith, Douglas Oxley, and John Hibbing.

   “Looking for Political Genes: The Influence of Serotonin on Political and Social Values” Annual meeting of
   the Midwest Political Science Association, Chicago, IL (2008), with Peter Hatemi, Sarah Medland, John
   Hibbing, and Nicholas Martin.

   “Not by Twins Alone: Using the Extended Twin Family Design to Investigate the Genetic Basis of Political
   Beliefs” Annual meeting of the American Political Science Association, Chicago, IL (2007), with Peter Hatemi,
   John Hibbing, Matthew Keller, Nicholas Martin, Sarah Medland, and Lindon Eaves.

   “Factorial Association: A generalization of the Fulker between-within model to the multivariate case” Annual
   meeting of the Behavior Genetics Association, Amsterdam, The Netherlands (2007), with Sarah Medland, Peter
   Hatemi, John Hibbing, William Coventry, Nicholas Martin, and Michael Neale.

   “Not by Twins Alone: Using the Extended Twin Family Design to Investigate the Genetic Basis of Political
   Beliefs” Annual meeting of the Midwest Political Science Association, Chicago, IL (2007), with Peter Hatemi,
   John Hibbing, Nicholas Martin, and Lindon Eaves.

   “Getting from Genes to Politics: The Connecting Role of Emotion-Reading Capability” Annual Meeting of
   the International Society for Political Psychology, Portland, OR, (2007.), with John Hibbing.

   “The Neurological Basis of Representative Democracy.” Hendricks Conference on Political Behavior, Lincoln,
   NE (2006), with John Hibbing.

   “The Neural Basis of Representative Democracy" Annual meeting of the American Political Science
   Association, Philadelphia, PA (2006), with John Hibbing.

   “How are Political Orientations Genetically Transmitted? A Research Agenda" Annual meeting of the Midwest
   Political Science Association, Chicago Illinois (2006), with John Hibbing.


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   "The Politics of Mate Choice" Annual meeting of the Southern Political Science Association, Atlanta, GA
   (2006), with John Hibbing.

   "The Challenge Evolutionary Biology Poses for Rational Choice" Annual meeting of the American Political
   Science Association, Washington, DC (2005), with John Hibbing and Kevin Smith.

   "Decision Making on Behalf of Others" Annual meeting of the American Political Science Association,
   Washington, DC (2005), with John Hibbing.

   “The Source of Political Attitudes and Behavior: Assessing Genetic and Environmental
   Contributions" Annual meeting of the Midwest Political Science Association, Chicago Illinois (2005), with
   John Hibbing and Carolyn Funk.

   "The Source of Political Attitudes and Behavior: Assessing Genetic and Environmental Contributions" Annual
   meeting of the American Political Science Association, Chicago Illinois (2004), with John Hibbing and Carolyn
   Funk.

   “Accepting Authoritative Decisions: Humans as Wary Cooperators” Annual Meeting of the Midwest Political
   Science Association, Chicago, Illinois (2002), with John Hibbing

   "Can We Trust the NES Trust Measure?" Annual Meeting of the Midwest Political Science Association,
   Chicago, Illinois (2001), with Stacy Ulbig.

   "The Impact of Organizational Structure on the Production of Social Capital Among Group Members" Annual
   Meeting of the Southern Political Science Association, Atlanta, Georgia (2000), with Allison Rinden.

   "Isolating the Origins of Incumbency Advantage: An Analysis of House Primaries, 1956-1998" Annual Meeting
   of the Southern Political Science Association, Atlanta, Georgia (2000), with Kevin Arceneaux.

   "The Electorally Indistinct Senate," Norman Thomas Conference on Senate Exceptionalism, Vanderbilt
   University; Nashville, Tennessee; October (1999), with John R. Hibbing.

   "Interest Group Participation and Social Capital" Annual Meeting of the Midwest Political Science Association,
   Chicago, Illinois (1999), with Allison Rinden.

   “We’re All in this Together: The Decline of Trust in Government, 1958-1996.” The Hendricks Symposium,
   University of Nebraska, Lincoln. (1998)

   "Constituency Population and Representation in the United States Senate," Electing the Senate; Houston,
   Texas; December (1989), with John R. Hibbing.

   "The Disparate Electoral Security of House and Senate Incumbents," American Political Science Association
   Annual Meetings; Atlanta, Georgia; September (1989), with John R. Hibbing.

   "Partisan and Incumbent Advantage in House Elections," Annual Meeting of the Southern Political Science
   Association (1987), with David W. Brady.

   "Personal and Party Advantage in U.S. House Elections, 1846-1986" with David W. Brady, 1987 Social Science
   History Association Meetings.


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   "The Demise of the Upper House and the Rise of the Senate: Electoral Responsiveness in the United States
   Senate" with John Hibbing, 1987 Annual Meeting of the American Political Science Association.

   "A Comparative Analysis of Economic Voting" with Jerome Legge, 1985 Annual Meeting of the American
   Political Science Association.

   "An Analysis of Economic Conditions and the Individual Vote in Great Britain, 1964-1979" with Jerome Legge,
   1985 Annual Meeting of the Western Political Science Association.

   "Can Government Regulate Fertility? An Assessment of Pro-natalist Policy in Eastern Europe" with Jerome
   Legge, 1985 Annual Meeting of the Southwestern Social Science Association.

   "Economic Conditions and the Individual Vote in the Federal Republic of Germany" with Jerome S. Legge,
   1984 Annual Meeting of the Southern Political Science Association.

   "The Conditions Required for Economic Issue Voting" with John R. Hibbing, 1984 Annual Meeting of the
   Midwest Political Science Association.

   "Incumbency Advantage in Senate Elections," 1983 Annual Meeting of the Midwest Political Science
   Association.

   "Television Markets and Congressional Elections: The Impact of Market/District Congruence" with James
   Campbell and Keith Henry, 1982 Annual Meeting of the Southern Political Science Association.

   "Economic Conditions and Senate Elections" with John R. Hibbing, 1982 Annual Meeting of the Midwest
   Political Science Association. "Pocketbook Voting: Economic Conditions and Individual Level Voting," 1982
   Annual Meeting of the American Political Science Association.

   "Increased Incumbency Advantage in the House," with John R. Hibbing, 1981 Annual Meeting of the Midwest
   Political Science Association.



   Other Conference Participation:
   Roundtable Participant – Closing Round-table on Biopolitics; 2016 UC Merced Conference on Bio-Politics and
   Political Psychology, Merced, CA.

   Roundtable Participant “Genes, Brains, and Core Political Orientations” 2008 Annual Meeting of the Southwestern
   Political Science Association, Las Vegas.

   Roundtable Participant “Politics in the Laboratory” 2007 Annual Meeting of the Southern Political Science
   Association, New Orleans.

   Short Course Lecturer, "What Neuroscience has to Offer Political Science” 2006 Annual Meeting of the
   American Political Science Association.

   Panel chair and discussant, "Neuro-scientific Advances in the Study of Political Science” 2006 Annual Meeting
   of the American Political Science Association.


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   Presentation, “The Twin Study Approach to Assessing Genetic Influences on Political Behavior” Rice
   Conference on New Methods for Understanding Political Behavior, 2005.

   Panel discussant, "The Political Consequences of Redistricting," 2002 Annual Meeting of the American Political
   Science Association.

   Panel discussant, "Race and Redistricting," 1999 Annual Meeting of the Midwest Political Science Association.

   Invited participant, “Roundtable on Public Dissatisfaction with American Political Institutions”, 1998 Annual
   Meeting of the Southwestern Social Science Association.

   Presentation, “Redistricting in the ‘90s,” Texas Economic and Demographic Association, 1997.

   Panel chair, "Congressional Elections," 1992 Annual Meeting of the Southern Political Science Association.

   Panel discussant, "Incumbency and Congressional Elections," 1992 Annual Meeting of the American Political
   Science Association.

   Panel chair, "Issues in Legislative Elections," 1991 Annual Meeting of the Midwest Political Science
   Association.

   Panel chair, "Economic Attitudes and Public Policy in Europe," 1990 Annual Meeting of the Southern Political
   Science Association

   Panel discussant, “Retrospective Voting in U.S. Elections,” 1990 Annual Meeting of the Midwest Political
   Science Association.

   Co-convener, with Bruce Oppenheimer, of Electing the Senate, a national conference on the NES 1988 Senate
   Election Study. Funded by the Rice Institute for Policy Analysis, the University of Houston Center for Public
   Policy, and the National Science Foundation, Houston, Texas, December, 1989.

   Invited participant, Understanding Congress: A Bicentennial Research Conference, Washington, D.C.,
   February, 1989.

   Invited participant--Hendricks Symposium on the United States Senate, University of Nebraska, Lincoln,
   Nebraska, October, 1988

   Invited participant--Conference on the History of Congress, Stanford University, Stanford, California, June,
   1988.

   Invited participant, “Roundtable on Partisan Realignment in the 1980's”, 1987 Annual Meeting of the Southern
   Political Science Association.



   Professional Activities:
   Other Universities:

   Invited Speaker, Annual Lecture, Psi Kappa -the Psychology Club at Houston Community College, 2018.

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   Invited Speaker, Annual Allman Family Lecture, Dedman College Interdisciplinary Institute, Southern
   Methodist University, 2016.

   Invited Speaker, Annual Lecture, Psi Sigma Alpha – Political Science Dept., Oklahoma State University, 2015.

   Invited Lecturer, Department of Political Science, Vanderbilt University, 2014.

   Invited Speaker, Annual Lecture, Psi Kappa -the Psychology Club at Houston Community College, 2014.

   Invited Speaker, Graduate Student Colloquium, Department of Political Science, University of New Mexico,
   2013.

   Invited Keynote Speaker, Political Science Alumni Evening, University of Houston, 2013.

   Invited Lecturer, Biology and Politics Masters Seminar (John Geer and David Bader), Department of Political
   Science and Biology Department, Vanderbilt University, 2010.

   Invited Lecturer, Biology and Politics Senior Seminar (John Geer and David Bader), Department of Political
   Science and Biology Department, Vanderbilt University, 2008.

   Visiting Fellow, the Hoover Institution, Stanford University, 2007.

   Invited Speaker, Joint Political Psychology Graduate Seminar, University of Minnesota, 2007.

   Invited Speaker, Department of Political Science, Vanderbilt University, 2006.



   Member:

   Editorial Board, Journal of Politics, 2007-2008.

   Planning Committee for the National Election Studies' Senate Election Study, 1990-92.

   Nominations Committee, Social Science History Association, 1988



   Reviewer for:

   American Journal of Political Science
   American Political Science Review
   American Politics Research
   American Politics Quarterly
   American Psychologist
   American Sociological Review
   Canadian Journal of Political Science
   Comparative Politics
   Electoral Studies
   Evolution and Human Behavior
   International Studies Quarterly
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   Journal of Politics
   Journal of Urban Affairs
   Legislative Studies Quarterly
   National Science Foundation
   PLoS ONE
   Policy Studies Review
   Political Behavior
   Political Communication
   Political Psychology
   Political Research Quarterly
   Public Opinion Quarterly
   Science
   Security Studies
   Social Forces
   Social Science Quarterly
   Western Political Quarterly


   University Service:
   Member, University Senate, 2021-2023.

   Member, University Parking Committee, 2016-2022.

   Member, University Benefits Committee, 2013-2016.

   Internship Director for the Department of Political Science, 2004-2018.

   Member, University Council, 2012-2013.

   Invited Speaker, Rice Classroom Connect, 2016.

   Invited Speaker, Glasscock School, 2016.

   Invited Speaker, Rice Alumni Association, Austin, 2016.

   Invited Speaker, Rice Alumni Association, New York City, 2016.

   Invited Speaker, Rice TEDxRiceU , 2013.

   Invited Speaker, Rice Alumni Association, Atlanta, 2011.

   Lecturer, Advanced Topics in AP Psychology, Rice University AP Summer Institute, 2009.

   Scientia Lecture Series: “Politics in Our Genes: The Biology of Ideology” 2008

   Invited Speaker, Rice Alumni Association, Seattle, San Francisco and Los Angeles, 2008.

   Invited Speaker, Rice Alumni Association, Austin, Chicago and Washington, DC, 2006.

   Invited Speaker, Rice Alumni Association, Dallas and New York, 2005.
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   Director: Rice University Behavioral Research Lab and Social Science Computing Lab, 2005-2006.

   University Official Representative to the Inter-university Consortium for Political and Social Research, 1989-2012.

   Director: Rice University Social Science Computing Lab, 1989-2004.

   Member, Rice University Information Technology Access and Security Committee, 2001-2002

   Rice University Committee on Computers, Member, 1988-1992, 1995-1996; Chair, 1996-1998, Co-chair, 1999.

   Acting Chairman, Rice Institute for Policy Analysis, 1991-1992.

   Divisional Member of the John W. Gardner Dissertation Award Selection Committee, 1998

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   Expert Witness, Flores et al. v. Town of Islip, NY, racially polarized voting analysis, 2018.

   Expert Witness, Tyson v. Richardson ISD, racially polarized voting analysis, 2018.

   Expert Witness, Dwight v. State of Georgia, racially polarized voting analysis, 2018.

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Black-Brown Coalitions in                                                                                 © 2007 University of Utah
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Local School Board Elections                                                                                   http://prq.sagepub.com
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  As the racial composition of the United States becomes increasingly diverse, scholars have begun to examine whether
  interminority, or rainbow, coalitions are feasible. The power thesis suggests that lower levels of social distance
  between Anglos and Latinos will make the formation of Anglo-Latino coalitions more likely than black-Latino coali-
  tions. This hypothesis is reexamined using fifteen hundred school board election results. The findings offer little evi-
  dence for the formation of Anglo-Latino coalitions. There are, however, indications that Anglo-black coalitions form
  when an area becomes populated by Latino noncitizens, possibly due to the increased social distance this causes
  between Latinos and other racial/ethnic communities.

  Keywords: school boards; African Americans; Latinos; electoral coalitions




T    he issue of interracial conflict has grown more
     complex as the United States has become more
diverse. The sheer number of minority groups (non-
                                                                 available to African Americans and other non-Latino
                                                                 students. Considering that education is a significant
                                                                 predictor of everything from future income (Cohen
Anglos) has increased considerably in recent years.              and Tyree 1986) to incarceration rates (Osher,
During this time, the composition of minorities has              Woodruff, and Sims 2002), the extent to which
also grown increasingly diverse. This development is             African American–Latino relations are characterized
perhaps most pronounced in the Latino population.                by cooperation or conflict holds considerable implica-
Latinos now constitute the largest minority group in             tions for the future of both groups. This article attempts
the nation (according to the Census Bureau, Latinos              to better understand the nature of interminority coali-
made up 14 percent of the U.S. population in 2004,               tions in the election of the chief policy makers within the
compared to 12.8 percent for African Americans).                 U.S. education system, school board members. Specific
Moreover, the geographic isolation of minorities in              attention is paid to the “power thesis,” a hypothesis
general and Latinos in particular is less prevalent. It          first proposed by Meier and Stewart (1991a) that pre-
is clear that Latino political activity no longer occurs         dicts the failure of rainbow coalitions and the forma-
solely in the Southwest, but also in several states in           tion of Anglo-Latino coalitions. I also consider how
the Northeast, Midwest, and Southeast.                           Latino immigration has changed traditional expecta-
   Several of these regions, especially the Southeast,           tions about the formation of interracial coalitions.
also have sizeable African American populations.                 Last, the influence of structural variables on the for-
These demographic patterns have renewed scholarly                mation of interracial coalitions is reexamined, with
interest in how minority groups relate to one another            the primary emphasis placed on the presence of parti-
and whether those relations are characterized by coop-           san elections.
eration or conflict. One forum in which interminority
relations have been characterized as tenuous is the
educational policy-making process (de la Garza 1997;              The Logic behind Interracial Coalitions
Hero and Clarke 2003; Meier and Stewart 1991a,
1991b; Meier et al. 2004; Sidney 2002; Vaca 2004). In               Interminority relations are heavily influenced by a
other policy arenas, both Latinos and African                    variety of factors. de la Garza (1997, 453) pointed to
Americans are likely to benefit from redistributive              several conditions that he argues have contributed to
policies. However, within the educational system,                the inability of Latinos and African Americans to form
redistributing resources to Latino-targeted programs,            numerous and long-lasting rainbow coalitions. These
such as bilingual education, often limits the resources          include resentment among many African Americans

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over Latino access to affirmative action programs, the     possess attitudes conducive to interminority affability
perception that immigration results in job displacement    and social networks. Latinos are usually more likely
and the reallocation of public resources to Latinos        to favor social association with Anglos, and Anglos
rather than to African Americans, battles over reap-       typically reciprocate. This is especially true for more
portionment and redistricting, and tensions resulting      intimate forms of association, such as intermarriage
from Latino population growth that produces Latino         (Dyer, Vedlitz, and Worchel 1989).
majorities in schools that previously had African             Of course, interracial attitudes, including those
American majorities, administrators, and staff. Paula      comprising measures of social distance, vary consider-
McClain’s research has long noted the existence of         ably in different social and economic contexts. For this
socioeconomic and political competition between            reason, researchers argue that the influence of race on
African Americans and Latinos (McClain and Karnig          social distance can be either exacerbated or mitigated
1990; McClain 1993; McClain and Tauber 1998, 2001).        by socioeconomic conditions. When the Latino com-
Her work in this area suggests that representational       munity is similar to the Anglo community in terms of
gains on the part of African Americans are likely to       socioeconomic status, the argument suggests that
affect Latinos negatively, although gains made by          African Americans become less desirable coalition
Latinos do not necessarily limit African American          partners (Meier and Stewart 1991a; Kaufmann 2004).
opportunities (McClain 1993).                              There are also some indications that the reverse is true.
                                                           That is, when the Latino community does not possess
The “Rainbow” Coalition                                    ample socioeconomic resources, African Americans
                                                           may benefit from a more collegial relationship with the
   Despite such findings, which seem to point to the
                                                           local Anglo population (Randall and Delbridge 2005).
presence of interminority competition in a number of
                                                           In short, social distance is partially determined by a
localities within the United States, there remains an
                                                           group’s social status generally and is therefore heavily
elegant and compelling logic as to why one would
                                                           influenced by socioeconomic factors.
expect rainbow coalitions to form in a variety of cir-
                                                              Utilizing arguments made in the social distance lit-
cumstances. In Protest Is Not Enough, for example,
                                                           erature, Giles and Evans (1985, 1986) presented what
Browning, Marshall, and Tabb (1984) argued that
                                                           they termed the “power thesis,” which suggests that
Latino representation is improved by the formation of
                                                           the amount of social distance between two individu-
coalitions with African Americans and liberal Anglos.
                                                           als determines their willingness to engage in cooper-
Forming rainbow coalitions allows African Americans
                                                           ative or competitive behavior. Meier and Stewart
and Latinos to inflate their electoral strength, gain
                                                           (1991a, 1991b; also see Feagin 1980) extended their
office, and promote policies in the interest of both
                                                           logic and developed an aggregated version of this
groups. Refusing to form such coalitions carries with it
                                                           hypothesis. The Meier and Stewart (1991a, 1991b)
the risk that conservative Anglos will dominate gov-
                                                           hypothesis argues that the level of social distance
erning coalitions, resulting in policies hostile to the
                                                           between racial/ethnic groups determines whether
interests of minority groups.
                                                           groups will enter into a coalitional relationship or one
                                                           in which they compete for electoral representation
Explanations for Alternative
                                                           and beneficial public policies. Thus, Meier and
Interracial Coalitions                                     Stewart argued that social distance not only explains
   Given that the literature on African American–          social relationships between groups but also the polit-
Latino relations has noted a surprising absence of         ical behavior of groups toward one another.
rainbow coalitions (see Vaca 2004), scholars have             Viewed from the perspective of the power thesis, it
been left to wonder why alternate racial coalitions        is not unexpected that much of the literature has
routinely form. One such explanation comes from the        noted an absence of rainbow coalitions and only lim-
sociological concept of “perceived social distance.”       ited attitudinal support for their formation (Dyer,
In its simplest form, social distance refers to the        Vedlitz, and Worchel 1989; de la Garza 1997; Garcia
amount and nature of social relationships that             2000; Mindiola, Niemann, and Rodriguez 2002). As
members of two groups are willing to engage in and         Meier and Stewart (1991b, 100) suggested, “If the
is often measured using survey questions similar to        dominant Anglo group is forced to choose between
those first employed by Bogardus (1928).1                  Hispanic and black groups for coalition purposes, the
   Work dealing with the concept of social distance        power thesis suggests that, all things being equal,
indicates that African Americans and Latinos rarely        they will seek a coalition with Hispanics.” Similar
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observations regarding Anglo preferences2 for coali-            Latino population size is positively associated with
tion partners continue to be made in more contempo-               African American representation in elected office.
rary studies, such as Kaufmann’s (2004) work on the             Anglo-Latino Coalition (Power Thesis):
interplay between racial conflict and mayoral voting            African American population size is positively asso-
in American cities. She wrote,                                    ciated with Latino representation in elected office.
                                                                Latino population size is negatively associated with
  For moderate whites, Latinos are simply more                    African American representation in elected office.
  attractive coalition partners. For Latinos, these
  alliances have resulted in greater levels of politi-          Neither scenario predicts that African American
  cal influence and incorporation than they might            population size will be negatively associated with
  have otherwise had in black-led coalitions. . . .          Latino representation in elected office (that is, the for-
  The big losers in these new political arrange-             mation of an Anglo-black coalition). However, draw-
  ments between Latinos and moderate whites                  ing on the framework set up by the power thesis and
  have been urban blacks, who become quite dis-              evidence presented by scholars of Latino immigration,
  pensable to these governing regimes. (pp. 205-6)           there might be reason to suspect that Anglo-black
                                                             coalitions are possible. The power thesis’s applicabil-
                    Hypotheses                               ity to Anglo-Latino coalitions assumes conflict is a
                                                             function of the level of social distance between groups
   Empirically, however, it is difficult to distinguish      and that Anglos will be most likely to seek a coalition
between each of the possible scenarios. For example,         with the group or groups which most resemble them-
the presence of a rainbow coalition would imply that         selves (typically assumed to be Latinos). Yet how have
as the size of the African American population within        these traditional relationships been changed by recent
an area grows, Latino representation would likewise          immigration trends? With the size of the foreign born
increase (for the rainbow coalition should be wield-         population increasing by 43 percent between 1990 and
ing greater electoral strength). Yet the power thesis        2000 (Jones-Correa 2001), scholars have begun to
predicts a similar set of results, but for very different    examine how coalitional relationships are altered by
reasons. That is, as the size of the African American        the infusion of a large Latino immigrant population.
population increases, Anglos have a greater incentive
to form coalitions with Latinos. Thus, once again, we        Latino Immigration and the Power Thesis
would expect to see Latino representation increase as
a result of an increase in the size of the African               Based upon a series of interviews with Houston res-
American population.                                         idents, Mindiola, Niemann, and Rodriguez (2002, 61)
   Fortunately, the two hypotheses do make substan-          presented anecdotal evidence that Latino immigrants
tially different predictions regarding the relationship      sometimes believe Anglo-black coalitions to be more
between the size of the Latino population and African        likely than Anglo-Latino coalitions due to the cultural
American representation. If a rainbow coalition is pre-      and linguistic differences between Anglos and Latino
sent, an increase in the Latino population should natu-      immigrants. This serves as an illustration of an alter-
rally increase the degree to which African Americans         native to the traditional predictions of the power thesis,
are represented (once again, the coalition’s electoral       suggesting that Anglo-Latino social distance may
strength is growing). Conversely, if the power thesis is     occasionally be greater than Anglo-black social dis-
correct, we would expect to see a negative relationship      tance, resulting in the occasional formation of Anglo-
between Latino population size and African American          black political coalitions.
representation. This occurs because Anglos will not be           Several other studies have examined how immi-
inclined to form coalitions with African Americans but       gration influences Anglo and African American atti-
will take advantage of the presence of a sizeable Latino     tudes toward new immigrant populations, especially
population to limit African American opportunities.3         Latinos. For example, Sears et al. (1999) found that
This leads to the following hypotheses:                      African Americans are more likely to oppose liberal
                                                             immigration policies if they sense economic compe-
  Black-Latino (Rainbow) Coalition:                          tition with Latinos.4 Regarding Anglo behavior,
  African American population size is positively             Kaufmann (2004) observed that Anglos who believe
    associated with Latino representation in elected         that local government pays too much attention to
    office.                                                  recent immigrants were more likely to vote for
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Giuliani in the 1993 New York mayoral race. This            School Board Elections as an Arena for
finding remained when she split her sample to only          Black-Brown Cooperation and Conflict
examine the voting behavior of politically moderate
Anglos, although she did not find a relationship              Referring specifically to the education policy-
between immigration attitudes and voting for Riordan       making process, Hero and Clarke (2003, 326) argued
in the Los Angeles mayoral race held that same year.       that “Latinos and blacks bring different experiences
Last, a recent survey of residents in a North Carolina     and preferences . . . so the prospects of multiethnic
county with a rapidly growing Latino immigrant pop-        coalitions are tenuous.” Similarly, de la Garza (1997)
ulation found that African Americans and Anglos            maintained that school reform is one of four prime
express lower levels of social distance to each other      causes of political tension between the African
than they do toward any other group (Randall and           American and Latino communities within recent
Delbridge 2005).5                                          years. Despite such highly conflictual portrayals of
   Furthering the predictions of this alternative inter-   the education policy-making process, it would be
pretation of the power thesis are the attitudes of         disingenuous to imply that the vast majority of school
Latino immigrants themselves. For example, Mindiola,       board decisions are contentious and divisive. Rather,
Niemann, and Rodriguez (2002) found that Latino            most of the issues taken up by school boards, as with
immigrants often express very negative feelings regard-    other forms of local government, are resolved by
ing black-Latino social association. When considered       unanimous or near-unanimous votes (Polinard et al.
alongside other works that suggest that Latinos per-       1994). Thus, while race may not shape every deliber-
ceive a greater degree of commonality with African         ation undertaken by local governing institutions,
Americans at higher levels of acculturation (Kaufmann      where issues (e.g., funding for bilingual education)
2003) and that support for coalitional strategies          are framed in racial/ethnic terms, contention and vot-
increases with political integration (Garcia 2000), we     ing blocs are likely to form. Under such circum-
have reason to suspect that Latino immigrants will         stances, race is likely to provide a useful heuristic for
often not be receptive to African American overtures,      determining the preferences of constituencies and
should they be made.                                       representatives.
   The following scenario can be generated from               Beyond dealing with specific policy proposals,
this alternative interpretation of Meier and Stewart’s     minorities have a variety of incentives to ensure that
(1991a, 1991b) power thesis:                               they maximize their representation on local school
                                                           boards. Descriptive representation has been found to
  Anglo-Black Coalition (Revised Power Thesis):            result in an increase in the hiring of minority admin-
  African American population size will be negatively      istrators (Meier, Stewart, and England 1989; Polinard,
    associated with Latino representation in elected       Wrinkle, and Longoria 1990; Wright, Hirlinger, and
    office.                                                England 1998), similar to the way in which represen-
  Latino population size is positively associated with     tation on city councils has been found to increase
    African American representation in elected office.     the percentage of minority municipal employees
                                                           (Dye and Renick 1981; Kerr and Mladenka 1994;
  More specifically, this revised version of the           Mladenka 1989a, 1989b). Minority administrators, in
power thesis argues that                                   turn, tend to hire more minority teachers. Drawing on
                                                           insights from the literature of representative bureau-
  The size of the Latino immigrant population will         cracy, which argues that descriptive representation
    be positively associated with African American         within organizations leads to the active representation
    representation in elected office.                      of a group’s interests (Hindera 1993; Selden 1997;
                                                           Selden, Brudney, and Kellough 1998), several schol-
   This relationship occurs not because Latino immi-       ars have demonstrated that diverse teaching facilities
grants are rallying behind African American candi-         are associated with increased student performance
dates, but rather because Anglos, who perceive             and lower levels of discrimination against minority
Latino immigrants to be socially distant from them,        students (Barajas and Pierce 2001; Irvine 1989;
are more likely to incorporate African Americans into      Polinard, Wrinkle, and Longoria 1990; Polinard,
governing coalitions in districts with large Latino        Wrinkle, and Meier 1995; Weiher 2000; Wright,
immigrant populations.                                     Hirlinger, and England 1998). Beyond this indirect
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influence on student outcomes, Marschall (2005)                 A long stream of literature analyzes how electoral
showed that African Americans, and to some extent            structure influences minority representation. Generally,
Latinos, make more favorable assessments of neigh-           these studies find that the presence of ward, or single-
borhood schools if they live in a district in which they     member district, systems facilitate minority repre-
are descriptively represented on the school board.           sentation (Arrington and Watts 1991; Engstrom and
                                                             McDonald 1986; Leal, Martinez-Ebers, and Meier
                                                             2004; Meier et al. 2005; Robinson and Dye 1978;
      Modeling African American and                          Robinson and England 1981). Wards boost levels of
         Latino Representation                               minority representation because districts are typically
                                                             drawn along racial lines. This effectively guarantees
   The data for this study are taken from the National       the election of minorities from certain districts. Under
Latino Education Study (NLES), a national sample of          at-large arrangements, prospective minority officials
school districts conducted in 2001. The NLES con-            must face an electorate that is usually predomi-
tains information on the racial/ethnic composition of        nately Anglo.9
school boards as well as the electoral system used to
elect members. The NLES surveyed every school dis-
trict in the nation with a student enrollment larger
                                                             The Problem of Partisanship
than five thousand and yielded a response rate of 96            A second structural variable that must be consid-
percent. These data are supplemented by demo-                ered is the presence of partisan elections. While in
graphic information gathered by the 2000 Census.             most circumstances the presence of partisanship is a
This results in a total sample of 1,831 districts across     given, the focus of this present study, school boards,
forty-nine states, 1,672 of which elect their board          usually has nonpartisan elections, making this struc-
members. The size and geographic diversity of this           tural variable a probable determinate of representa-
sample presents a substantial improvement over sam-          tion. On average, nonpartisan systems tend to benefit
ples used in previous studies.6                              Anglo business-class candidates (Davidson and Fraga
   As the power thesis focuses on the level of African       1988). Robinson and Dye (1978) found that levels of
American and Latino representation, the dependent            African American representation on school boards are
variable examined here is the percentage of African          modestly increased under partisan systems. Karning
American/Latino school board members.7 The primary           and Welch (1980), however, found that partisan elec-
determinate of minority representation is the size of the    tions are associated with a lower number of African
minority population.8 The percentage of African              American candidates in city council elections,
Americans within a district should be positively related     although it has little bearing on the actual level of
to African American representation on the board.             African American representation. Previous work has
Similarly, Latino population size should determine the       also suggested that race-based voting is facilitated by
share of offices held by Latinos. In addition to control-    nonpartisan elections (Pomper 1966; Gordon 1970).
ling for population size, I also account for the percent-    In the absence of partisanship, race may become an
age of African Americans/Latinos who hold a college          increasingly important cue in determining vote
degree, as electoral successes also depends upon the         choice. Moreover, partisan identification often com-
socioeconomic resources available to each community.         petes with racial sentiments, leading liberal Anglos,
   Rodriguez (1999) argued that the nature of inter-         Latinos, and African Americans to vote for the same
minority relations varies considerably in different          candidate, irrespective of the candidate’s race or eth-
geographic locations. With this in mind, I insert a          nicity. In this vein, Johnson, Farrell, and Guinn (1999)
series of regional control variables into each model.        argued that nonpartisan elections and weak
The economic status of the Anglo community should            Democratic Party organization have contributed to
also influence the ability of minorities to achieve          interminority tensions in Los Angeles. In short, dis-
their desired level of representation. Minorities are        tinct processes likely underlie the dynamics of inter-
thought to benefit from a high degree of Anglo               minority electoral coalitions under these different
poverty, as limited Anglo resources restrict the effec-      arrangements. Therefore, I split the sample and per-
tiveness of minority repression and place the groups         form separate analyses10 for districts that elect their
on a more level playing field (Stewart, England, and         board members through partisan and nonpartisan elec-
Meier 1989).                                                 tions in order to examine the following hypothesis:
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  The Effect of Partisanship of Interracial Coalitions:                             Table 1
  Rainbow coalitions will be more likely to form                              Descriptive Statistics
    under partisan electoral systems. This occurs                                                         Standard
    because there is a structural incentive for liberal     Variable                            Mean      Deviation
    minorities to vote for the same candidate irre-
                                                            African American population          9.85       13.35
    spective of the candidate’s race or ethnicity.
                                                            Latino population                   12.99       18.40
    Meanwhile, interminority competition will be            Latino citizen population            9.49       13.65
    more likely to occur under nonpartisan electoral        Latino noncitizen population         3.49        5.64
    systems. This occurs because individuals are more       % African Americans who have        15.97       14.14
    likely to rely on racial cues which are easier to         graduated from college
    discern than ideological ones.                          % Latinos who have graduated        14.29       11.94
                                                              from college
                                                            % Anglos living in poverty           6.03        3.93
   Last, I control for whether a district has a majority    Partisan system (0, 1)              13.82       34.52
African American or Latino population, expecting            Single-member district system       27.53       44.68
that minority representation will generally be higher         (0, 1)
in such districts (Henig et al. 1999). I also separate      Majority African American            2.15       14.50
out districts in which both the African American and          population (0, 1)
                                                            Majority Latino population (0, 1)    6.16       24.05
Latino populations are numerical minorities—in              Combined majority district (0, 1)    3.39       18.10
which, however, were they to be combined, their pop-        Northeast (0, 1)                    16.15       36.81
ulation would constitute a numerical majority. These        Midwest (0, 1)                      21.17       40.87
are the districts in which minority populations should      West (0, 1)                         27.39       44.61
have the greatest incentive to form rainbow coali-          South (0, 1)                        35.29       47.80
tions. Therefore, I insert a dummy variable for such
districts and interact it with the African American and
Latino population measures in order to search for evi-
                                                            although Latinos benefit from this more than African
dence of interminority coalitions in such districts.
                                                            Americans. Latino representation is increased by a
                                                            greater level of education within the Latino commu-
                         Findings                           nity, while ward systems appear to have no effect on
                                                            the level of Latino or African American representa-
   Descriptive statistics for all the variables used in     tion. The level of African American incorporation is
the analysis are presented in Table 1. Table 2 presents     generally higher outside of the South. Latinos gener-
a simple model of the determinants of African               ally do worse in the Midwest and Northeast. As one
American and Latino representation on school boards         might expect, when African Americans constitute a
under nonpartisan systems, and is, to some degree,          majority of the residential population, their level of
analogous to Meier and Stewart’s (1991a) treatment          representation on the local school board is increased.
of this matter. Theoretically, there is reason to suspect   The same holds true for Latinos.
correlation between the residuals in the two models            The results presented in Table 2 do not support the
presented in Table 2. Indeed, the Breusch-Pagan test        contention that a larger African American population
shows this to be the case (χ2 = 9.709). Accordingly,        will positively influence Latino representation.
Zellner’s (1962) seemingly unrelated regression             Rather, the relationship appears to be negative, a
(SUR) technique is used for estimation.                     result not predicted by either the rainbow coalition or
   Representation on school boards is primarily a           the Meier and Stewart (1991a) hypotheses. The
function of group size. Here a coefficient of 1 repre-      model for African American representation further
sents equal representation (a one-unit increase in the      challenges the traditional predictions of the power
size of a group’s population is associated with a 1-        thesis, while seeming to provide some support for the
percentage-point increase in that group’s level of rep-     rainbow coalition hypothesis. An increase in the size
resentation). We see that African Americans are nearly      of the Latino population does modestly increase the
equally represented (coefficient = .915), while             level of African American representation (coefficient =
Latinos appear to be slightly underrepresented (coef-       .053). These findings stand in contrast to those of
ficient = .671). Both African Americans and Latinos         Meier and Stewart (1991a), who found that African
also benefit from increased levels of Anglo poverty,        American group size was positively related to Latino
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                                                 Table 2
              Determinants of African American and Latino School Board Representation in
                   Nonpartisan Elections (Seemingly Unrelated Regression Estimates)
           (Dependent Variable: Percentage of School Board Members Who Are Black or Latino)
Independent Variable                                                        Black          SE              Latino               SE

African American population                                                  .915***       .028             –.063**             .028
Latino population                                                            .053**        .026              .671***            .029
% African Americans who have graduated from college                         –.019          .019
% Latinos who have graduated from college                                                                    .119***            .025
% Anglos living in poverty                                                 .217***         .072               .326***           .074
Single-member district system                                              .000            .006              .000               .006
Majority African American population                                       .096***         .022              .024               .023
Majority Latino population                                               –.011             .018              .103***            .019
Combined majority district                                               –.071             .087             –.022               .091
Combined Majority District × African American Population                   .319*           .165              .090               .171
Combined Majority District × Latino Population                             .092            .151             –.117               .157
Northeast                                                                  .014*           .008             –.019**             .009
Midwest                                                                    .020***         .007             –.001               .007
West                                                                       .009            .007             –.036***            .007
Constant                                                                 –.023**           .009             –.055***            .010
N                                                                    1,354                              1,354
R2                                                                         .692                               .685

Note: Breusch-Pagan test of independence: χ2 (Probability), 9.709 (.002).
*p < .10. **p < .05. ***p < .01.



representation, while Latino group size was nega-                      that is composed of Latino citizens and Latino nonci-
tively related to African American representation.11                   tizens.12 The positive relationship between Latino
   There is also some indication that African                          population size and African American representation
Americans are better able to translate their numbers                   may be the result of either Latino support for African
into representation on local school boards in districts                American candidates, or the increased likelihood of
where African Americans and Latinos constitute a                       Anglos to support African American candidates in
minority of the population but combined make up a                      areas with large Latino populations (the former is the
majority. However, there is no evidence of intermi-                    hypothesized relationship that lies at the heart of the
nority cooperation (as noted by the relationship                       rainbow coalition hypothesis). If the positive rela-
between African American group size and the level of                   tionship between Latino group size and African
Latino representation and vice versa) in such dis-                     American representation is the result of Latino
tricts.                                                                attempts to form rainbow coalitions, then we would
   As noted earlier, the dynamics of interminority                     expect the relationship between Latino citizens and
relations are unlikely to be static. The considerable                  African American representation to remain positive.
population growth in the Latino community over the                     For obvious reasons, a positive relationship between
past few years may be one of the factors underlying                    the percentage of Latino noncitizens within a district
the inconsistency of these findings with previous                      and African American representation cannot be the
research. As the alternative version of the power the-                 result of electoral support for African American can-
sis presented earlier suggests, Latino immigration                     didates on the part of Latino noncitizens. Rather, such
may alter the dynamics of coalitional relationships,                   a relationship would be indicative of Anglo support
reversing the assumption that Anglos and Latinos are                   for African American candidates, possibly as a result
more natural coalition partners than Anglos and                        of increased social distance between the Anglo and
African Americans. To examine this possibility, I                      Latino communities.
replicate the findings presented in Table 2, replacing                    The results presented in Table 3 indicate that there
the variable that takes account of the percentage of                   is no relationship between the size of the Latino citi-
Latinos within a district with two variables that mea-                 zen population and the level of African American rep-
sure the percentage of the school district population                  resentation (p-value = .868). However, in line with
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                                                Table 3
            Determinants of African American and Latino School Board Representation in
   Nonpartisan Elections: The Role of Latino Citizenship (Seemingly Unrelated Regression Estimates)
        (Dependent Variable: Percentage of School Board Members Who Are Black or Latino)
Independent Variable                                                        Black          SE             Latino            SE

African American population                                                  .910***      .028             –.041            .028
Latino citizen population                                                   –.006         .035              .844***         .037
Latino noncitizen population                                                 .233***      .077             –.118            .079
% African Americans who have graduated from college                         –.017         .019
% Latinos who have graduated from college                                                                   .108***         .025
% Anglos living in poverty                                                 .234***        .071               .288***        .073
Single-member district system                                            –.001            .006             –.003            .006
Majority African American population                                       .097***        .022              .019            .022
Majority Latino population                                               –.015            .018              .115***         .019
Combined majority district                                               –.198**          .096             –.115            .098
Combined Majority District × African American Population                   .565***        .181              .252            .185
Combined Majority District × Latino Citizen Population                    .678***         .226              .103            .232
Combined Majority District × Latino Noncitizen Population                –.619***         .237              .014            .243
Northeast                                                                  .015*          .008             –.019**          .009
Midwest                                                                    .019***        .007               .002           .007
West                                                                       .008           .007             –.030***         .007
Constant                                                                 –.024***         .009             –.053***         .010
N                                                                    1,354                             1,354
R2                                                                        .695                              .698

Note: Breusch-Pagan test of independence: χ2 (Probability), 8.351 (.004).
*p < .10. **p < .05. ***p < .01.


the alternative power thesis, the greater the percent-                 difficult for individuals to make strictly race-based
age of Latino noncitizens within a district, the greater               decisions. Tables 4 and 5 replicate the previous analy-
the level of African American representation. The                      sis for districts that elect their members through par-
coefficient (.233) is also substantively meaningful                    tisan elections. The Breusch-Pagan tests for both sets
and considerably larger than the coefficient for the                   of equations indicate that correlated errors are not an
relationship between the size of the Latino population                 issue; thus, ordinary least squares (OLS) is used in
and African American representation presented in                       place of SUR. The models in Table 4 indicate that
Table 2 (.053). As a side note, the underrepresenta-                   Latino representation is not affected by the presence
tion of Latinos noted in Table 2 is lessened when con-                 of African Americans within a district. However,
trolling for citizenship.13                                            there remains a positive relationship between the size
   A considerably different portrait of interminority                  of the Latino population and the level of African
relations emerges in districts where one would expect                  American representation. Taking Latino citizenship
to find rainbow coalitions (non-Anglo-majority dis-                    into account does change this dynamic, but in a man-
tricts). In such districts, the size of the Latino citizen             ner opposite to nonpartisan systems. That is, there is
population does inflate the level of African American                  a significant and positive relationship between the
representation on local boards. Moreover, the pres-                    size of the Latino citizen population and the level of
ence of a Latino noncitizen population does not                        African American representation, while the size of
increase African American representation as it does                    the Latino noncitizen population appears to have no
in other districts. Rather, the relationship here is neg-              effect in partisan systems. The effect of a 1-percentage-
ative, which is expected given that noncitizens cannot                 point increase in the Latino citizen population benefits
become members of an electoral coalition. Yet there                    African Americans only slightly less than a 1-point
is no evidence that Latinos systematically benefit                     increase in the percentage of Anglos living in poverty.
from such cooperative behavior in this analysis.                       This finding would appear to provide some support
   Finally, I noted earlier that previous work has                     for the hypothesis that cooperative electoral behav-
emphasized the role of partisanship on race-based                      ior between minorities is most likely to occur under
voting, arguing that partisan elections make it more                   partisan systems.
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                                                 Table 4
               Determinants of African American and Latino School Board Representation
                        in Partisan Elections (Ordinary Least Squares Estimates)
           (Dependent Variable: Percentage of School Board Members Who Are Black or Latino)
Independent Variable                                            Black              SE               Latino                 SE

African American population                                     1.049***           .063             –.071                 .049
Latino population                                                .268***           .082              .878***              .067
% African Americans who have graduated from college             –.001              .066
% Latinos who have graduated from college                                                            .115**               .046
% Anglos living in poverty                                       .323*             .182               .285**              .145
Single-member district system                                    .003              .014              .017                 .011
Majority African American population                           –.062               .049              .037                 .039
Majority Latino population                                     –.182***            .064             –.020                 .051
Northeast                                                        .049***           .017             –.013                 .013
Midwest                                                          .057**            .026               .000                .021
West                                                           –.013               .032             –.037                 .025
Constant                                                       –.076***            .025             –.060***              .019
N                                                            221                                  222
R2                                                              .720                                 .750

*p < .10. **p < .05. ***p < .01.



                                                  Table 5
                Determinants of African American and Latino School Board Representation
         in Partisan Elections: The Role of Latino Citizenship (Ordinary Least Squares Estimates)
           (Dependent Variable: Percentage of School Board Members Who Are Black or Latino)
Independent Variable                                           Black               SE               Latino                SE

African American population                                    1.047***          (.063)            –.039                  .039
Latino Citizen population                                       .237**           (.096)            1.212***               .062
Latino noncitizen population                                    .437             (.286)           –1.036***               .183
% African Americans who have graduated from college             .003             (.067)
% Latinos who have graduated from college                                                           .073**                .037
% Anglos living in poverty                                      .345*            (.186)             .034                  .118
Single-member district system                                    .003            (.014)              .014                 .009
Majority African American population                           –.061             (.049)              .020                 .032
Majority Latino population                                     –.196***          (.068)             .141***               .044
Northeast                                                        .051***         (.017)            –.028***               .010
Midwest                                                          .057**          (.026)             .001                  .017
West                                                           –.018             (.033)             .019                  .021
Constant                                                       –.080***          (.025)            –.023                  .016
N                                                            221                                 222
R2                                                               .720                                .840

*p < .10. **p < .05. ***p < .01.




    Attempts were made to examine how coalitional               (that is, the formation of either Anglo-Latino or Anglo-
relationships varied in districts where rainbow coali-          black coalitions) does not appear to materialize in
tions made the most strategic sense, but only three dis-        partisan systems as it does in nonpartisan systems.
tricts in the sample employ partisan election systems and       This does not mean that rainbow coalitions routinely
meet the “individually a minority, combined a majority”         form in such circumstances. However, there is mod-
criteria used to identify such districts. Nonetheless, the      est evidence for such coalitions in the analyses pre-
analysis does indicate that interminority competition           sented here. It seems that the presence of partisan
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elections limits competition and may occasionally           only true for Latinos if one discounts the noncitizen
produce cooperation.                                        population). Moreover, African American representa-
                                                            tion on local boards also increases with the size of the
                                                            Latino citizen population under partisan systems. Such
                       Conclusion                           benefits, however, remain confined to the relatively
                                                            small number of districts (approximately 14 percent)
   The dynamics of interminority relations are
                                                            that use such systems.
unquestionably complicated. Despite commonly held
                                                                This study also indicates that African Americans
beliefs about the ideological similarity between racial
                                                            benefit from the presence of a large Latino population
and ethnic minorities, the development of long-
                                                            in districts where no individual racial/ethnic group
lasting rainbow coalitions is considered to be unlikely
                                                            comprises a majority of the population but the com-
in most local settings. Like many previous works (i.e.,
                                                            bined racial/ethnic minority population does. However,
McClain 1993; McClain and Karnig 1990; Meier and
                                                            only 3 percent of all districts meet this demographic
Stewart 1991a; Kaufmann 2003, 2004), the evidence
                                                            criterion, so that in the vast majority of school districts
presented here does not support the contention that
                                                            within the United States, competition, not cooperation,
rainbow coalitions routinely form in urban areas.
                                                            remains the norm.
However, the data point to different patterns of con-
                                                                The central findings here is that African Americans
flict than those suggested by earlier studies. Contrary
                                                            and Latinos do appear to form cooperative relation-
to the predictions of Meier and Stewart’s (1991a)
                                                            ships when there are enough strategic incentives or
power thesis, there is little support for the notion that
                                                            the electoral structure in place promotes it, but such
Anglo-Latino coalitions are an expected substitute
                                                            situations are rare. It is essential that future research
for interminority ones. Rather, Latino immigration may
                                                            pay attention to varying structural and demographic
encourage the development of Anglo-black coalitions,
                                                            contexts to better understand what factors are respon-
as seen by the increased likelihood of African
                                                            sible for the formation of different governing coali-
Americans to be elected to local boards in districts with
                                                            tions in urban areas across the United States.
a large Latino noncitizen population.
                                                                Future researchers should also view these findings
   As with most studies that do not focus on individual
                                                            within the context of some recent works. Branton’s (2007
attitudes or behavior, relationships between population
                                                            [this issue]) study clearly demonstrates that Latino atti-
size and representation are interpreted as being indica-
                                                            tudes vary in accordance with levels of acculturation.
tive of cooperation or conflict. Ultimately, such find-
                                                            As mentioned earlier, the extent to which Latino immi-
ings are best considered alongside other works that
                                                            grants hold attitudes which diverge from those of
unveil the nuance of interminority relations by relying
                                                            native-born Latinos holds considerable implications
on individual-level data, focus groups, or in-depth case
                                                            for the formation of interracial coalitions. Preuhs’s
studies of select urban areas. Sidney (2002), for
                                                            (2007 [this issue]) article demonstrates the importance
example, used discourse analysis to argue that African
                                                            of legislative incorporation for the substantive represen-
Americans and Latinos do not agree on the way in
                                                            tation of minority groups. Without such incorporation,
which issues related to race permeate the education
                                                            the increased presence of minorities in many political
policy-making process. “If alliances do emerge,” she
                                                            jurisdictions within the United States may actually
warned, “they may be fragile ones” (p. 276).
                                                            come at a loss of substantive representation. Again,
   Despite such skepticism, this study does suggest
                                                            coalitional arrangements and electoral structures play a
one mechanism that can work to increase the likeli-
                                                            significant role in determining the degree of minority
hood that minorities will form cooperative electoral
                                                            legislative incorporation.
relationships, the adoption of a partisan electoral sys-
tem. Nonpartisan systems originally gained popular-                                    Notes
ity during the progressive movement as a way to
depoliticize the education policy-making process.               1. Bogardus’s (1928) social distance scale asks respondents
Instead, nonpartisan elections redistribute electoral       the following survey item: “Which best represents your comfort
advantages and incentives for coalition building away       level in interacting with this social group 1) Close kinship by
                                                            marriage 2) My Club as Personal Chums (often modified in con-
from some groups and toward others. Minority repre-
                                                            temporary surveys as “Close Friendship”) 3) Neighbors on my
sentation tends to be higher under partisan systems,        street 4) Employment in my occupation 5) Citizenship in the
with minorities, on average, being slightly overrepre-      country 6) Visitors only to my country 7) Would exclude from
sented given their population size (although this is        my country.”
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    2. Readers may contest that Anglos are the pivotal actors in         have the same black population percentage is taken into account
most districts. However, within the average school district exam-        in estimating this relationship” (p. 346). Beyond this methodolog-
ined in this study, Anglos remain numerically superior. This, cou-       ical criticism of the parity measure, there are theoretical reasons
pled with the socioeconomic advantage Anglos possess in most             why the Engstrom and McDonald modeling approach is prefer-
districts, makes such an assumption less tenuous. In further             able. Several studies demonstrate that increases in the percentage
accordance with previous research, Latinos tend to fair slightly         of minority school board members, regardless of parity, result in a
better than African Americans on most socioeconomic indicators           greater level of minority substantive representation (see Fraga,
(such as poverty rates and home ownership). However, districts           Meier, and England 1986; Marschall 2005; Meier and Stewart
where the Latino population is predominately composed of                 1991a, 199b; Meier, Stewart, and England 1989; Polinard,
noncitizens are characterized by lower socioeconomic indicators          Wrinkle, and Longoria 1990; Polinard et al. 1994; Wright,
for Latinos, often falling below indicators for African Americans        Hirlinger, and England 1998). In other words, Latinos should find
(author’s analysis, based upon the 2001 National Latino                  their substantive interests better represented in a district in which
Education Survey [NLES]).                                                they hold 28 percent of seats and constitute 27 percent of the pop-
    3. These predictions are laid out by Meier and Stewart (1991a,       ulation than in a district in which they hold 14 percent of seats and
1128), who wrote, “The key test for choosing between the rain-           constitute 15 percent of the population (even though parity mea-
bow thesis and the power thesis is what happens to black repre-          sure would suggest the opposite). Thus, minorities have an incen-
sentation when Latino numbers increase. The power thesis holds           tive to maximize their level of descriptive representation on the
that an increase in Latino population would be unlikely to               board without concern for their population size.
increase Anglo votes for blacks, because blacks are less similar to          8. There are three possible measures of population size that
Anglos than are Latinos. The relationship between Latino popu-           could conceivably be used in this analysis, all of which correlate
lation and black representation in this case should be negative.         highly with one another (above .97). The first is the size of the
The rainbow thesis, on the other hand, contends that as Latino           African American and Latino voting-age population. While this
population increases, the potential for a rainbow coalition              is an accurate measure of the electorate, it ignores the fact that
increases. The correlation between Latino population and Black           African Americans and Latinos are more likely than other groups
representation, therefore, should be positive.”                          to have school-aged children, and therefore underestimates the
    4. Work by Waldinger (2001) suggested that fears related to          number of minorities who have a strong incentive to vote in
economic competition with Latinos are well founded. He noted             school board elections. The second is the percentage of African
that in many areas Latino immigrants are more likely to find             American and Latino students within a district. One could argue
“adequate” employment than African Americans, possibly due to            that the school board should reflect the composition of the student
higher levels of immigrant social capital and the selection bias of      body it serves; however, students, by and large, are excluded from
individuals inherent in the immigration process.                         the electoral process. Moreover, this measure would inflate the
    5. Previous research by political scientists has found trends        size of the minority population relative to the actual voting-age
similar to those noted by sociologists. For example, Jackson,            population. Therefore, I chose to use the percentage of African
Gerber, and Cain (1994) noted that African Americans are more            Americans and Latinos residing within a district. This measure,
likely to perceive themselves to be “close” to Anglos than they          because it includes residents who are not yet eligible to vote,
are to Latinos.                                                          results in a number greater than the voting-age population, but
    6. For example, Fraga, Meier, and England’s (1986) sample            smaller than student-based measures. Last, this measure also
size is 35 districts; Marschall’s (2005) is 196; Meier and               allows for greater comparability to past research, most of which
Stewart’s (1991a) is 118; Polinard et al.’s (1994) is 64; Robinson       has relied on residential population measures to predict levels of
and England’s (1981) is 75; and Welch and Karnig’s (1978) is 43.         minority representation on local school boards (see Fraga, Meier,
    7. An alternative way to account for the level of minority rep-      and England 1986; Marschall 2005; Meier and Stewart 1991a;
resentation would be the parity (or proportional representation)         Robinson and Dye 1978; Robinson and England 1981; Welch and
measure used by, among others, Browning, Marshall, and Tabb              Karning 1978; Wright, Hirlinger, and England 1998). Replicating
(1984). There are several reasons, however, why operationalizing         the analysis with the other possible measures of population size
minority representation as the percentage of African American or         produces similar results in terms of significance and direction.
Latino board members is preferable to this approach. The parity          The coefficients for African American/Latino population size
measure generates the same value for all districts in which there        tend to be smaller when the student-based measure is used
are no minority board members regardless of the size of the              (which is expected as this measure inflates the size of the popu-
minority population (in this instance, all districts receive a score     lation relative to the residential measure) and larger when voting-
of zero). Thus, the parity measure treats a district in which Latinos    age population is used in place of residential population (which
hold no seats and constitute 5 percent of the population the same        is expected as this measure deflates the size of the population rel-
as a district in which Latinos hold no seats and constitute 50 per-      ative to the residential measure).
cent of the population, even though the cases are qualitatively dif-         9. Increases in the population size of racial/ethnic minorities,
ferent from one another. For this reason, Engstrom and McDonald          as well as Anglo residential patterns, have resulted in creation of
(1981) argued that studies of minority representation on local           several “Majority-Minority” (MM) school districts. In MM dis-
boards should use the percentage of minority board members as            tricts, the influence of electoral structure on levels of minority
the dependent variable and control for the size of the minority          representation may differ considerably from its influence in non-
population. They wrote, “Under this approach, proportionality is a       MM districts. Nonetheless, it is important to note that in the aver-
relationship across a set of data points, each of which reflects the     age district included in this sample both Latinos and African
specific black proportions of the population and the council for a       Americans remain a minority. The mean percentage of Latinos
city. The fact that all cities without a black council member do not     within a district is 13 percent, while the average for African
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Americans is 10 percent. Latinos constitute a minority in 94 per-          consequences, ed. Bernard Grofman and Arend Lijphart.
cent of all districts included in the sample, while African                New York: Agathon.
Americans constitute a minority in 97 percent of all districts.        Feagin, Joe R. 1980. School desegregation: A political-economic
Nevertheless, dummy variables are used to control for the effect           perspective. In School desegregation, ed. Walter G. Stephan
of majority African American or Latino districts.                          and Joe R. Feagin. New York: Plenum.
    10. Conducting a Chow test allows me to reject the null            Fraga, Luis Ricardo, Kenneth J. Meier, and Robert E. England.
hypothesis that the difference between the coefficients in the par-        1986. Hispanic Americans and educational policy: Limits to
tisan and nonpartisan models is equal to zero. This provides some          equal access. Journal of Politics 48:850-76.
empirical support for my theoretical contention that distinct          Garcia, John A. 2000. The Latino and African American commu-
processes underlie partisan and non-partisan elections.                    nities. In Immigration and race, ed. Gerald Jaynes. New
    11. A few differences are worth noting. First, Meier and               Haven, CT: Yale University Press.
Stewart’s (1991a) sample was taken in 1986 and consists of 118         Giles, Micheal W., and Arthur S. Evans. 1985. External threat,
districts, while the sample here is of more than 1,576 districts.          perceived threat, and group identity. Social Science Quarterly
Also, Meier and Stewart used ordinary least squares (OLS) as               66:50-66.
their estimation technique, where seemingly unrelated regression       ———. 1986. The power approach to intergroup hostility.
(SUR) is more appropriate. More important, however, Meier and              Journal of Conflict Resolution 30:469-86.
Stewart did not control for the presence of partisan elections. As     Gordon, Daniel. 1970. Immigrants and municipal voting turnout:
Tables 3 and 4 demonstrate, partisanship substantially influences          Implications for the changing ethnic impact on urban politics.
the nature of interminority coalition building.                            American Sociological Review 35:665-81.
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the NLES, as Latino immigrants tend to settle in areas that are            Pedescleaux. 1999. The color of school reform. Princeton, NJ:
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Latino citizen population and Latino representation is .844, where         multiethnic politics in Denver: Realigning power and influ-
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                       Exhibit 4:
             Declaration of Todd Giberson
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                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                  EL PASO DIVISION
 LEAGUE OF UNITED LATIN AMERICAN                  §
 CITIZENS, et al.                                 §
                  Plaintiffs,                     §
                                                                   Case No. 3:21-cv-00259
 V.                                               §
                                                                        [Lead Case]
                                                  §
 GREG ABBOTT, et al.,                             §
              Defendants.                         §

 ROY CHARLES BROOKS, et al.                       §
              Plaintiffs,                         §
 V.                                               §                Case No. 1:21-cv-00991
                                                  §                 [Consolidated Case]
 GREG ABBOTT, et al.,                             §
              Defendants.                         §

                           DECLARATION OF TODD GIBERSON

   1. My name is Todd Giberson. I am over the age of 18 and competent to make this declaration.

   2. I am an employee of the Office of the Attorney General (OAG) Legal Technical Support

Division (LTS). I have been employed at the OAG since 1994 as a systems analyst. Before that, I was

employed by the Texas Legislative Council (TLC) as a programmer. I was on the team of programmers

who wrote the original RedAppl computer application for drawing districts. I am not a lawyer.

   3. RedAppl contains data gathered from various sources, including the Texas Secretary of State.

This data includes borders of municipalities and other local-government bodies and borders of

electoral precincts (which the Census Bureau refers to as voter tabulation districts, or VTDs). The

data also includes the number of registered voters in each electoral precinct and the election results

for each electoral precinct from 2012–present as reported to the Secretary of State by each county.

   4. RedAppl also contains data received from the Census Bureau, including its American

Community Survey, or ACS. The Census Bureau divides each county into, from largest to smallest,

tracts, block groups, and blocks. The Census Bureau data includes information such as the declared

race, ethnicity, and Spanish-surname status of the persons in a block. The smallest unit for which ACS
Case 3:21-cv-00259-DCG-JES-JVB Document 102-1 Filed 12/20/21 Page 49 of 195



data is available, however, is a block group. Thus, information gathered by the ACS, such as

citizenship, is not available at the block level.

    5. By combining this data, RedAppl is able to create maps and reports showing demographic and

electoral information in units as small as the block level. By combining data from the block level, it

can create maps and reports for any defined area. It is by assigning these blocks to defined areas that

RedAppl can be used to create electoral maps.

    6. By default, RedAppl displays only county borders. To display other features, such as roads and

bodies of water, the user must specify them. To display boundaries besides county lines, the user must

specify the type of boundary to display. To display data for an area, either pre-defined within RedAppl

(such as an existing House district, a city, or an electoral precinct) or user-generated (such as a

proposed Senate district), the user must actively select which data to display. In particular, data

regarding race, ethnicity, Spanish-surname status, voting-age population, and number of registered

voters is not displayed unless the user actively chooses to display it. Because of this, a user who chose

to do so could create a proposed redistricting map having seen only population and electoral results

and having never seen information on the race, ethnicity, or Spanish-surname status of the residents

of the proposed districts.

    7. Exhibits 5–8 to State Defendants’ Opposition are partisan-shading maps I personally

generated using data gathered from RedAppl. They show the relative percentages of votes cast in the

2020 general election for president in each pictured VTD. Exhibits 5 and 6 are zoomed-in and

zoomed-out, respectively, maps of benchmark SD10. Exhibit 7 is a map of SD10. Exhibit 8 is a map

of benchmark SD28.

    8. Exhibit 9 to the Opposition is a map I personally generated using statistics gathered from

RedAppl. It overlays current SD10 on benchmark SD10. It is color-coded to show the areas that

remain from, were removed from, and were added to benchmark SD10 to create current SD10. Each



                                                    2
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color-coded area shows the population of that area and the percentage of votes cast for Donald Trump

in the 2020 general election.


        I declare under penalty of perjury of the laws of the United States that the foregoing is true

and correct.


Dated December 20, 2021.
                                               Todd Giberson




                                                  3
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                 Exhibit 5:
   Partisan-shaded map of benchmark SD10
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Case 3:21-cv-00259-DCG-JES-JVB Document 102-1 Filed 12/20/21 Page 53 of 195




                  Exhibit 6:
   Partisan-shaded map of benchmark SD10,
                 zoomed out
Case 3:21-cv-00259-DCG-JES-JVB Document 102-1 Filed 12/20/21 Page 54 of 195
Case 3:21-cv-00259-DCG-JES-JVB Document 102-1 Filed 12/20/21 Page 55 of 195




                    Exhibit 7:
       Partisan-shaded map of current SD10
Case 3:21-cv-00259-DCG-JES-JVB Document 102-1 Filed 12/20/21 Page 56 of 195
Case 3:21-cv-00259-DCG-JES-JVB Document 102-1 Filed 12/20/21 Page 57 of 195




                  Exhibit 8:
   Partisan-shaded map of benchmark SD28
Case 3:21-cv-00259-DCG-JES-JVB Document 102-1 Filed 12/20/21 Page 58 of 195
Case 3:21-cv-00259-DCG-JES-JVB Document 102-1 Filed 12/20/21 Page 59 of 195




                    Exhibit 9:
          Map of partisan changes in SD10
Case 3:21-cv-00259-DCG-JES-JVB Document 102-1 Filed 12/20/21 Page 60 of 195
Case 3:21-cv-00259-DCG-JES-JVB Document 102-1 Filed 12/20/21 Page 61 of 195




                      Exhibit 10:
              Declaration of Keith Ingram
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Case 3:21-cv-00259-DCG-JES-JVB Document 102-1 Filed 12/20/21 Page 66 of 195
Case 3:21-cv-00259-DCG-JES-JVB Document 102-1 Filed 12/20/21 Page 67 of 195
Case 3:21-cv-00259-DCG-JES-JVB Document 102-1 Filed 12/20/21 Page 68 of 195
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                      Exhibit 11:
             Declaration of Bruce Sherbet
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                                UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF TEXAS
                                      EL PASO DIVISION
 LEAGUE OF UNITED LATIN AMERICAN             §
 CITIZENS, et al. ,                          §
                                             §
         Plaintiffs,
                                             §
                                             §      Case No. 3:21-cv-259-DCG-JES-JVB
 V.
                                             §
                                                                [Lead Case]
 GREG ABBOTT, in his official capacity as    §
 Governor of the State of Texas, and         §
 JOHN SCOTT, in his official capacity as     §
 Secretary of State of Texas,                §
                                             §
         Defendants.                         §

 DAMON JAMES WILSON,                         §
                                             §
         P laintif.f,                        §
                                             §       Case No. I :2 l-cv-943-RP-JES-NB
 V.
                                             §              [Consolidated Case]
                                             §
 THE STATE OF TEXAS, et al.,
                                             §
         Defendants.                         §


 VOTO LATINO, et al.,                       §
                                            §
        Plaintiffs,                         §
                                            §
V.
                                            §        Case No. l:21-cv-965-RP-JES-NB
                                            §
JOHN SCOTT, in his official capacity as                     [Consolidated Case]
                                            §
 Secretary of State of Texas, and
 GREG ABBOTT, in his official capacity as
                                            §
 Governor of the State of Texas,            §
                                            §
        Defendants.                         §

 MEXICAN AMERICAN L EGISLATIVE CAUCUS,      §
                                            §
        P laintif.f,                        §
                                                     Case No. I :2 l-cv-988-RP-JES-NB
                                            §
V.
                                            §               [Consolidated Case]
                                            §
THE STATE OF TEXAS, et al.,
                                            §
                                            §
        Defendants.
Case 3:21-cv-00259-DCG-JES-JVB Document 102-1 Filed 12/20/21 Page 71 of 195




     ROY CHARLES BROOKS, et al.,                   §
                                                   §
            Plaintiffs,                            §
                                                   §
     V.
                                                   §            Case No. l:21-cv-991-LY-JES-NB
                                                   §
     GREG ABBOTT, in his official capacity as                         [Consolidated Case]
     Governor of the State of Texas, and           §
     JOHN SCOTT, in his official capacity as       §
     Secretary ofState of Texas,                   §
                                                   §
            Defendants.                           §

     TEXAS STATE CONFERENCE OF THE NAACP          §
                                             '
                                                  §
           Plaintiff,                             §
                                                  §
 V.
                                                  §          Case No. 1:21-cv-1006-RP-JES-NB
                                                  §
 GREG ABBOTT, in his official capacity as                             [Consolidated Case]
                                                  §
 Governor of the State of Texas, and
 JOHN SCOTT, in his official capacity as
                                                  §
 Secretary of State of Texas,                     §
                                                  §
           Defendants.                            §

 FAIR MAPS TEXAS ACTION COMMITTEE, et             §
 al.,                                             §
                                                  §
           Plaintiffs,                            §
                                                  §
 V.                                                          Case No. 1:2 I-cv-1038-RP-JES-NB
                                                  §
                                                  §                   [Consolidated Case]
 GREG ABBOTT, in his official capacity as
 Governor of the State of Texas, and              §
 JOHN SCOTT, in his official capacity as          §
 Secretary of State of Texas,                     §
                                                  §
           Defendants.                            §



                              DECLARATION OF BRUCE SHERBET

I, Bruce Sherbet, pursuant to 28 U.S.C. § 1746, testify that:

1.        My name is Bruce Sherbet, and I currently serve as the Elections Administrator in Collin
          County, Texas. I began my service in Collin County in December 2015. Prior to starting
          with Collin County, I served as the Dallas County Elections Administrator for 24 years and
          spent another two years doing the same work for Ellis County. I began working with
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      elections when I was 23, approximately 41 years ago.

2.    My experience gives me substantial insight into the procedures, administration, and the
      various complexities of conducting elections in Texas.

3.    I ~de:st_and that redistricting legislation passed by the Texas Legislature consisting of
      red1stnctmg plans for the State House, State Senate, Congress and State Board of Education
      have been challenged in this lawsuit. I do not have any opinion about the specifics of those
      bills.

4.    Instead, I am offering this declaration to provide the Court with information about the
      impending primary election schedule and the impact a change in the election process now
      or in the coming weeks could have on election and election procedures. My statements are
      based on my experience and subject matter expertise in this field and my nearly four
      decades of observing conditions as they actually exist in Texas elections.

5.    It takes months of preparation to conduct a primary election in Texas. Under the current
      calendar, the primary election scheduled for March 1, 2022. Although the actual election
      does not occur until that date, several other important deadlines have already passed, and
      several others are quickly approaching.

6.    For example, the candidate filing period for the March 2022 Primary Election opened on
      November 13, 2021 and is scheduled to continue until December 13, 2021. Multiple
      candidates have submitted their application to the state or county chair of the political party
      in which they wish to run.

7.    Primary elections are run by county chairs of a political party and there are multiple
      deadlines in place that account for the unique characteristics of a primary. These include
      the candidate filing period and the need to conduct a drawing to determine the order of
      candidate names on the ballot, which is not a task that has to be accomplished in the general
      election cycle.

8.    Under the current schedule, by December 23rd, within ten days after candidate filing closes
      on December 13th, the county chair must conduct a drawing to determine the order that the
      candidates' names will appear on the general primary election ballot for each county. In
      accordance with the Election Code, each candidate affected by a drawing is entitled to be
      present or have a representative present at the drawing. In addition to the drawing, the
      county chair is also required to post notice of the date, time and place of the drawing 24
      hours in advance.

9.    Once the county chair has conducted and certified the drawing, my office will code and
      proof the ballots, and then send to the party chairs for their approval. After that, my office
      will program the ballots into the voting machines. Designing and proofing the ballot can
      take several days.

10.   After we design and proof the ballots, we then conduct logic and accuracy testing to ensure
      that there are no errors. Logic and accuracy tests are protocols designed to confirm that the
      voting equipment and ballots are properly displayed, that they accurately collect votes, and
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      !abulat~ re~ults. These tests also operate as a check to make sure the candidates only appear
      m the d1stncts where they are running. Conducting logic and accuracy tests is a painstaking
      process, and takes more time for larger elections. In fact, a midterm primary election is the
      large_st electio~ for purposes of logic and accuracy tests because so many offices are up for
      election, especially local offices. Due to this fact, in Collin County, there are 248 precincts
      and at least 75 ballot variations, meaning there could be as many as 4,000- 5,000 test ballot
      combinations. I estimate that it could take ten to fourteen days to conduct the logic and
      accuracy tests for these primary elections.

11.   For Collin County, after ballots satisfy the logic and accuracy tests, mail ballots must then
      be printed. For smaller elections, ballots are printed as applications are received. For larger
      elections, ballots may be printed in bulk. This process can take up to several days, and is
      an ongoing obligation. Some counties also print ballots for in-person voting, in addition to
      absentee voting.

12.   There is little time allocated in the election schedule for election officials to prepare, test,
      and ready the ballots between deadline for conducting and certifying the ballot order
      drawing and the federal deadline for when mail-in ballots must be sent to voters. Pursuant
      to the federal Military and Overseas Voter Empowerment Act (the "MOVE Act"), Texas
      election authorities must transmit absentee ballots to military and overseas voters no later
      than 45 days before a federal election. For the upcoming primary election, that date falls
      on January 15th. Like other county election officials in Texas, my goal is to set an earlier
      deadline to send those ballots to avoid rushing to meet the deadline, and to allow voters
      sufficient time to complete and return their ballots. In my experience, rushing to meet
      deadlines is when mistakes get made. Thus, I prefer to send absentee ballots to voters
      sooner than the actual deadline.

13.   As I noted, I have serious concerns about any effort make changes immediately before the
      election. If new electoral maps are imposed, local election officials will face substantial
      challenges to administering the election. Such a late change would risk eliminating or
      reducing the short period oftime local election authorities have to ready their ballots before
      the 45-day deadline. Difficulty in meeting the 45-day deadline, in turn, could subject
      counties to potential liability by the Department of Justice under the MOVE Act, which is
      strictly enforced by DOJ. And even if get mail-in ballots out promptly, the accelerated
      timetable increases the likelihood of errors by the local election authority when creating
      the ballot.

14.   Moving the date of the primary elections would also impose substantial challenges. As an
      initial matter, due to the fact that the electoral process is already underway, moving the
      election would entail repeating many of the same preparatory work that has already been
      performed. This would impose costs on the counties in the form of increased personnel
      use. And the closer we get to election day, the greater those costs become. In addition, it is
      likely that voters would be confused by the election being moved.

15.   In addition to the already compressed schedule, the delayed release of census numbers by
      the Census Bureau has also caused an additional burden on my office. My office would
      ordinarily have begun preparing for the election much earlier than we did this year, but we
Case 3:21-cv-00259-DCG-JES-JVB Document 102-1 Filed 12/20/21 Page 74 of 195



       were unable to do so because of those delays. As an example, we would ordinarily send
       out voter certificates--explaining to voters their precinct number and for which elections
       they are eligible to vote-by December 5, 2021. But we have been unable to do so because
       of the delays, and presently plan to send out the certificates in early January. In the event
       the court orders the adoption of new district maps, we would be forced to review and
       redraw the election precincts a second time, including recoding and retesting the ballots. If
       we did this, we would be required to issue corrected certificates to affected voters, which
       would cause substantial confusion.

16.    As a result of this delay and the delay in the Texas Legislature generating redistricting
       legislation, we have been forced to work on a truncated schedule. Under the Election Code
       county commissioners' courts are tasked with reviewing county election precinct
       boundaries after apportionment. Because of Census population changes, precinct
       boundaries usually have to change as a result of growth or population movement. Pursuant
       to the Election Code, county commissioners court must determine whether the county
       election precincts comply with population and other rules set out by the Election Code.

17.    In Collin County, we ended up drawing election precinct lines much later than usual. We
       also had to do so during a time when we were preparing for the March 2022 Primary
       Election. This has increased the strain on our office's resources. Our office has already
       spent significant time, money, and manpower into drawing the new election precinct lines
       and sending out voter registration certificates to voters, specifying their information,
       including their election precinct. These difficulties are exacerbated in Collin County by the
       fact that we are also conducting two special elections for municipal offices in the cities of
       McKinney and Frisco.

18.    In addition, because the March 2022 Primary Election has already started, local election
       authorities, including Texas counties, have assumed many of the expenditures associated
       with the election, which eats into their budget. As I have said, these costs continue to grow
       as the election grows closer, and local officials continue to perform more preparatory work,
       much of which they would have to repeat if the election were moved.

19.    Based on my experience as an elections administrator, changing the primary date will both
       impose substantial challenges on local elections administrators and will confuse voters.
       Those burdens and that confusion will be greatly compounded if new electoral maps are
       imposed on the counties.


I declare under penalty of perjury that the foregoing is true and correct.


Executed on December _f_,



         ruce Sherbet
        Collin County Elections Administrator
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                     Exhibit 12:
           Declaration of David Blackburn
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Case 3:21-cv-00259-DCG-JES-JVB Document 102-1 Filed 12/20/21 Page 77 of 195
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                      Exhibit 13:
                Declaration of Leif Olson
Case 3:21-cv-00259-DCG-JES-JVB Document 102-1 Filed 12/20/21 Page 82 of 195



                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                   EL PASO DIVISION
 LEAGUE OF UNITED LATIN AMERICAN                     §
 CITIZENS, et al.                                    §
                  Plaintiffs,                        §
                                                                     Case No. 3:21-cv-00259
 V.                                                  §
                                                                          [Lead Case]
                                                     §
 GREG ABBOTT, et al.,                                §
              Defendants.                            §

 ROY CHARLES BROOKS, et al.                          §
              Plaintiffs,                            §
 V.                                                  §               Case No. 1:21-cv-00991
                                                     §                [Consolidated Case]
 GREG ABBOTT, et al.,                                §
              Defendants.                            §

                               DECLARATION OF LEIF OLSON

    1. My name is Leif Olson. I am over the age of 18 and competent to make this declaration. I am

Special Counsel in the Special Litigation Unit of the Office of the Attorney General and am one of

the attorneys representing the State Defendants in this case. The exhibits I refer to in this declaration

are exhibits to the State Defendants’ Opposition to the Brooks Plaintiffs’ Motion for Preliminary

Injunction. Each statement in this declaration is within my personal knowledge.

    2. Exhibit 14 is a true and correct copy of an excerpt from the Secretary of State’s race summary

report for the 2014 Republican Primary Election.

    3. Exhibit 15 is a true and correct copy of an excerpt from the Secretary of State’s race summary

report for the 2018 Republican Primary Election.

    4. Exhibit 16 is a true and correct copy of excerpts from the 2020 Election Analysis of

benchmark House districts (Plan H2100) from the data files associated with that map available on the

Texas Legislative Council’s redistricting website.

    5.   Exhibit 17 is a true and correct copy of excerpts from the 2020 Election Analysis of current

House districts (Plan H2316) from the data files associated with that map available on the Texas

Legislative Council’s redistricting website.
Case 3:21-cv-00259-DCG-JES-JVB Document 102-1 Filed 12/20/21 Page 83 of 195




   6. Exhibit 18 is a true and correct copy of the September 27, 2021, New York Times article, “Texas

Republicans propose a new congressional map that aims to protect the party’s incumbents.”

   7. Exhibit 19 is a true and correct copy of the October 25, 2021, Texas Tribune article, “Gov.

Greg Abbott signs off on Texas’ new political maps, which protect GOP majorities while diluting

voices of voters of color”.

   8. Exhibit 20 is a true and correct copy of the October 7, 2021, Texas Tribune article, “Weighing

reelection bid, GOP Texas Sen. Kel Seliger confronts redrawn district, Trump endorsement of

primary challenger”.

   9. Exhibit 21 is a true and correct copy of the January 22, 2019, Texas Tribune article, “Lt. Gov.
Dan Patrick pulls Sen. Kel Seliger’s chairmanship after Seliger suggested Patrick aide kiss his ‘back

end’”.

   10. Exhibit 22 is a true and correct copy of the October 20, 2021, Amarillo Pioneer article, “Seliger

Calls It Quits: Republican Senator Not Seeking Re-election”.

   11. Exhibit 23 is a true and correct copy of pages 51–59 of the Senate Journal for the Third Called

Session of the 87th Texas Legislature.

   12. Exhibit 24 is a true and correct copy of the landing page for the Decennial Census Redistricting

Data on the website of the U.S. Census Bureau.

   13. Exhibit 25 is a true and correct copy of Governor Greg Abbott’s September 7, 2021,

proclamation of the Third Called Session of the 87th Texas Legislature.

   14. Exhibit 26 is a true and correct copy of the RedAppl District Election Analysis of benchmark

SD10 for the 2020 general election.

   15. Exhibit 27 is a true and correct copy of the RedAppl District Election Analysis of current

SD10 for the 2020 general election.

   16. Exhibit 28 is a true and correct copy of the RedAppl 2012–2020 Election Analysis of

benchmark SD10.

   17. Exhibit 29 is a true and correct copy of excerpts of the RedAppl District Population

Analysis for benchmark SD10.


                                                  2
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   18. Exhibit 30 is a true and correct copy of the June 4, 2021, Texas Tribune article, “Republican

state Sen. Dawn Buckingham running for Texas Land Commissioner”.

   19. Exhibit 31 is a true and correct copy of the September 21, 2021, Texas Tribune article, “After

losing to a Democrat in 2020, former GOP state Sen. Pete Flores seeks election in newly drawn

Republican district”.


       I declare under penalty of perjury of the laws of the United States that the foregoing is true

and correct.

Dated December 20, 2021.
                                              Leif Olson




                                                 3
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                 Exhibit 14:
    2014 Republican Primary Election, SD31
        Case 3:21-cv-00259-DCG-JES-JVB Document 102-1 Filed 12/20/21 Page 86 of 195

                                     Office of the Secretary of State



                                           Race Summary Report

                            2014 Republican Party Primary Election
                                                 3/4/2014

                                                                         CANVASS
RACE NAME                                                   PARTY                         PERCENT
                                                                          VOTES
U. S. Senator
        Curt Cleaver                                        REP                12,325        0.94%
        Ken Cope                                            REP                34,409        2.62%
        John Cornyn(I)                                      REP              781,259        59.43%
        Chris Mapp                                          REP                23,535        1.79%
        Reid Reasor                                         REP                20,600        1.57%
        Steve Stockman                                      REP              251,577        19.14%
        Dwayne Stovall                                      REP              140,794        10.71%
        Linda Vega                                          REP                50,057        3.81%
                                                                            -----------
                                                            Race Total     1,314,556
----------------------------------------
U. S. Representative District 1
          Louie Gohmert(I)                                  REP                57,830      100.00%
                                                                            -----------
                                                            Race Total         57,830
----------------------------------------
U. S. Representative District 2
          Ted Poe(I)                                        REP                34,863      100.00%
                                                                            -----------
                                                            Race Total         34,863
----------------------------------------
U. S. Representative District 3
          Cami Dean                                         REP                 2,435        6.29%
          Sam Johnson(I)                                    REP                31,178       80.56%
          Josh Loveless                                     REP                 2,086        5.39%
          Harry Pierce                                      REP                 3,004        7.76%
                                                                            -----------
                                                            Race Total         38,703
----------------------------------------
U. S. Representative District 4
         Case 3:21-cv-00259-DCG-JES-JVB Document 102-1 Filed 12/20/21 Page 87 of 195
----------------------------------------
State Senator, District 25
          Donna Campbell(I)                       REP                     40,867    55.41%
          Elisa Chan                              REP                     17,916    24.29%
          Mike Novak                              REP                     14,973    20.30%
                                                                       -----------
                                                  Race Total              73,756
----------------------------------------
State Senator, District 30
          Craig Estes(I)                          REP                     57,911   100.00%
                                                                       -----------
                                                  Race Total              57,911
----------------------------------------
State Senator, District 31
          Mike Canon                              REP                     33,252    47.48%
          Kel Seliger(I)                          REP                     36,777    52.52%
                                                                       -----------
                                                  Race Total              70,029
----------------------------------------
State Representative District 1
          George Lavender(I)                      REP                      7,903    45.66%
          Gary VanDeaver                          REP                      9,406    54.34%
                                                                       -----------
                                                  Race Total              17,309
----------------------------------------
State Representative District 2
          Dan Flynn(I)                            REP                     13,903   100.00%
                                                                       -----------
                                                  Race Total              13,903
----------------------------------------
State Representative District 3
          Cecil Bell Jr.(I)                       REP                     11,761   100.00%
                                                                       -----------
                                                  Race Total              11,761
----------------------------------------
State Representative District 4
          Lance Gooden(I)                         REP                      8,089    48.96%
          Stuart Spitzer                          REP                      8,434    51.04%
                                                                       -----------
                                                  Race Total              16,523
----------------------------------------
State Representative District 5
          Bryan Hughes(I)                         REP                     12,557   100.00%
                                                                       -----------
Case 3:21-cv-00259-DCG-JES-JVB Document 102-1 Filed 12/20/21 Page 88 of 195




                 Exhibit 15:
    2018 Republican Primary Election, SD31
        Case 3:21-cv-00259-DCG-JES-JVB Document 102-1 Filed 12/20/21 Page 89 of 195

                                     Office of the Secretary of State



                                           Race Summary Report

                            2018 Republican Party Primary Election
                                                 3/6/2018

                                                                         CANVASS
RACE NAME                                                   PARTY                         PERCENT
                                                                          VOTES
U. S. Senator -
        Ted Cruz(I)                                         REP            1,322,724        85.36%
        Stefano de Stefano                                  REP                44,456        2.87%
        Bruce Jacobson, Jr.                                 REP                64,791        4.18%
        Mary Miller                                         REP                94,715        6.11%
        Geraldine Sam                                       REP                22,887        1.48%
                                                                            -----------
                                                            Race Total     1,549,573
----------------------------------------
U. S. Representative District 1 -
          Anthony Culler                                    REP                 6,526        8.97%
          Louie Gohmert(I)                                  REP                64,241       88.33%
          Roshin Rowjee                                     REP                 1,962        2.70%
                                                                            -----------
                                                            Race Total         72,729
----------------------------------------
U. S. Representative District 2 -
          David Balat                                       REP                   348        0.75%
          Dan Crenshaw                                      REP                12,679       27.42%
          Jonny Havens                                      REP                   936        2.02%
          Justin L. Lurie                                   REP                   425        0.92%
          Kevin Roberts                                     REP                15,273       33.03%
          Jon Spiers                                        REP                   418        0.90%
          Rick Walker                                       REP                 3,320        7.18%
          Kathaleen Wall                                    REP                12,524       27.08%
          Malcolm Whittaker                                 REP                    322       0.70%
                                                                            -----------
                                                            Race Total         46,245
----------------------------------------
U. S. Representative District 3 -
          Alex Donkervoet                                   REP                 3,197        5.93%
         Case 3:21-cv-00259-DCG-JES-JVB Document 102-1 Filed 12/20/21 Page 90 of 195
          George W. Hindman                       REP                     24,168   100.00%
                                                                       -----------
                                                  Race Total              24,168
----------------------------------------
State Senator, District 15 -
          Randy Orr                               REP                     17,057   100.00%
                                                                       -----------
                                                  Race Total              17,057
----------------------------------------
State Senator, District 16 -
          Don Huffines(I)                         REP                     30,311   100.00%
                                                                       -----------
                                                  Race Total              30,311
----------------------------------------
State Senator, District 17 -
          Joan Huffman(I)                         REP                     36,830    72.67%
          Kristin Tassin                          REP                     13,849    27.33%
                                                                       -----------
                                                  Race Total              50,679
----------------------------------------
State Senator, District 25 -
          Donna Campbell(I)                       REP                     59,143    73.75%
          Shannon K. McClendon                    REP                     21,055    26.25%
                                                                       -----------
                                                  Race Total              80,198
----------------------------------------
State Senator, District 30 -
          Craig Carter                            REP                     13,371    15.39%
          Craig Estes(I)                          REP                     19,641    22.60%
          Pat Fallon                              REP                     53,881    62.01%
                                                                       -----------
                                                  Race Total              86,893
----------------------------------------
State Senator, District 31 -
          Mike Canon                              REP                     25,335    31.41%
          Victor Leal                             REP                     14,671    18.19%
          Kel Seliger(I)                          REP                     40,664    50.41%
                                                                       -----------
                                                  Race Total              80,670
----------------------------------------
State Representative District 1 -
          Gary VanDeaver(I)                       REP                                0.00%
                                                                       -----------
                                                  Race Total
Case 3:21-cv-00259-DCG-JES-JVB Document 102-1 Filed 12/20/21 Page 91 of 195




                  Exhibit 16:
     Election Analysis, H2100, 2020 General
                   Election
                                                                              Case 3:21-cv-00259-DCG-JES-JVB Document 102-1 Filed 12/20/21 Page 92 of 195                                                                                        Texas Legislative Council
  Red-206
  Data: 2020 Census                                                                                                                              Election Analysis                                                                               08/29/21 3:04 PM
                                                                                                                                                                                                                                                 Page 1 of 20
  PLANH2100 08/02/2021 4:29:39 PM
                                                                                                                                    HOUSE DISTRICTS - PLANH2100
                                                                                                                                        2020 General Election

                            Total Voter Registration                       Turnout
District                          Total         SSVR-T               Total       TO/VR
STATE                       16,960,107           24.0 %        11,355,339        67.0 %
  1                            109,158            2.7 %            70,562        64.6 %
  2                            122,319            6.5 %            80,790        66.0 %
  3                            134,194           12.6 %            93,664        69.8 %
  4                            127,155            9.1 %            87,552        68.9 %
  5                            111,411            7.4 %            75,728        68.0 %
  6                            109,018            8.4 %            74,993        68.8 %
  7                            101,173            5.6 %            66,960        66.2 %
  8                             95,070            9.1 %            62,114        65.3 %
  9                            114,571            3.6 %            75,880        66.2 %
  10                           129,275           13.8 %            91,829        71.0 %
  11                           100,278            7.9 %            67,749        67.6 %
  12                           100,158           12.9 %            65,664        65.6 %
  13                           119,655           10.6 %            86,397        72.2 %
  14                            96,326           15.7 %            65,753        68.3 %
  15                           147,940            9.4 %           110,754        74.9 %
  16                           125,729           11.8 %            89,810        71.4 %
  17                           109,803           25.0 %            73,000        66.5 %
  18                           100,299           10.0 %            65,633        65.4 %
  19                           127,547            3.7 %            83,389        65.4 %
  20                           150,659           10.2 %           115,364        76.6 %
  21                           114,296            7.6 %            77,193        67.5 %
  22                            89,173            7.7 %            54,355        61.0 %
  23                           125,075           15.8 %            80,655        64.5 %
  24                           133,937           12.3 %            96,740        72.2 %
  25                           107,208           21.0 %            69,887        65.2 %
  26                           118,037           11.4 %            89,320        75.7 %
  27                           121,891           13.0 %            87,515        71.8 %
  28                           164,258           13.2 %           126,298        76.9 %
  29                           138,416           18.3 %            98,898        71.4 %
  30                           110,559           30.2 %            69,957        63.3 %
  31                           106,776           74.1 %            59,735        55.9 %


  For technical reasons, election results in Texas Legislative Council reports may vary slightly from the official election results. Complete official results for all elections are maintained by the Office of the Texas Secretary of State.
  SSVR-T = Total Spanish surname voter registration
                                                                                                                                                                                                                                                      56528
                                                                              Case 3:21-cv-00259-DCG-JES-JVB Document 102-1 Filed 12/20/21 Page 93 of 195                                                                                        Texas Legislative Council
  Red-206
  Data: 2020 Census                                                                                                                              Election Analysis                                                                               08/29/21 3:04 PM
                                                                                                                                                                                                                                                 Page 2 of 20
  PLANH2100 08/02/2021 4:29:39 PM
                                                                                                                                    HOUSE DISTRICTS - PLANH2100
                                                                                                                                        2020 General Election
                            Total Voter Registration                       Turnout
District                          Total         SSVR-T               Total       TO/VR
  32                            111,529           39.3 %            71,250       63.9 %
  33                            163,045            8.5 %           124,146       76.1 %
  34                             99,855           61.9 %            56,848       56.9 %
  35                             82,293           78.5 %            47,115       57.3 %
  36                             85,586           83.4 %            46,646       54.5 %
  37                             86,277           78.9 %            42,368       49.1 %
  38                             94,356           79.8 %            51,813       54.9 %
  39                             86,107           83.7 %            47,612       55.3 %
  40                             81,984           85.2 %            44,775       54.6 %
  41                             93,189           72.3 %            57,903       62.1 %
  42                             92,354           86.3 %            47,460       51.4 %
  43                            104,406           57.6 %            60,362       57.8 %
  44                            145,992           25.5 %           103,048       70.6 %
  45                            162,587           22.8 %           117,440       72.2 %
  46                            117,464           19.8 %            77,898       66.3 %
  47                            180,244            8.9 %           141,663       78.6 %
  48                            146,471           14.4 %           110,857       75.7 %
  49                            155,452           11.6 %           107,637       69.2 %
  50                            138,011           16.1 %            98,151       71.1 %
  51                            122,106           31.7 %            76,490       62.6 %
  52                            141,055           18.0 %           102,228       72.5 %
  53                            123,444           21.2 %            89,157       72.2 %
  54                            125,441           12.7 %            73,850       58.9 %
  55                            105,921           13.5 %            64,616       61.0 %
  56                            110,202           12.9 %            75,933       68.9 %
  57                            103,612            8.3 %            69,184       66.8 %
  58                            118,934           10.9 %            81,628       68.6 %
  59                             99,810           11.0 %            64,358       64.5 %
  60                            123,277            8.5 %            86,211       69.9 %
  61                            149,417            7.0 %           108,899       72.9 %
  62                            112,874            5.1 %            77,416       68.6 %
  63                            147,714            7.8 %           113,106       76.6 %
  64                            127,284           11.2 %            90,868       71.4 %

  For technical reasons, election results in Texas Legislative Council reports may vary slightly from the official election results. Complete official results for all elections are maintained by the Office of the Texas Secretary of State.
  SSVR-T = Total Spanish surname voter registration
                                                                                                                                                                                                                                                      56528
                                                                             Case 3:21-cv-00259-DCG-JES-JVB Document 102-1 Filed 12/20/21 Page 94 of 195                                                                                                              Texas Legislative Council
 Red-206
 Data: 2020 Census                                                                                                                              Election Analysis                                                                                                     08/29/21 3:04 PM
                                                                                                                                                                                                                                                                      Page 6 of 20
 PLANH2100 08/02/2021 4:29:39 PM
                                                                                                                                   HOUSE DISTRICTS - PLANH2100
                                                                                                                                       2020 General Election

                                                                              PRESIDENT                                                                                                                            U.S. SEN                                                      RR COMM 1
District              Biden-D                     Trump-R                     Jorgensen-L                  Hawkins-G                    Write-In-W                    Cornyn-R                      Hegar-D                   McKennon-L                Collins-G               Castaneda-D
 STATE             5,257,513 46.5 %             5,889,022 52.0 %               126,212       1.1 %            33,378      0.3 %            10,927      0.1 %        5,961,643 53.5 %             4,887,309 43.9 %               209,623         1.9 %   81,753      0.7 %       4,791,167 43.6 %
   1                  17,162 24.4 %                52,429 74.5 %                   538       0.8 %               132      0.2 %                92      0.1 %           51,831 74.5 %                16,552 23.8 %                   868         1.2 %      284      0.4 %          15,871 23.0 %
   2                  15,468 19.2 %                64,152 79.7 %                   752       0.9 %               135      0.2 %                25      0.0 %           63,395 79.8 %                14,526 18.3 %                 1,146         1.4 %      411      0.5 %          14,018 17.9 %
   3                  22,950 24.5 %                69,479 74.2 %                   996       1.1 %               225      0.2 %                14      0.0 %           69,032 74.5 %                21,496 23.2 %                 1,692         1.8 %      414      0.4 %          20,808 22.7 %
   4                  24,280 27.8 %                61,896 71.0 %                   762       0.9 %               205      0.2 %                51      0.1 %           61,816 71.3 %                23,036 26.6 %                 1,391         1.6 %      494      0.6 %          22,563 26.1 %
   5                  15,680 20.8 %                59,068 78.2 %                   619       0.8 %               151      0.2 %                 8      0.0 %           58,375 78.1 %                15,100 20.2 %                   988         1.3 %      313      0.4 %          14,408 19.4 %
   6                  24,200 32.5 %                49,253 66.1 %                   886       1.2 %               192      0.3 %                 0      0.0 %           49,766 66.9 %                23,133 31.1 %                 1,158         1.6 %      336      0.5 %          22,216 30.0 %
   7                  17,673 26.4 %                48,302 72.2 %                   730       1.1 %               135      0.2 %                34      0.1 %           47,937 72.5 %                16,829 25.4 %                 1,107         1.7 %      259      0.4 %          16,076 24.5 %
   8                  13,551 21.8 %                47,827 77.1 %                   487       0.8 %               119      0.2 %                44      0.1 %           47,327 77.1 %                12,854 20.9 %                   876         1.4 %      361      0.6 %          12,467 20.4 %
   9                  16,828 22.3 %                58,043 76.9 %                   541       0.7 %                89      0.1 %                24      0.0 %           57,088 76.6 %                16,278 21.8 %                   908         1.2 %      249      0.3 %          15,360 20.8 %
   10                 28,750 31.4 %                61,356 67.0 %                   984       1.1 %               236      0.3 %               239      0.3 %           61,628 67.8 %                26,923 29.6 %                 1,685         1.9 %      623      0.7 %          26,233 29.1 %
   11                 17,839 26.4 %                49,013 72.4 %                   618       0.9 %               169      0.2 %                50      0.1 %           48,682 72.7 %                17,000 25.4 %                 1,022         1.5 %      300      0.4 %          15,965 24.1 %
   12                 21,988 33.6 %                42,483 65.0 %                   716       1.1 %               166      0.3 %                31      0.0 %           42,329 65.8 %                20,383 31.7 %                 1,190         1.9 %      384      0.6 %          19,524 30.8 %
   13                 18,236 21.2 %                67,019 77.8 %                   661       0.8 %               151      0.2 %                99      0.1 %           66,389 77.8 %                17,446 20.5 %                 1,133         1.3 %      321      0.4 %          17,080 20.2 %
   14                 30,206 45.9 %                33,705 51.3 %                 1,525       2.3 %               205      0.3 %               107      0.2 %           35,293 54.3 %                27,443 42.2 %                 1,843         2.8 %      389      0.6 %          25,862 40.6 %
   15                 39,765 35.9 %                69,264 62.5 %                 1,451       1.3 %               226      0.2 %                43      0.0 %           71,421 64.9 %                36,136 32.9 %                 1,948         1.8 %      491      0.4 %          34,465 31.9 %
   16                 19,826 22.1 %                68,872 76.7 %                   920       1.0 %               157      0.2 %                35      0.0 %           68,264 77.0 %                18,323 20.7 %                 1,598         1.8 %      423      0.5 %          17,629 20.2 %
   17                 27,078 37.2 %                44,397 61.0 %                   873       1.2 %               223      0.3 %               164      0.2 %           44,173 61.3 %                26,169 36.3 %                 1,272         1.8 %      409      0.6 %          25,686 36.0 %
   18                 16,006 24.4 %                48,838 74.4 %                   606       0.9 %               131      0.2 %                51      0.1 %           48,031 74.1 %                15,344 23.7 %                 1,150         1.8 %      323      0.5 %          15,060 23.4 %
   19                 14,391 17.3 %                68,049 81.8 %                   638       0.8 %               100      0.1 %                37      0.0 %           66,263 81.0 %                14,039 17.2 %                 1,200         1.5 %      338      0.4 %          12,770 15.7 %
   20                 35,731 31.0 %                77,463 67.3 %                 1,485       1.3 %               222      0.2 %               195      0.2 %           77,590 68.5 %                33,275 29.4 %                 1,990         1.8 %      446      0.4 %          31,308 28.0 %
   21                 16,794 21.9 %                59,080 76.9 %                   827       1.1 %               122      0.2 %                31      0.0 %           57,820 76.5 %                16,232 21.5 %                 1,244         1.6 %      304      0.4 %          15,426 20.6 %
   22                 35,636 66.1 %                17,676 32.8 %                   446       0.8 %               128      0.2 %                13      0.0 %           17,828 33.6 %                34,129 64.4 %                   746         1.4 %      300      0.6 %          33,412 63.9 %
   23                 33,007 41.0 %                46,252 57.5 %                   911       1.1 %               212      0.3 %                87      0.1 %           45,740 57.7 %                31,381 39.6 %                 1,544         1.9 %      610      0.8 %          30,816 39.3 %
   24                 29,823 30.9 %                65,012 67.4 %                 1,252       1.3 %               231      0.2 %               184      0.2 %           65,614 68.7 %                27,492 28.8 %                 1,878         2.0 %      469      0.5 %          26,430 28.1 %
   25                 20,010 28.7 %                48,784 69.9 %                   842       1.2 %               165      0.2 %                12      0.0 %           48,060 69.8 %                18,983 27.6 %                 1,473         2.1 %      376      0.5 %          18,693 27.4 %
   26                 45,192 50.9 %                42,349 47.7 %                   742       0.8 %               278      0.3 %               269      0.3 %           43,650 50.8 %                40,478 47.1 %                 1,264         1.5 %      506      0.6 %          39,238 46.6 %
   27                 61,243 70.3 %                24,802 28.5 %                   593       0.7 %               307      0.4 %               214      0.2 %           25,286 29.9 %                57,257 67.7 %                 1,319         1.6 %      678      0.8 %          57,031 68.2 %
   28                 60,101 47.8 %                63,906 50.8 %                 1,190       0.9 %               309      0.2 %               343      0.3 %           65,387 53.4 %                54,571 44.6 %                 1,827         1.5 %      573      0.5 %          53,363 44.3 %
   29                 45,951 46.5 %                51,494 52.1 %                 1,133       1.1 %               285      0.3 %                35      0.0 %           52,292 53.4 %                43,327 44.2 %                 1,768         1.8 %      565      0.6 %          42,256 43.8 %
   30                 18,923 27.1 %                50,100 71.7 %                   599       0.9 %               174      0.2 %                66      0.1 %           49,336 72.0 %                17,902 26.1 %                   981         1.4 %      320      0.5 %          17,629 26.0 %
   31                 25,315 42.9 %                33,101 56.1 %                   340       0.6 %               171      0.3 %                38      0.1 %           28,980 53.4 %                23,609 43.5 %                   958         1.8 %      756      1.4 %          24,700 46.5 %
   32                 31,699 44.7 %                38,011 53.6 %                   910       1.3 %               213      0.3 %               140      0.2 %           38,322 54.8 %                29,613 42.3 %                 1,483         2.1 %      531      0.8 %          28,939 42.2 %

 For technical reasons, election results in Texas Legislative Council reports may vary slightly from the official election results. Complete official results for all elections are maintained by the Office of the Texas Secretary of State.
 SSVR-T = Total Spanish surname voter registration
                                                                                                                                                                                                                                                                            56528
                                                                               Case 3:21-cv-00259-DCG-JES-JVB Document 102-1 Filed 12/20/21 Page 95 of 195                                                                                                      Texas Legislative Council
  Red-206
  Data: 2020 Census                                                                                                                               Election Analysis                                                                                             08/29/21 3:04 PM
                                                                                                                                                                                                                                                                Page 7 of 20
  PLANH2100 08/02/2021 4:29:39 PM
                                                                                                                                     HOUSE DISTRICTS - PLANH2100
                                                                                                                                         2020 General Election

                                                 RR COMM 1                                                                            SUP CT CHIEF                                                                SUP CT 6                                    SUP CT 7
District             Wright-R                      Sterett-L                   Gruene-G                      Hecht-R                    Meachum-D                        Ash-L                      Bland-R                      Cheng-D            Boyd-R                Strange-L
 STATE             5,830,003 53.0 %               247,568       2.3 %          129,588       1.2 %        5,825,773 53.0 %             4,892,131 44.5 %               277,432       2.5 %        6,049,262 55.2 %             4,902,218 44.8 %    5,842,276 53.3 %        256,665           2.3 %
   1                  51,614 74.9 %                 1,071       1.6 %              383       0.6 %           51,006 74.1 %                16,646 24.2 %                 1,136       1.7 %           52,160 76.0 %                16,478 24.0 %       51,417 74.6 %            994           1.4 %
   2                  62,412 79.6 %                 1,486       1.9 %              474       0.6 %           62,479 79.8 %                14,377 18.4 %                 1,479       1.9 %           63,632 81.8 %                14,184 18.2 %       62,235 80.0 %          1,439           1.8 %
   3                  68,138 74.4 %                 1,991       2.2 %              650       0.7 %           68,474 74.7 %                21,210 23.1 %                 2,030       2.2 %           70,362 76.9 %                21,101 23.1 %       68,607 75.0 %          1,827           2.0 %
   4                  61,399 71.1 %                 1,784       2.1 %              590       0.7 %           61,397 71.0 %                23,265 26.9 %                 1,772       2.1 %           62,994 73.1 %                23,138 26.9 %       61,617 71.4 %          1,612           1.9 %
   5                  58,048 78.3 %                 1,317       1.8 %              375       0.5 %           57,739 77.9 %                15,080 20.3 %                 1,297       1.7 %           58,985 79.8 %                14,955 20.2 %       58,001 78.3 %          1,191           1.6 %
   6                  49,596 67.1 %                 1,624       2.2 %              515       0.7 %           49,355 66.6 %                23,211 31.3 %                 1,530       2.1 %           50,764 68.6 %                23,198 31.4 %       49,556 66.9 %          1,561           2.1 %
   7                  47,700 72.8 %                 1,354       2.1 %              381       0.6 %           47,205 72.0 %                16,903 25.8 %                 1,435       2.2 %           48,599 74.3 %                16,836 25.7 %       47,487 72.5 %          1,373           2.1 %
   8                  47,143 77.3 %                 1,080       1.8 %              334       0.5 %           46,865 77.0 %                12,920 21.2 %                 1,078       1.8 %           47,893 78.9 %                12,802 21.1 %       47,012 77.3 %            998           1.6 %
   9                  57,093 77.3 %                 1,103       1.5 %              341       0.5 %           56,414 76.3 %                16,319 22.1 %                 1,163       1.6 %           57,437 78.3 %                15,947 21.7 %       56,425 76.8 %          1,037           1.4 %
   10                 61,123 67.7 %                 2,178       2.4 %              718       0.8 %           61,058 67.6 %                27,091 30.0 %                 2,189       2.4 %           62,952 70.0 %                27,042 30.0 %       61,220 68.0 %          2,062           2.3 %
   11                 48,404 73.2 %                 1,287       1.9 %              492       0.7 %           47,903 72.3 %                17,017 25.7 %                 1,329       2.0 %           49,239 74.5 %                16,872 25.5 %       48,217 72.9 %          1,201           1.8 %
   12                 41,946 66.2 %                 1,337       2.1 %              524       0.8 %           41,524 65.4 %                20,565 32.4 %                 1,359       2.1 %           42,805 67.8 %                20,353 32.2 %       41,823 66.0 %          1,273           2.0 %
   13                 65,558 77.6 %                 1,320       1.6 %              480       0.6 %           65,543 77.8 %                17,329 20.6 %                 1,353       1.6 %           66,965 79.9 %                16,886 20.1 %       65,686 78.1 %          1,298           1.5 %
   14                 34,557 54.3 %                 2,287       3.6 %              922       1.4 %           34,254 53.6 %                27,310 42.7 %                 2,397       3.7 %           36,047 56.7 %                27,539 43.3 %       34,416 54.1 %          2,395           3.8 %
   15                 69,884 64.7 %                 2,708       2.5 %              979       0.9 %           70,452 65.0 %                35,295 32.6 %                 2,617       2.4 %           72,742 67.4 %                35,170 32.6 %       70,248 65.0 %          2,509           2.3 %
   16                 67,388 77.0 %                 1,844       2.1 %              606       0.7 %           67,668 77.2 %                18,075 20.6 %                 1,895       2.2 %           69,370 79.4 %                17,983 20.6 %       67,678 77.4 %          1,768           2.0 %
   17                 43,205 60.5 %                 1,679       2.4 %              807       1.1 %           42,962 60.2 %                26,362 37.0 %                 2,000       2.8 %           44,852 63.2 %                26,075 36.8 %       43,510 61.1 %          1,783           2.5 %
   18                 47,576 73.9 %                 1,265       2.0 %              436       0.7 %           47,611 74.0 %                15,405 23.9 %                 1,339       2.1 %           48,811 76.1 %                15,324 23.9 %       47,610 74.2 %          1,235           1.9 %
   19                 66,868 82.4 %                 1,185       1.5 %              360       0.4 %           65,753 81.3 %                13,805 17.1 %                 1,295       1.6 %           67,167 83.4 %                13,390 16.6 %       66,013 81.7 %          1,195           1.5 %
   20                 76,453 68.5 %                 2,845       2.5 %            1,036       0.9 %           74,883 68.3 %                31,888 29.1 %                 2,799       2.6 %           79,365 71.5 %                31,635 28.5 %       76,406 68.9 %          2,677           2.4 %
   21                 57,509 77.0 %                 1,354       1.8 %              418       0.6 %           56,724 75.8 %                16,621 22.2 %                 1,449       1.9 %           58,361 78.2 %                16,256 21.8 %       57,253 76.6 %          1,289           1.7 %
   22                 17,567 33.6 %                   877       1.7 %              443       0.8 %           17,100 32.6 %                34,455 65.7 %                   914       1.7 %           17,860 34.1 %                34,508 65.9 %       17,169 32.7 %            814           1.6 %
   23                 44,968 57.4 %                 1,689       2.2 %              918       1.2 %           44,897 57.2 %                31,565 40.2 %                 2,042       2.6 %           46,517 59.5 %                31,703 40.5 %       44,945 57.5 %          1,961           2.5 %
   24                 64,475 68.5 %                 2,380       2.5 %              905       1.0 %           64,657 68.5 %                27,242 28.8 %                 2,529       2.7 %           66,885 71.1 %                27,174 28.9 %       64,573 68.7 %          2,489           2.6 %
   25                 47,245 69.3 %                 1,708       2.5 %              532       0.8 %           47,486 69.7 %                18,973 27.8 %                 1,692       2.5 %           49,060 72.2 %                18,910 27.8 %       47,530 69.9 %          1,718           2.5 %
   26                 42,818 50.8 %                 1,375       1.6 %              861       1.0 %           42,803 50.7 %                40,018 47.4 %                 1,547       1.8 %           43,526 51.9 %                40,326 48.1 %       42,477 50.6 %          1,448           1.7 %
   27                 24,462 29.2 %                 1,290       1.5 %              875       1.0 %           24,451 29.2 %                57,702 69.0 %                 1,516       1.8 %           25,273 30.4 %                57,863 69.6 %       24,298 29.1 %          1,263           1.5 %
   28                 64,123 53.2 %                 2,084       1.7 %              991       0.8 %           63,940 52.9 %                54,604 45.2 %                 2,221       1.8 %           65,654 54.7 %                54,295 45.3 %       63,815 53.1 %          2,130           1.8 %
   29                 51,097 52.9 %                 2,165       2.2 %            1,063       1.1 %           51,431 53.1 %                43,199 44.6 %                 2,311       2.4 %           53,106 55.0 %                43,538 45.0 %       51,336 53.1 %          2,242           2.3 %
   30                 48,620 71.6 %                 1,118       1.6 %              497       0.7 %           48,099 71.0 %                18,349 27.1 %                 1,263       1.9 %           49,727 73.8 %                17,669 26.2 %       48,564 71.9 %          1,160           1.7 %
   31                 26,837 50.5 %                   920       1.7 %              636       1.2 %           26,318 50.3 %                24,695 47.2 %                 1,359       2.6 %           28,101 53.9 %                23,992 46.1 %       26,928 51.5 %          1,193           2.3 %
   32                 36,856 53.7 %                 1,771       2.6 %            1,063       1.5 %           36,792 53.5 %                30,057 43.7 %                 1,968       2.9 %           38,488 56.3 %                29,920 43.7 %       37,083 54.2 %          1,891           2.8 %

   For technical reasons, election results in Texas Legislative Council reports may vary slightly from the official election results. Complete official results for all elections are maintained by the Office of the Texas Secretary of State.
   SSVR-T = Total Spanish surname voter registration
                                                                                                                                                                                                                                                                     56528
                                                                               Case 3:21-cv-00259-DCG-JES-JVB Document 102-1 Filed 12/20/21 Page 96 of 195                                                                                                      Texas Legislative Council
  Red-206
  Data: 2020 Census                                                                                                                               Election Analysis                                                                                             08/29/21 3:04 PM
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                                                                                                                                     HOUSE DISTRICTS - PLANH2100
                                                                                                                                         2020 General Election

                      SUP CT 7                                                  SUP CT 8                                                                  CCA 3                                                     CCA 4                                      CCA 9
District            Williams-D                     Busby-R                      Triana-D                    Oxford-L                   Richardson-R                Davis Frizell-D                  Yeary-R                     Clinton-D          Newell-R            Birmingham-D
 STATE             4,860,388 44.3 %             5,845,851 53.4 %             4,825,339 44.1 %               274,876       2.5 %        5,952,614 54.5 %             4,962,780 45.5 %             5,972,977 54.8 %             4,922,833 45.2 %    6,014,555 55.3 %      4,861,782 44.7 %
   1                  16,516 24.0 %                51,306 74.9 %                15,996 23.4 %                 1,189       1.7 %           51,624 75.5 %                16,784 24.5 %                51,822 75.8 %                16,567 24.2 %       52,059 75.9 %         16,546 24.1 %
   2                  14,129 18.2 %                62,513 80.4 %                13,649 17.6 %                 1,600       2.1 %           62,775 81.2 %                14,533 18.8 %                62,933 81.4 %                14,346 18.6 %       62,856 81.7 %         14,054 18.3 %
   3                  21,090 23.0 %                68,867 75.3 %                20,670 22.6 %                 1,971       2.2 %           69,665 76.4 %                21,540 23.6 %                69,782 76.7 %                21,235 23.3 %       69,968 76.9 %         21,026 23.1 %
   4                  23,024 26.7 %                61,884 71.8 %                22,578 26.2 %                 1,739       2.0 %           62,531 72.6 %                23,628 27.4 %                62,790 72.9 %                23,314 27.1 %       62,789 73.0 %         23,177 27.0 %
   5                  14,923 20.1 %                58,069 78.5 %                14,580 19.7 %                 1,304       1.8 %           58,580 79.4 %                15,239 20.6 %                58,640 79.6 %                15,041 20.4 %       58,844 79.8 %         14,907 20.2 %
   6                  22,918 31.0 %                49,689 67.2 %                22,673 30.7 %                 1,574       2.1 %           50,286 68.0 %                23,646 32.0 %                50,417 68.4 %                23,297 31.6 %       50,607 68.6 %         23,186 31.4 %
   7                  16,619 25.4 %                47,491 72.8 %                16,369 25.1 %                 1,413       2.2 %           48,107 73.8 %                17,114 26.2 %                48,232 74.0 %                16,922 26.0 %       48,371 74.3 %         16,717 25.7 %
   8                  12,808 21.1 %                47,209 77.6 %                12,488 20.5 %                 1,130       1.9 %           46,810 78.2 %                13,049 21.8 %                47,698 78.7 %                12,917 21.3 %       47,729 78.8 %         12,807 21.2 %
   9                  16,000 21.8 %                56,797 77.1 %                15,710 21.3 %                 1,123       1.5 %           57,199 77.8 %                16,309 22.2 %                57,240 78.0 %                16,152 22.0 %       57,277 78.1 %         16,031 21.9 %
   10                 26,743 29.7 %                61,380 68.3 %                26,270 29.2 %                 2,230       2.5 %           62,024 69.1 %                27,750 30.9 %                62,473 69.7 %                27,135 30.3 %       62,623 69.9 %         26,968 30.1 %
   11                 16,698 25.3 %                48,252 73.1 %                16,472 24.9 %                 1,324       2.0 %           48,799 74.0 %                17,142 26.0 %                48,931 74.3 %                16,936 25.7 %       48,982 74.5 %         16,755 25.5 %
   12                 20,225 31.9 %                41,951 66.4 %                19,927 31.5 %                 1,346       2.1 %           42,378 67.2 %                20,704 32.8 %                42,423 67.4 %                20,477 32.6 %       42,535 67.7 %         20,261 32.3 %
   13                 17,075 20.3 %                66,010 78.5 %                16,664 19.8 %                 1,373       1.6 %           66,383 79.3 %                17,376 20.7 %                66,258 79.4 %                17,157 20.6 %       66,463 79.7 %         16,937 20.3 %
   14                 26,758 42.1 %                34,309 54.2 %                26,612 42.0 %                 2,438       3.8 %           35,287 55.8 %                27,955 44.2 %                35,834 56.8 %                27,202 43.2 %       35,754 56.8 %         27,152 43.2 %
   15                 35,255 32.6 %                70,954 65.7 %                34,440 31.9 %                 2,627       2.4 %           71,824 66.9 %                35,527 33.1 %                71,798 67.0 %                35,316 33.0 %       72,154 67.4 %         34,915 32.6 %
   16                 17,998 20.6 %                68,043 77.8 %                17,585 20.1 %                 1,832       2.1 %           68,680 78.9 %                18,335 21.1 %                68,794 79.2 %                18,091 20.8 %       68,891 79.3 %         17,990 20.7 %
   17                 25,961 36.4 %                43,361 61.0 %                25,907 36.4 %                 1,828       2.6 %           44,250 62.3 %                26,828 37.7 %                44,577 62.8 %                26,420 37.2 %       44,757 63.2 %         26,079 36.8 %
   18                 15,302 23.9 %                47,860 74.6 %                14,933 23.3 %                 1,343       2.1 %           48,309 75.5 %                15,699 24.5 %                48,495 75.9 %                15,375 24.1 %       48,523 76.0 %         15,360 24.0 %
   19                 13,568 16.8 %                66,295 82.0 %                13,089 16.2 %                 1,453       1.8 %           66,697 82.9 %                13,773 17.1 %                66,673 83.1 %                13,525 16.9 %       66,931 83.2 %         13,530 16.8 %
   20                 31,791 28.7 %                76,660 69.3 %                31,146 28.1 %                 2,894       2.6 %           78,074 70.6 %                32,539 29.4 %                78,300 71.0 %                31,943 29.0 %       78,655 71.4 %         31,519 28.6 %
   21                 16,208 21.7 %                57,289 76.6 %                15,868 21.2 %                 1,627       2.2 %           57,776 77.7 %                16,582 22.3 %                57,869 77.9 %                16,438 22.1 %       58,038 78.1 %         16,279 21.9 %
   22                 34,467 65.7 %                17,204 32.8 %                34,102 65.0 %                 1,123       2.1 %           17,527 33.6 %                34,702 66.4 %                17,486 33.5 %                34,640 66.5 %       17,666 33.9 %         34,436 66.1 %
   23                 31,318 40.0 %                45,151 57.8 %                30,962 39.7 %                 1,971       2.5 %           45,837 58.8 %                32,127 41.2 %                46,065 59.2 %                31,716 40.8 %       46,219 59.6 %         31,364 40.4 %
   24                 26,942 28.7 %                64,841 69.1 %                26,407 28.1 %                 2,621       2.8 %           66,079 70.5 %                27,587 29.5 %                66,125 70.8 %                27,313 29.2 %       66,396 71.2 %         26,899 28.8 %
   25                 18,739 27.6 %                47,657 70.2 %                18,446 27.2 %                 1,743       2.6 %           48,369 71.4 %                19,366 28.6 %                48,485 71.8 %                19,068 28.2 %       48,701 72.1 %         18,805 27.9 %
   26                 39,939 47.6 %                42,998 51.3 %                39,120 46.7 %                 1,682       2.0 %           43,434 52.0 %                40,106 48.0 %                43,197 51.7 %                40,291 48.3 %       43,684 52.5 %         39,461 47.5 %
   27                 57,866 69.4 %                24,490 29.4 %                57,166 68.7 %                 1,599       1.9 %           24,866 29.9 %                58,249 70.1 %                24,843 29.9 %                58,282 70.1 %       25,199 30.4 %         57,561 69.6 %
   28                 54,250 45.1 %                64,169 53.4 %                53,643 44.7 %                 2,314       1.9 %           65,075 54.3 %                54,768 45.7 %                65,257 54.5 %                54,528 45.5 %       65,699 55.0 %         53,697 45.0 %
   29                 43,020 44.5 %                51,593 53.5 %                42,455 44.0 %                 2,354       2.4 %           52,456 54.5 %                43,833 45.5 %                52,568 54.7 %                43,466 45.3 %       52,999 55.3 %         42,860 44.7 %
   30                 17,776 26.3 %                48,642 72.2 %                17,545 26.0 %                 1,219       1.8 %           49,095 73.0 %                18,197 27.0 %                49,356 73.5 %                17,817 26.5 %       49,319 73.6 %         17,705 26.4 %
   31                 24,175 46.2 %                26,359 50.2 %                24,820 47.3 %                 1,318       2.5 %           27,313 52.4 %                24,808 47.6 %                27,268 52.6 %                24,540 47.4 %       27,825 53.8 %         23,895 46.2 %
   32                 29,413 43.0 %                36,924 54.2 %                29,353 43.1 %                 1,896       2.8 %           37,749 55.5 %                30,288 44.5 %                38,210 56.3 %                29,657 43.7 %       38,357 56.7 %         29,259 43.3 %

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 Red-206
 Data: 2020 Census                                                                                                                              Election Analysis                                                                                                     08/29/21 3:04 PM
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                                                                                                                                   HOUSE DISTRICTS - PLANH2100
                                                                                                                                       2020 General Election

                                                                              PRESIDENT                                                                                                                            U.S. SEN                                                      RR COMM 1
District              Biden-D                     Trump-R                     Jorgensen-L                  Hawkins-G                    Write-In-W                    Cornyn-R                      Hegar-D                   McKennon-L                Collins-G               Castaneda-D
    33                47,361      38.3 %           74,327      60.1 %             1,372      1.1 %               281      0.2 %               354      0.3 %            76,278     62.6 %            42,849     35.2 %             2,101        1.7 %      654      0.5 %           41,473        34.4 %
    34                29,226      51.7 %           26,606      47.0 %               494      0.9 %               155      0.3 %                97      0.2 %            26,236     47.4 %            27,567     49.8 %             1,081        2.0 %      466      0.8 %           27,816        51.0 %
    35                24,991      53.8 %           21,049      45.3 %               285      0.6 %               133      0.3 %                33      0.1 %            18,926     43.8 %            22,735     52.7 %               930        2.2 %      575      1.3 %           23,684        56.2 %
    36                27,180      58.8 %           18,559      40.1 %               267      0.6 %               247      0.5 %                 6      0.0 %            17,184     39.2 %            24,690     56.3 %             1,177        2.7 %      787      1.8 %           26,399        61.4 %
    37                24,258      58.0 %           17,079      40.9 %               268      0.6 %               142      0.3 %                52      0.1 %            15,883     39.1 %            23,343     57.5 %               712        1.8 %      648      1.6 %           24,198        60.6 %
    38                29,116      56.8 %           21,573      42.1 %               335      0.7 %               153      0.3 %                84      0.2 %            20,464     41.0 %            28,050     56.2 %               774        1.6 %      610      1.2 %           29,097        59.2 %
    39                28,107      59.5 %           18,626      39.4 %               257      0.5 %               248      0.5 %                12      0.0 %            17,246     38.4 %            25,657     57.2 %             1,138        2.5 %      817      1.8 %           26,979        61.5 %
    40                26,654      59.8 %           17,486      39.3 %               265      0.6 %               125      0.3 %                 5      0.0 %            16,266     38.4 %            24,401     57.7 %             1,045        2.5 %      597      1.4 %           25,335        61.1 %
    41                31,956      55.5 %           25,187      43.7 %               312      0.5 %               153      0.3 %                 7      0.0 %            24,797     44.3 %            29,594     52.8 %             1,093        2.0 %      518      0.9 %           30,611        55.5 %
    42                29,040      62.0 %           17,265      36.9 %               300      0.6 %               145      0.3 %                78      0.2 %            15,616     34.4 %            28,186     62.2 %               818        1.8 %      718      1.6 %           29,153        65.0 %
    43                23,775      39.6 %           35,550      59.2 %               550      0.9 %               177      0.3 %                37      0.1 %            34,282     58.6 %            22,750     38.9 %             1,015        1.7 %      411      0.7 %           23,163        40.1 %
    44                35,155      34.2 %           66,016      64.2 %             1,174      1.1 %               250      0.2 %               195      0.2 %            66,635     65.5 %            32,640     32.1 %             1,854        1.8 %      546      0.5 %           32,325        32.2 %
    45                61,435      52.6 %           53,123      45.5 %             1,807      1.5 %               433      0.4 %                56      0.0 %            54,996     47.4 %            57,413     49.5 %             2,700        2.3 %      844      0.7 %           54,943        48.2 %
    46                62,691      80.8 %           13,272      17.1 %             1,021      1.3 %               343      0.4 %               252      0.3 %            14,088     18.5 %            59,667     78.5 %             1,576        2.1 %      677      0.9 %           57,503        77.0 %
    47                76,336      54.1 %           61,983      43.9 %             1,954      1.4 %               322      0.2 %               483      0.3 %            66,452     47.7 %            69,906     50.2 %             2,291        1.6 %      613      0.4 %           66,419        48.7 %
    48                79,107      71.7 %           28,771      26.1 %             1,730      1.6 %               324      0.3 %               395      0.4 %            32,760     30.0 %            73,499     67.4 %             2,093        1.9 %      670      0.6 %           70,188        66.1 %
    49                87,287      81.4 %           17,606      16.4 %             1,527      1.4 %               416      0.4 %               439      0.4 %            20,666     19.5 %            82,534     78.0 %             1,956        1.8 %      682      0.6 %           78,407        76.0 %
    50                68,013      69.5 %           27,627      28.2 %             1,549      1.6 %               353      0.4 %               305      0.3 %            28,964     30.2 %            64,101     66.8 %             2,168        2.3 %      710      0.7 %           61,452        65.3 %
    51                62,426      81.9 %           12,078      15.8 %             1,124      1.5 %               336      0.4 %               279      0.4 %            12,930     17.4 %            58,821     78.9 %             1,922        2.6 %      839      1.1 %           56,883        77.9 %
    52                55,059      53.9 %           44,665      43.7 %             1,907      1.9 %               304      0.3 %               293      0.3 %            45,370     45.5 %            51,451     51.6 %             2,306        2.3 %      597      0.6 %           48,689        49.7 %
    53                20,570      23.1 %           67,376      75.8 %               771      0.9 %               162      0.2 %                32      0.0 %            67,086     76.5 %            18,901     21.6 %             1,301        1.5 %      383      0.4 %           18,717        21.6 %
    54                35,994      48.9 %           36,091      49.0 %             1,158      1.6 %               263      0.4 %               173      0.2 %            36,550     49.9 %            34,461     47.1 %             1,705        2.3 %      461      0.6 %           33,036        45.4 %
    55                23,164      36.0 %           39,888      61.9 %               967      1.5 %               201      0.3 %               190      0.3 %            40,486     63.3 %            21,930     34.3 %             1,209        1.9 %      327      0.5 %           20,509        32.4 %
    56                26,329      35.0 %           47,493      63.2 %             1,044      1.4 %               178      0.2 %                92      0.1 %            48,159     65.1 %            23,854     32.2 %             1,541        2.1 %      457      0.6 %           22,307        30.8 %
    57                15,920      23.1 %           52,414      76.0 %               455      0.7 %               119      0.2 %                98      0.1 %            51,828     76.0 %            15,245     22.4 %               834        1.2 %      285      0.4 %           14,642        21.6 %
    58                18,025      22.2 %           62,097      76.5 %               854      1.1 %               155      0.2 %                28      0.0 %            61,770     76.7 %            16,964     21.1 %             1,338        1.7 %      429      0.5 %           16,186        20.3 %
    59                13,767      21.4 %           49,364      76.8 %               840      1.3 %               173      0.3 %               111      0.2 %            48,850     77.0 %            12,918     20.4 %             1,269        2.0 %      379      0.6 %           12,111        19.3 %
    60                12,681      14.7 %           72,308      84.1 %               735      0.9 %               166      0.2 %                88      0.1 %            71,186     84.0 %            11,780     13.9 %             1,312        1.5 %      425      0.5 %           11,178        13.3 %
    61                17,990      16.6 %           89,077      82.1 %             1,190      1.1 %               205      0.2 %                31      0.0 %            88,335     82.2 %            16,563     15.4 %             2,131        2.0 %      487      0.5 %           15,251        14.3 %
    62                17,564      22.8 %           58,496      75.8 %               813      1.1 %               162      0.2 %               140      0.2 %            57,682     75.6 %            16,867     22.1 %             1,312        1.7 %      395      0.5 %           15,695        20.7 %
    63                41,879      37.0 %           69,509      61.5 %             1,393      1.2 %               238      0.2 %                86      0.1 %            72,278     64.5 %            37,171     33.2 %             2,083        1.9 %      554      0.5 %           35,047        31.9 %
    64                42,908      47.2 %           46,093      50.7 %             1,436      1.6 %               355      0.4 %                76      0.1 %            47,395     52.8 %            39,350     43.8 %             2,201        2.5 %      803      0.9 %           37,396        42.5 %
    65                44,884      54.5 %           36,126      43.9 %             1,028      1.2 %               229      0.3 %                55      0.1 %            38,039     46.9 %            40,789     50.3 %             1,752        2.2 %      571      0.7 %           39,040        49.2 %

 For technical reasons, election results in Texas Legislative Council reports may vary slightly from the official election results. Complete official results for all elections are maintained by the Office of the Texas Secretary of State.
 SSVR-T = Total Spanish surname voter registration
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                                                                               Case 3:21-cv-00259-DCG-JES-JVB Document 102-1 Filed 12/20/21 Page 98 of 195                                                                                                         Texas Legislative Council
  Red-206
  Data: 2020 Census                                                                                                                               Election Analysis                                                                                                08/29/21 3:04 PM
                                                                                                                                                                                                                                                                   Page 10 of 20
  PLANH2100 08/02/2021 4:29:39 PM
                                                                                                                                     HOUSE DISTRICTS - PLANH2100
                                                                                                                                         2020 General Election

                                                 RR COMM 1                                                                            SUP CT CHIEF                                                                SUP CT 6                                      SUP CT 7
District             Wright-R                      Sterett-L                   Gruene-G                      Hecht-R                    Meachum-D                        Ash-L                      Bland-R                      Cheng-D              Boyd-R                 Strange-L
    33                 75,368     62.6 %             2,709      2.2 %               909      0.8 %            75,041     62.3 %            42,684     35.4 %             2,822      2.3 %            77,026     64.5 %            42,402     35.5 %   75,382   62.7 %           2,532          2.1 %
    34                 24,985     45.8 %             1,006      1.8 %               717      1.3 %            24,778     45.5 %            28,310     51.9 %             1,408      2.6 %            26,014     48.0 %            28,162     52.0 %   25,097   46.3 %           1,255          2.3 %
    35                 17,094     40.5 %               788      1.9 %               593      1.4 %            16,879     40.7 %            23,564     56.8 %             1,033      2.5 %            18,328     43.9 %            23,465     56.1 %   17,220   41.7 %           1,044          2.5 %
    36                 15,020     34.9 %               940      2.2 %               656      1.5 %            15,212     35.5 %            26,443     61.7 %             1,228      2.9 %            16,632     38.8 %            26,204     61.2 %   15,445   36.2 %           1,435          3.4 %
    37                 14,401     36.1 %               781      2.0 %               561      1.4 %            13,735     35.6 %            23,643     61.2 %             1,241      3.2 %            15,492     39.3 %            23,908     60.7 %   14,173   36.9 %           1,041          2.7 %
    38                 18,502     37.7 %               877      1.8 %               653      1.3 %            17,892     37.6 %            28,330     59.6 %             1,335      2.8 %            19,819     40.9 %            28,640     59.1 %   18,429   38.9 %           1,126          2.4 %
    39                 15,314     34.9 %               871      2.0 %               711      1.6 %            15,411     35.2 %            27,072     61.8 %             1,327      3.0 %            16,967     38.8 %            26,724     61.2 %   15,749   36.1 %           1,413          3.2 %
    40                 14,612     35.3 %               846      2.0 %               646      1.6 %            14,535     35.1 %            25,689     62.1 %             1,141      2.8 %            15,835     38.3 %            25,477     61.7 %   14,893   36.2 %           1,290          3.1 %
    41                 22,881     41.5 %               972      1.8 %               674      1.2 %            22,937     41.6 %            30,967     56.2 %             1,227      2.2 %            24,330     44.3 %            30,643     55.7 %   23,292   42.4 %           1,361          2.5 %
    42                 14,222     31.7 %               733      1.6 %               721      1.6 %            13,743     31.2 %            28,958     65.7 %             1,351      3.1 %            15,334     34.5 %            29,083     65.5 %   14,315   32.1 %           1,151          2.6 %
    43                 33,094     57.2 %             1,014      1.8 %               554      1.0 %            32,595     56.6 %            23,614     41.0 %             1,374      2.4 %            34,050     59.5 %            23,197     40.5 %   33,064   57.7 %           1,206          2.1 %
    44                 64,617     64.3 %             2,331      2.3 %             1,148      1.1 %            64,700     64.3 %            33,190     33.0 %             2,697      2.7 %            67,129     66.9 %            33,171     33.1 %   65,161   65.0 %           2,405          2.4 %
    45                 53,725     47.1 %             3,274      2.9 %             2,095      1.8 %            53,537     46.9 %            56,871     49.8 %             3,837      3.4 %            56,457     49.6 %            57,273     50.4 %   53,995   47.4 %           3,589          3.2 %
    46                 13,271     17.8 %             2,116      2.8 %             1,766      2.4 %            13,334     17.9 %            58,895     79.0 %             2,337      3.1 %            14,679     19.8 %            59,551     80.2 %   13,441   18.1 %           2,124          2.9 %
    47                 64,426     47.3 %             3,682      2.7 %             1,721      1.3 %            64,676     47.4 %            68,003     49.8 %             3,772      2.8 %            67,932     50.1 %            67,623     49.9 %   64,624   47.8 %           3,307          2.4 %
    48                 30,978     29.2 %             3,138      3.0 %             1,950      1.8 %            31,407     29.5 %            71,860     67.4 %             3,364      3.2 %            33,785     32.0 %            71,900     68.0 %   31,295   29.7 %           3,115          3.0 %
    49                 19,628     19.0 %             2,800      2.7 %             2,319      2.2 %            19,716     19.0 %            80,709     77.9 %             3,125      3.0 %            21,465     20.9 %            81,345     79.1 %   19,490   19.0 %           2,867          2.8 %
    50                 27,643     29.4 %             2,995      3.2 %             2,002      2.1 %            27,839     29.6 %            62,833     66.9 %             3,305      3.5 %            29,918     32.0 %            63,579     68.0 %   28,071   30.1 %           2,988          3.2 %
    51                 12,030     16.5 %             2,230      3.1 %             1,921      2.6 %            11,946     16.4 %            58,175     79.7 %             2,837      3.9 %            13,330     18.4 %            59,192     81.6 %   12,203   16.8 %           2,494          3.4 %
    52                 44,404     45.3 %             3,318      3.4 %             1,552      1.6 %            42,950     45.1 %            48,925     51.3 %             3,456      3.6 %            47,131     48.4 %            50,249     51.6 %   44,413   45.7 %           3,383          3.5 %
    53                 65,472     75.6 %             1,606      1.9 %               751      0.9 %            65,552     75.8 %            19,186     22.2 %             1,752      2.0 %            67,287     78.3 %            18,647     21.7 %   65,733   76.3 %           1,646          1.9 %
    54                 36,747     50.6 %             1,952      2.7 %               957      1.3 %            36,136     49.6 %            34,434     47.3 %             2,268      3.1 %            37,802     52.0 %            34,882     48.0 %   36,281   49.9 %           2,037          2.8 %
    55                 40,639     64.1 %             1,575      2.5 %               665      1.0 %            39,912     62.7 %            21,871     34.4 %             1,831      2.9 %            41,630     65.6 %            21,795     34.4 %   40,188   63.3 %           1,698          2.7 %
    56                 47,493     65.5 %             1,826      2.5 %               842      1.2 %            47,143     64.7 %            23,851     32.7 %             1,865      2.6 %            49,023     67.6 %            23,489     32.4 %   47,710   65.7 %           1,653          2.3 %
    57                 51,784     76.5 %               958      1.4 %               325      0.5 %            51,050     75.5 %            15,394     22.8 %             1,160      1.7 %            52,368     77.6 %            15,127     22.4 %   51,755   76.5 %             946          1.4 %
    58                 61,132     76.7 %             1,796      2.3 %               608      0.8 %            60,941     76.6 %            16,844     21.2 %             1,773      2.2 %            62,551     79.0 %            16,624     21.0 %   60,985   76.9 %           1,590          2.0 %
    59                 48,655     77.5 %             1,455      2.3 %               565      0.9 %            48,174     76.8 %            12,990     20.7 %             1,543      2.5 %            49,567     79.4 %            12,854     20.6 %   48,359   77.3 %           1,418          2.3 %
    60                 70,811     84.4 %             1,477      1.8 %               444      0.5 %            70,148     83.8 %            11,965     14.3 %             1,613      1.9 %            71,833     86.1 %            11,564     13.9 %   70,461   84.4 %           1,426          1.7 %
    61                 88,028     82.7 %             2,520      2.4 %               696      0.7 %            87,524     82.2 %            16,322     15.3 %             2,627      2.5 %            89,847     84.7 %            16,186     15.3 %   87,727   82.7 %           2,457          2.3 %
    62                 57,877     76.5 %             1,604      2.1 %               469      0.6 %            57,212     75.6 %            16,959     22.4 %             1,548      2.0 %            59,025     78.1 %            16,564     21.9 %   57,641   76.2 %           1,464          1.9 %
    63                 70,637     64.4 %             2,847      2.6 %             1,222      1.1 %            70,675     64.0 %            37,137     33.6 %             2,588      2.3 %            72,829     66.7 %            36,353     33.3 %   70,514   64.4 %           2,658          2.4 %
    64                 46,264     52.6 %             2,511      2.9 %             1,814      2.1 %            46,264     52.3 %            39,532     44.7 %             2,620      3.0 %            47,913     54.9 %            39,400     45.1 %   46,000   52.5 %           2,646          3.0 %
    65                 36,949     46.6 %             2,127      2.7 %             1,185      1.5 %            37,205     46.6 %            40,564     50.9 %             1,998      2.5 %            38,478     48.7 %            40,531     51.3 %   36,850   46.7 %           2,076          2.6 %

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   SSVR-T = Total Spanish surname voter registration
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                                                                               Case 3:21-cv-00259-DCG-JES-JVB Document 102-1 Filed 12/20/21 Page 99 of 195                                                                                                           Texas Legislative Council
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  Data: 2020 Census                                                                                                                               Election Analysis                                                                                                  08/29/21 3:04 PM
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  PLANH2100 08/02/2021 4:29:39 PM
                                                                                                                                     HOUSE DISTRICTS - PLANH2100
                                                                                                                                         2020 General Election

                      SUP CT 7                                                  SUP CT 8                                                                  CCA 3                                                     CCA 4                                           CCA 9
District            Williams-D                     Busby-R                      Triana-D                    Oxford-L                   Richardson-R                Davis Frizell-D                  Yeary-R                     Clinton-D             Newell-R              Birmingham-D
    33                 42,241     35.2 %            75,454     62.9 %            41,628     34.7 %             2,896      2.4 %            76,359     63.9 %            43,130     36.1 %            76,839     64.3 %            42,674     35.7 %   77,159     64.6 %           42,201     35.4 %
    34                 27,807     51.3 %            24,735     45.8 %            28,040     51.9 %             1,243      2.3 %            25,404     47.1 %            28,567     52.9 %            25,737     47.8 %            28,121     52.2 %   25,842     48.2 %           27,761     51.8 %
    35                 23,022     55.8 %            16,718     40.1 %            23,888     57.4 %             1,040      2.5 %            17,683     42.3 %            24,132     57.7 %            17,743     42.8 %            23,671     57.2 %   18,207     44.0 %           23,160     56.0 %
    36                 25,837     60.5 %            14,609     34.3 %            26,825     62.9 %             1,203      2.8 %            15,664     36.6 %            27,081     63.4 %            16,085     37.7 %            26,548     62.3 %   16,516     39.0 %           25,796     61.0 %
    37                 23,244     60.4 %            13,841     35.0 %            24,681     62.4 %             1,054      2.7 %            15,020     37.8 %            24,713     62.2 %            14,732     37.9 %            24,158     62.1 %   15,454     39.5 %           23,651     60.5 %
    38                 27,784     58.7 %            17,997     37.0 %            29,427     60.5 %             1,184      2.4 %            19,278     39.5 %            29,511     60.5 %            19,032     39.7 %            28,881     60.3 %   19,801     41.2 %           28,263     58.8 %
    39                 26,452     60.7 %            15,045     34.6 %            27,243     62.7 %             1,163      2.7 %            15,999     36.7 %            27,609     63.3 %            16,449     37.8 %            27,027     62.2 %   16,687     38.6 %           26,489     61.4 %
    40                 24,976     60.7 %            14,155     34.5 %            25,709     62.6 %             1,185      2.9 %            15,144     36.8 %            25,991     63.2 %            15,505     37.8 %            25,522     62.2 %   15,695     38.5 %           25,075     61.5 %
    41                 30,246     55.1 %            22,642     41.3 %            30,822     56.3 %             1,313      2.4 %            23,642     43.1 %            31,168     56.9 %            24,078     44.0 %            30,594     56.0 %   24,357     44.7 %           30,079     55.3 %
    42                 29,183     65.4 %            13,304     29.9 %            30,024     67.5 %             1,166      2.6 %            14,436     33.3 %            28,937     66.7 %            14,834     34.4 %            28,256     65.6 %   15,304     34.9 %           28,552     65.1 %
    43                 23,025     40.2 %            32,700     57.3 %            23,116     40.5 %             1,299      2.3 %            33,481     58.6 %            23,616     41.4 %            33,838     59.3 %            23,214     40.7 %   33,797     59.5 %           23,011     40.5 %
    44                 32,686     32.6 %            65,175     65.1 %            32,356     32.3 %             2,597      2.6 %            66,340     66.4 %            33,609     33.6 %            66,687     66.9 %            33,036     33.1 %   66,937     67.2 %           32,607     32.8 %
    45                 56,211     49.4 %            53,835     47.4 %            55,841     49.2 %             3,867      3.4 %            55,193     48.7 %            58,103     51.3 %            55,900     49.5 %            57,071     50.5 %   56,125     49.8 %           56,517     50.2 %
    46                 58,663     79.0 %            13,180     17.8 %            58,608     79.1 %             2,315      3.1 %            13,835     18.9 %            59,513     81.1 %            14,026     19.1 %            59,398     80.9 %   14,383     19.6 %           58,852     80.4 %
    47                 67,207     49.7 %            64,608     47.9 %            66,512     49.3 %             3,795      2.8 %            65,927     49.2 %            68,046     50.8 %            66,158     49.4 %            67,647     50.6 %   66,695     50.0 %           66,578     50.0 %
    48                 71,026     67.4 %            30,819     29.3 %            71,141     67.5 %             3,373      3.2 %            32,319     30.9 %            72,115     69.1 %            32,392     31.1 %            71,920     68.9 %   32,874     31.6 %           71,017     68.4 %
    49                 80,022     78.2 %            19,308     18.9 %            79,822     78.1 %             3,108      3.0 %            20,271     20.0 %            81,110     80.0 %            20,384     20.1 %            80,930     79.9 %   20,853     20.7 %           80,078     79.3 %
    50                 62,312     66.7 %            27,640     29.7 %            62,287     66.8 %             3,267      3.5 %            28,936     31.3 %            63,392     68.7 %            29,196     31.6 %            63,191     68.4 %   29,650     32.2 %           62,529     67.8 %
    51                 57,795     79.7 %            11,711     16.2 %            58,018     80.1 %             2,668      3.7 %            12,655     17.6 %            59,068     82.4 %            12,911     18.0 %            58,825     82.0 %   13,218     18.5 %           58,303     81.5 %
    52                 49,328     50.8 %            44,395     45.8 %            49,005     50.5 %             3,620      3.7 %            45,954     47.4 %            50,909     52.6 %            46,205     48.0 %            50,128     52.0 %   46,891     48.7 %           49,440     51.3 %
    53                 18,768     21.8 %            65,718     76.4 %            18,399     21.4 %             1,849      2.2 %            66,597     77.6 %            19,206     22.4 %            66,721     78.0 %            18,860     22.0 %   66,906     78.3 %           18,554     21.7 %
    54                 34,403     47.3 %            36,610     50.4 %            33,942     46.7 %             2,101      2.9 %            37,333     51.5 %            35,194     48.5 %            37,634     51.9 %            34,873     48.1 %   37,769     52.1 %           34,746     47.9 %
    55                 21,574     34.0 %            40,403     63.8 %            21,185     33.4 %             1,783      2.8 %            41,046     64.9 %            22,245     35.1 %            41,314     65.3 %            21,945     34.7 %   41,402     65.4 %           21,866     34.6 %
    56                 23,272     32.0 %            47,718     65.8 %            23,011     31.7 %             1,766      2.4 %            48,235     66.7 %            24,079     33.3 %            48,487     67.3 %            23,608     32.7 %   48,710     67.7 %           23,261     32.3 %
    57                 14,949     22.1 %            51,646     76.5 %            14,815     21.9 %             1,070      1.6 %            52,015     77.1 %            15,478     22.9 %            52,070     77.3 %            15,263     22.7 %   52,140     77.5 %           15,124     22.5 %
    58                 16,706     21.1 %            61,369     77.2 %            16,155     20.3 %             1,928      2.4 %            61,939     78.2 %            17,276     21.8 %            61,933     78.5 %            16,915     21.5 %   62,247     78.9 %           16,630     21.1 %
    59                 12,745     20.4 %            48,466     77.6 %            12,368     19.8 %             1,602      2.6 %            49,131     78.8 %            13,256     21.2 %            49,268     79.2 %            12,910     20.8 %   49,293     79.3 %           12,841     20.7 %
    60                 11,601     13.9 %            70,517     84.6 %            11,236     13.5 %             1,640      2.0 %            71,271     85.6 %            12,021     14.4 %            71,423     85.9 %            11,722     14.1 %   71,383     86.0 %           11,655     14.0 %
    61                 15,874     15.0 %            87,715     82.9 %            15,421     14.6 %             2,634      2.5 %            89,045     84.3 %            16,621     15.7 %            89,277     84.6 %            16,214     15.4 %   89,386     84.8 %           15,962     15.2 %
    62                 16,503     21.8 %            57,786     76.6 %            16,000     21.2 %             1,640      2.2 %            58,478     77.5 %            16,985     22.5 %            58,672     77.9 %            16,660     22.1 %   58,742     77.9 %           16,625     22.1 %
    63                 36,269     33.1 %            70,712     64.8 %            35,467     32.5 %             2,998      2.7 %            71,701     65.9 %            37,064     34.1 %            71,953     66.4 %            36,380     33.6 %   72,580     67.0 %           35,730     33.0 %
    64                 38,901     44.4 %            46,426     53.1 %            38,173     43.7 %             2,816      3.2 %            46,934     53.9 %            40,068     46.1 %            47,340     54.6 %            39,363     45.4 %   47,596     55.0 %           39,015     45.0 %
    65                 40,036     50.7 %            37,194     47.1 %            39,515     50.0 %             2,261      2.9 %            37,658     47.9 %            40,930     52.1 %            37,959     48.4 %            40,474     51.6 %   38,271     48.9 %           39,996     51.1 %

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   SSVR-T = Total Spanish surname voter registration
                                                                                                                                                                                                                                                                          56528
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                   Exhibit 17:
      Election Analysis, H2136, 2020 General
                    Election
                                                                             Case 3:21-cv-00259-DCG-JES-JVB Document 102-1 Filed 12/20/21 Page 101 of 195                                                                                        Texas Legislative Council
  Red-206
  Data: 2020 Census                                                                                                                              Election Analysis                                                                               10/13/21 10:11 AM
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                                                                                                                                    HOUSE DISTRICTS - PLANH2316
                                                                                                                                        2020 General Election

                            Total Voter Registration                       Turnout
District                          Total         SSVR-T               Total       TO/VR
STATE                       16,960,107           24.0 %        11,355,339        67.0 %
  1                            131,576            2.5 %            85,126        64.7 %
  2                            122,319            6.5 %            80,790        66.0 %
  3                            117,388           12.1 %            83,910        71.5 %
  4                            113,981            9.8 %            77,499        68.0 %
  5                            122,962            7.0 %            83,071        67.6 %
  6                            117,434            8.0 %            81,036        69.0 %
  7                            125,981            5.5 %            82,734        65.7 %
  8                            110,504            8.2 %            73,885        66.9 %
  9                            139,074            7.0 %            89,057        64.0 %
  10                           120,084           14.5 %            85,932        71.6 %
  11                           120,934            6.0 %            81,494        67.4 %
  12                           115,572            9.8 %            81,199        70.3 %
  13                           114,882           11.3 %            73,535        64.0 %
  14                           102,062           15.0 %            70,933        69.5 %
  15                           129,714            9.5 %            96,758        74.6 %
  16                           111,243           11.0 %            81,491        73.3 %
  17                           117,084           19.7 %            79,351        67.8 %
  18                           119,847            8.3 %            78,999        65.9 %
  19                           151,539            8.9 %           118,022        77.9 %
  20                           138,160           11.6 %           105,804        76.6 %
  21                           123,927            5.1 %            85,072        68.6 %
  22                           102,895            9.7 %            62,208        60.5 %
  23                           124,279           16.0 %            80,944        65.1 %
  24                           134,733           12.1 %            96,451        71.6 %
  25                           107,972           17.8 %            74,211        68.7 %
  26                           113,901           13.9 %            87,069        76.4 %
  27                           121,175           13.5 %            87,168        71.9 %
  28                           111,708           17.2 %            84,358        75.5 %
  29                           115,702           19.8 %            80,773        69.8 %
  30                           119,289           27.6 %            76,771        64.4 %
  31                           116,203           63.9 %            70,051        60.3 %


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  SSVR-T = Total Spanish surname voter registration
                                                                                                                                                                                                                                                      63321
                                                                             Case 3:21-cv-00259-DCG-JES-JVB Document 102-1 Filed 12/20/21 Page 102 of 195                                                                                        Texas Legislative Council
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  Data: 2020 Census                                                                                                                              Election Analysis                                                                               10/13/21 10:11 AM
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  PLANH2316 10/13/2021 3:55:04 AM
                                                                                                                                    HOUSE DISTRICTS - PLANH2316
                                                                                                                                        2020 General Election
                            Total Voter Registration                       Turnout
District                          Total         SSVR-T               Total       TO/VR
  32                            120,396           31.6 %            80,929       67.2 %
  33                            119,728            8.8 %            90,967       76.0 %
  34                            109,247           64.5 %            59,459       54.4 %
  35                             74,562           86.4 %            40,158       53.9 %
  36                             85,806           82.9 %            47,113       54.9 %
  37                            100,230           70.5 %            55,298       55.2 %
  38                             97,425           84.2 %            48,385       49.7 %
  39                             87,171           83.7 %            47,379       54.4 %
  40                             81,197           84.8 %            45,725       56.3 %
  41                             96,191           72.1 %            59,789       62.2 %
  42                            100,364           85.0 %            53,651       53.5 %
  43                            122,445           54.5 %            71,668       58.5 %
  44                            123,585           25.1 %            85,713       69.4 %
  45                            121,657           28.3 %            84,114       69.1 %
  46                            124,707           18.7 %            87,522       70.2 %
  47                            144,364            8.6 %           111,686       77.4 %
  48                            150,257           14.3 %           114,959       76.5 %
  49                            157,838           12.7 %           109,391       69.3 %
  50                            109,847           19.2 %            72,340       65.9 %
  51                            118,225           31.7 %            73,606       62.3 %
  52                            126,527           14.7 %            96,211       76.0 %
  53                            141,931           24.4 %           100,186       70.6 %
  54                            105,436           12.8 %            59,449       56.4 %
  55                            110,530           13.7 %            68,586       62.1 %
  56                            118,961           12.5 %            82,194       69.1 %
  57                            113,716           10.3 %            85,437       75.1 %
  58                            112,916           11.0 %            77,407       68.6 %
  59                            115,787            8.3 %            77,680       67.1 %
  60                            128,382            7.0 %            92,736       72.2 %
  61                            121,624            7.3 %            96,130       79.0 %
  62                            119,898            5.1 %            82,446       68.8 %
  63                            124,762            9.7 %            91,229       73.1 %
  64                            124,284           10.4 %            87,259       70.2 %

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  SSVR-T = Total Spanish surname voter registration
                                                                                                                                                                                                                                                      63321
                                                                            Case 3:21-cv-00259-DCG-JES-JVB Document 102-1 Filed 12/20/21 Page 103 of 195                                                                                                              Texas Legislative Council
 Red-206
 Data: 2020 Census                                                                                                                              Election Analysis                                                                                                     10/13/21 10:11 AM
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 PLANH2316 10/13/2021 3:55:04 AM
                                                                                                                                   HOUSE DISTRICTS - PLANH2316
                                                                                                                                       2020 General Election

                                                                              PRESIDENT                                                                                                                            U.S. SEN                                                      RR COMM 1
District              Biden-D                     Trump-R                     Jorgensen-L                  Hawkins-G                    Write-In-W                    Cornyn-R                      Hegar-D                   McKennon-L                Collins-G               Castaneda-D
 STATE             5,257,513 46.5 %             5,889,022 52.0 %               126,212       1.1 %            33,378      0.3 %            10,927      0.1 %        5,961,643 53.5 %             4,887,309 43.9 %               209,623         1.9 %   81,753      0.7 %       4,791,167 43.6 %
   1                  20,817 24.5 %                63,142 74.4 %                   617       0.7 %               151      0.2 %                95      0.1 %           62,240 74.3 %                20,105 24.0 %                 1,024         1.2 %      345      0.4 %          19,269 23.2 %
   2                  15,468 19.2 %                64,152 79.7 %                   752       0.9 %               135      0.2 %                25      0.0 %           63,395 79.8 %                14,526 18.3 %                 1,146         1.4 %      411      0.5 %          14,018 17.9 %
   3                  19,156 22.8 %                63,628 75.8 %                   944       1.1 %               167      0.2 %                15      0.0 %           63,470 76.4 %                17,788 21.4 %                 1,485         1.8 %      343      0.4 %          17,087 20.8 %
   4                  22,799 29.5 %                53,449 69.3 %                   686       0.9 %               193      0.3 %                38      0.0 %           53,342 69.5 %                21,663 28.2 %                 1,295         1.7 %      469      0.6 %          21,276 27.8 %
   5                  15,863 19.1 %                66,126 79.8 %                   722       0.9 %               150      0.2 %                13      0.0 %           65,219 79.6 %                15,274 18.6 %                 1,173         1.4 %      314      0.4 %          14,509 17.9 %
   6                  25,230 31.3 %                54,163 67.3 %                   926       1.1 %               205      0.3 %                 0      0.0 %           54,665 68.0 %                24,129 30.0 %                 1,227         1.5 %      369      0.5 %          23,164 29.0 %
   7                  24,035 29.1 %                57,418 69.6 %                   892       1.1 %               163      0.2 %                36      0.0 %           57,068 69.9 %                22,906 28.1 %                 1,312         1.6 %      321      0.4 %          21,888 27.1 %
   8                  15,932 21.6 %                57,097 77.4 %                   568       0.8 %               139      0.2 %                56      0.1 %           56,613 77.4 %                15,187 20.8 %                 1,025         1.4 %      335      0.5 %          14,624 20.1 %
   9                  20,550 23.1 %                67,489 75.9 %                   591       0.7 %               156      0.2 %                96      0.1 %           65,940 75.4 %                19,824 22.7 %                 1,251         1.4 %      416      0.5 %          18,593 21.4 %
   10                 27,565 32.2 %                56,717 66.2 %                   954       1.1 %               220      0.3 %               232      0.3 %           57,078 67.1 %                25,780 30.3 %                 1,589         1.9 %      585      0.7 %          25,142 29.8 %
   11                 19,596 24.1 %                60,879 74.9 %                   612       0.8 %               160      0.2 %                64      0.1 %           60,212 74.9 %                18,830 23.4 %                 1,030         1.3 %      344      0.4 %          17,638 22.2 %
   12                 22,949 28.3 %                56,961 70.3 %                   886       1.1 %               172      0.2 %                97      0.1 %           57,024 71.1 %                21,509 26.8 %                 1,363         1.7 %      357      0.4 %          20,996 26.4 %
   13                 20,360 27.8 %                52,010 71.0 %                   637       0.9 %               165      0.2 %                50      0.1 %           51,331 71.3 %                19,076 26.5 %                 1,107         1.5 %      502      0.7 %          18,339 25.7 %
   14                 30,840 43.5 %                38,146 53.8 %                 1,605       2.3 %               217      0.3 %               114      0.2 %           39,832 56.8 %                27,972 39.9 %                 1,930         2.8 %      399      0.6 %          26,284 38.3 %
   15                 35,438 36.6 %                59,767 61.8 %                 1,307       1.4 %               201      0.2 %                40      0.0 %           61,696 64.2 %                32,198 33.5 %                 1,737         1.8 %      449      0.5 %          30,715 32.6 %
   16                 18,077 22.2 %                62,411 76.6 %                   828       1.0 %               138      0.2 %                37      0.0 %           61,946 77.0 %                16,638 20.7 %                 1,462         1.8 %      368      0.5 %          16,014 20.2 %
   17                 28,180 35.7 %                49,529 62.7 %                   921       1.2 %               230      0.3 %               162      0.2 %           49,078 62.7 %                27,300 34.9 %                 1,403         1.8 %      443      0.6 %          26,532 34.2 %
   18                 13,302 16.8 %                64,897 82.2 %                   682       0.9 %               115      0.1 %                 2      0.0 %           63,483 81.4 %                12,948 16.6 %                 1,254         1.6 %      325      0.4 %          12,357 16.0 %
   19                 34,651 29.5 %                81,151 69.0 %                 1,316       1.1 %               195      0.2 %               229      0.2 %           82,451 70.7 %                31,798 27.3 %                 1,860         1.6 %      434      0.4 %          30,501 26.5 %
   20                 44,651 42.2 %                58,876 55.6 %                 1,714       1.6 %               266      0.3 %               297      0.3 %           59,522 57.4 %                41,484 40.0 %                 2,162         2.1 %      467      0.5 %          39,011 38.3 %
   21                 18,580 21.9 %                65,051 76.8 %                   863       1.0 %               109      0.1 %                49      0.1 %           64,134 76.7 %                17,971 21.5 %                 1,227         1.5 %      285      0.3 %          16,923 20.5 %
   22                 36,804 59.6 %                24,247 39.3 %                   515       0.8 %               148      0.2 %                14      0.0 %           23,826 39.5 %                35,241 58.4 %                   943         1.6 %      361      0.6 %          34,574 58.1 %
   23                 30,882 38.2 %                48,614 60.2 %                   971       1.2 %               202      0.3 %                87      0.1 %           48,179 60.5 %                29,193 36.7 %                 1,600         2.0 %      606      0.8 %          28,574 36.3 %
   24                 31,948 33.2 %                62,650 65.1 %                 1,192       1.2 %               241      0.3 %               184      0.2 %           63,175 66.4 %                29,680 31.2 %                 1,822         1.9 %      473      0.5 %          28,672 30.5 %
   25                 29,441 39.7 %                43,675 58.9 %                   882       1.2 %               191      0.3 %                22      0.0 %           43,475 59.2 %                28,018 38.2 %                 1,520         2.1 %      410      0.6 %          27,360 37.7 %
   26                 37,863 43.7 %                47,532 54.8 %                   862       1.0 %               217      0.3 %               264      0.3 %           49,033 57.9 %                33,979 40.1 %                 1,290         1.5 %      381      0.4 %          32,864 39.5 %
   27                 61,827 71.2 %                23,922 27.6 %                   590       0.7 %               292      0.3 %               198      0.2 %           24,434 29.0 %                57,823 68.6 %                 1,301         1.5 %      672      0.8 %          57,621 69.1 %
   28                 36,213 43.1 %                46,580 55.4 %                   773       0.9 %               226      0.3 %               215      0.3 %           47,572 58.2 %                32,562 39.8 %                 1,274         1.6 %      375      0.5 %          31,805 39.5 %
   29                 32,787 40.6 %                46,758 57.9 %                   978       1.2 %               226      0.3 %                24      0.0 %           47,230 59.1 %                30,741 38.5 %                 1,499         1.9 %      469      0.6 %          29,994 38.1 %
   30                 18,850 24.6 %                56,890 74.2 %                   623       0.8 %               180      0.2 %                78      0.1 %           55,956 74.3 %                17,935 23.8 %                 1,063         1.4 %      317      0.4 %          17,802 23.9 %
   31                 25,741 37.1 %                43,085 62.1 %                   364       0.5 %               159      0.2 %                59      0.1 %           38,505 59.9 %                23,995 37.3 %                 1,032         1.6 %      754      1.2 %          24,814 39.5 %
   32                 31,670 39.3 %                47,624 59.0 %                   993       1.2 %               229      0.3 %               150      0.2 %           48,001 60.3 %                29,487 37.0 %                 1,584         2.0 %      543      0.7 %          28,560 36.6 %

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 SSVR-T = Total Spanish surname voter registration
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                                                                              Case 3:21-cv-00259-DCG-JES-JVB Document 102-1 Filed 12/20/21 Page 104 of 195                                                                                                      Texas Legislative Council
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  Data: 2020 Census                                                                                                                               Election Analysis                                                                                             10/13/21 10:11 AM
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                                                                                                                                     HOUSE DISTRICTS - PLANH2316
                                                                                                                                         2020 General Election

                                                 RR COMM 1                                                                            SUP CT CHIEF                                                                SUP CT 6                                    SUP CT 7
District             Wright-R                      Sterett-L                   Gruene-G                      Hecht-R                    Meachum-D                        Ash-L                      Bland-R                      Cheng-D            Boyd-R                Strange-L
 STATE             5,830,003 53.0 %               247,568       2.3 %          129,588       1.2 %        5,825,773 53.0 %             4,892,131 44.5 %               277,432       2.5 %        6,049,262 55.2 %             4,902,218 44.8 %    5,842,276 53.3 %        256,665           2.3 %
   1                  62,033 74.7 %                 1,266       1.5 %              446       0.5 %           61,327 74.0 %                20,192 24.4 %                 1,345       1.6 %           62,653 75.8 %                20,017 24.2 %       61,802 74.5 %          1,168           1.4 %
   2                  62,412 79.6 %                 1,486       1.9 %              474       0.6 %           62,479 79.8 %                14,377 18.4 %                 1,479       1.9 %           63,632 81.8 %                14,184 18.2 %       62,235 80.0 %          1,439           1.8 %
   3                  62,638 76.3 %                 1,815       2.2 %              565       0.7 %           62,985 76.6 %                17,401 21.2 %                 1,837       2.2 %           64,679 78.9 %                17,292 21.1 %       63,110 76.9 %          1,675           2.0 %
   4                  52,978 69.3 %                 1,619       2.1 %              545       0.7 %           52,973 69.2 %                21,880 28.6 %                 1,659       2.2 %           54,418 71.4 %                21,798 28.6 %       53,180 69.7 %          1,494           2.0 %
   5                  64,852 79.8 %                 1,490       1.8 %              399       0.5 %           64,540 79.4 %                15,259 18.8 %                 1,473       1.8 %           65,943 81.3 %                15,138 18.7 %       64,823 79.8 %          1,364           1.7 %
   6                  54,511 68.2 %                 1,719       2.2 %              544       0.7 %           54,236 67.7 %                24,224 30.2 %                 1,620       2.0 %           55,751 69.7 %                24,192 30.3 %       54,449 68.0 %          1,657           2.1 %
   7                  56,782 70.3 %                 1,641       2.0 %              510       0.6 %           56,138 69.4 %                23,023 28.5 %                 1,734       2.1 %           57,789 71.7 %                22,838 28.3 %       56,235 69.8 %          1,640           2.0 %
   8                  56,363 77.6 %                 1,316       1.8 %              351       0.5 %           55,996 77.2 %                15,265 21.0 %                 1,286       1.8 %           57,340 79.2 %                15,075 20.8 %       56,275 77.6 %          1,156           1.6 %
   9                  66,423 76.6 %                 1,260       1.5 %              449       0.5 %           65,446 75.6 %                19,623 22.7 %                 1,496       1.7 %           67,094 77.7 %                19,272 22.3 %       66,117 76.4 %          1,301           1.5 %
   10                 56,551 67.0 %                 2,064       2.4 %              696       0.8 %           56,519 66.9 %                25,944 30.7 %                 2,069       2.4 %           58,305 69.2 %                25,911 30.8 %       56,678 67.3 %          1,950           2.3 %
   11                 60,147 75.6 %                 1,295       1.6 %              481       0.6 %           59,405 74.7 %                18,790 23.6 %                 1,378       1.7 %           60,659 76.6 %                18,498 23.4 %       59,680 75.2 %          1,220           1.5 %
   12                 56,249 70.8 %                 1,591       2.0 %              568       0.7 %           56,134 70.7 %                21,630 27.2 %                 1,646       2.1 %           57,625 72.8 %                21,513 27.2 %       56,292 71.0 %          1,569           2.0 %
   13                 51,108 71.7 %                 1,276       1.8 %              528       0.7 %           50,626 71.1 %                19,250 27.0 %                 1,309       1.8 %           51,886 73.2 %                19,022 26.8 %       50,848 71.6 %          1,151           1.6 %
   14                 39,012 56.8 %                 2,416       3.5 %              968       1.4 %           38,729 56.1 %                27,795 40.3 %                 2,511       3.6 %           40,653 59.2 %                27,973 40.8 %       38,884 56.7 %          2,528           3.7 %
   15                 60,319 63.9 %                 2,397       2.5 %              898       1.0 %           60,850 64.3 %                31,441 33.2 %                 2,332       2.5 %           62,862 66.7 %                31,361 33.3 %       60,643 64.3 %          2,232           2.4 %
   16                 61,116 77.0 %                 1,709       2.2 %              536       0.7 %           61,384 77.2 %                16,439 20.7 %                 1,716       2.2 %           62,943 79.4 %                16,342 20.6 %       61,366 77.3 %          1,604           2.0 %
   17                 48,265 62.3 %                 1,840       2.4 %              866       1.1 %           47,914 61.9 %                27,405 35.4 %                 2,135       2.8 %           49,901 64.8 %                27,116 35.2 %       48,453 62.7 %          1,921           2.5 %
   18                 63,221 81.7 %                 1,354       1.8 %              421       0.5 %           62,927 81.4 %                12,939 16.7 %                 1,454       1.9 %           64,320 83.5 %                12,667 16.5 %       63,001 81.7 %          1,350           1.8 %
   19                 80,716 70.2 %                 2,754       2.4 %            1,016       0.9 %           81,094 70.6 %                31,130 27.1 %                 2,715       2.4 %           83,851 73.3 %                30,589 26.7 %       81,304 71.0 %          2,549           2.2 %
   20                 58,514 57.5 %                 3,079       3.0 %            1,232       1.2 %           56,754 57.2 %                39,359 39.7 %                 3,104       3.1 %           61,404 60.7 %                39,800 39.3 %       58,443 57.8 %          2,975           2.9 %
   21                 64,021 77.4 %                 1,386       1.7 %              407       0.5 %           62,933 76.2 %                18,210 22.0 %                 1,477       1.8 %           64,667 78.4 %                17,813 21.6 %       63,412 76.7 %          1,339           1.6 %
   22                 23,444 39.4 %                 1,031       1.7 %              503       0.8 %           22,920 38.4 %                35,732 59.8 %                 1,092       1.8 %           23,866 40.0 %                35,725 60.0 %       23,155 38.8 %            935           1.6 %
   23                 47,364 60.2 %                 1,773       2.3 %              916       1.2 %           47,329 60.1 %                29,325 37.2 %                 2,103       2.7 %           49,003 62.5 %                29,454 37.5 %       47,375 60.4 %          2,040           2.6 %
   24                 62,079 66.1 %                 2,296       2.4 %              907       1.0 %           62,225 66.1 %                29,482 31.3 %                 2,468       2.6 %           64,399 68.6 %                29,423 31.4 %       62,143 66.3 %          2,410           2.6 %
   25                 42,862 59.0 %                 1,763       2.4 %              660       0.9 %           42,957 59.1 %                27,987 38.5 %                 1,778       2.4 %           44,424 61.3 %                28,082 38.7 %       42,945 59.2 %          1,801           2.5 %
   26                 48,155 57.9 %                 1,517       1.8 %              676       0.8 %           48,032 57.6 %                33,781 40.5 %                 1,600       1.9 %           49,315 59.5 %                33,526 40.5 %       47,791 57.6 %          1,533           1.8 %
   27                 23,613 28.3 %                 1,274       1.5 %              856       1.0 %           23,591 28.3 %                58,302 69.9 %                 1,480       1.8 %           24,382 29.4 %                58,441 70.6 %       23,431 28.2 %          1,246           1.5 %
   28                 46,660 58.0 %                 1,357       1.7 %              611       0.8 %           46,752 58.1 %                32,344 40.2 %                 1,432       1.8 %           47,662 59.6 %                32,298 40.4 %       46,582 58.2 %          1,370           1.7 %
   29                 46,135 58.5 %                 1,837       2.3 %              837       1.1 %           46,474 58.8 %                30,605 38.7 %                 1,982       2.5 %           48,022 60.9 %                30,795 39.1 %       46,418 58.9 %          1,897           2.4 %
   30                 55,105 73.9 %                 1,199       1.6 %              455       0.6 %           54,764 73.6 %                18,329 24.6 %                 1,273       1.7 %           56,368 76.1 %                17,667 23.9 %       55,175 74.4 %          1,212           1.6 %
   31                 36,288 57.7 %                 1,084       1.7 %              672       1.1 %           35,936 57.8 %                24,850 40.0 %                 1,406       2.3 %           37,700 60.9 %                24,167 39.1 %       36,424 58.8 %          1,257           2.0 %
   32                 46,519 59.6 %                 1,917       2.5 %            1,117       1.4 %           46,421 59.2 %                29,836 38.1 %                 2,100       2.7 %           48,353 62.1 %                29,550 37.9 %       46,777 60.0 %          1,987           2.6 %

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   SSVR-T = Total Spanish surname voter registration
                                                                                                                                                                                                                                                                     63321
                                                                              Case 3:21-cv-00259-DCG-JES-JVB Document 102-1 Filed 12/20/21 Page 105 of 195                                                                                                      Texas Legislative Council
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  Data: 2020 Census                                                                                                                               Election Analysis                                                                                             10/13/21 10:11 AM
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                                                                                                                                     HOUSE DISTRICTS - PLANH2316
                                                                                                                                         2020 General Election

                      SUP CT 7                                                  SUP CT 8                                                                  CCA 3                                                     CCA 4                                      CCA 9
District            Williams-D                     Busby-R                      Triana-D                    Oxford-L                   Richardson-R                Davis Frizell-D                  Yeary-R                     Clinton-D          Newell-R            Birmingham-D
 STATE             4,860,388 44.3 %             5,845,851 53.4 %             4,825,339 44.1 %               274,876       2.5 %        5,952,614 54.5 %             4,962,780 45.5 %             5,972,977 54.8 %             4,922,833 45.2 %    6,014,555 55.3 %      4,861,782 44.7 %
   1                  20,001 24.1 %                61,697 74.8 %                19,428 23.5 %                 1,385       1.7 %           62,099 75.3 %                20,325 24.7 %                62,281 75.6 %                20,120 24.4 %       62,509 75.7 %         20,102 24.3 %
   2                  14,129 18.2 %                62,513 80.4 %                13,649 17.6 %                 1,600       2.1 %           62,775 81.2 %                14,533 18.8 %                62,933 81.4 %                14,346 18.6 %       62,856 81.7 %         14,054 18.3 %
   3                  17,257 21.0 %                63,359 77.2 %                16,941 20.6 %                 1,798       2.2 %           64,081 78.5 %                17,596 21.5 %                64,148 78.7 %                17,409 21.3 %       64,265 78.8 %         17,270 21.2 %
   4                  21,649 28.4 %                53,413 70.0 %                21,248 27.9 %                 1,613       2.1 %           53,984 70.8 %                22,259 29.2 %                54,242 71.2 %                21,966 28.8 %       54,246 71.3 %         21,832 28.7 %
   5                  15,082 18.6 %                64,891 80.0 %                14,732 18.2 %                 1,492       1.8 %           65,540 81.0 %                15,420 19.0 %                65,612 81.2 %                15,236 18.8 %       65,809 81.4 %         15,068 18.6 %
   6                  23,913 29.9 %                54,597 68.3 %                23,650 29.6 %                 1,670       2.1 %           55,223 69.1 %                24,682 30.9 %                55,374 69.5 %                24,298 30.5 %       55,561 69.7 %         24,192 30.3 %
   7                  22,638 28.1 %                56,506 70.2 %                22,300 27.7 %                 1,678       2.1 %           57,190 71.1 %                23,196 28.9 %                57,345 71.4 %                22,917 28.6 %       57,492 71.7 %         22,719 28.3 %
   8                  15,044 20.8 %                56,410 77.8 %                14,756 20.4 %                 1,337       1.8 %           56,912 78.6 %                15,481 21.4 %                57,053 79.0 %                15,197 21.0 %       57,111 79.1 %         15,111 20.9 %
   9                  19,121 22.1 %                66,105 76.5 %                18,832 21.8 %                 1,445       1.7 %           66,542 77.2 %                19,705 22.8 %                66,610 77.5 %                19,393 22.5 %       66,725 77.6 %         19,273 22.4 %
   10                 25,616 30.4 %                56,811 67.5 %                25,191 30.0 %                 2,106       2.5 %           57,436 68.4 %                26,571 31.6 %                57,852 69.0 %                25,988 31.0 %       58,005 69.2 %         25,834 30.8 %
   11                 18,448 23.2 %                59,838 75.4 %                18,162 22.9 %                 1,354       1.7 %           60,291 76.1 %                18,949 23.9 %                60,348 76.3 %                18,730 23.7 %       60,402 76.6 %         18,463 23.4 %
   12                 21,441 27.0 %                56,522 71.3 %                21,094 26.6 %                 1,625       2.1 %           57,114 72.2 %                21,945 27.8 %                57,108 72.6 %                21,564 27.4 %       57,239 72.8 %         21,423 27.2 %
   13                 19,052 26.8 %                51,117 72.0 %                18,598 26.2 %                 1,303       1.8 %           50,687 72.4 %                19,310 27.6 %                51,449 72.8 %                19,197 27.2 %       51,557 73.0 %         19,023 27.0 %
   14                 27,205 39.6 %                38,795 56.7 %                27,010 39.5 %                 2,575       3.8 %           39,859 58.4 %                28,406 41.6 %                40,388 59.4 %                27,660 40.6 %       40,320 59.4 %         27,576 40.6 %
   15                 31,445 33.3 %                61,270 65.0 %                30,711 32.6 %                 2,337       2.5 %           62,044 66.2 %                31,685 33.8 %                62,028 66.3 %                31,496 33.7 %       62,354 66.7 %         31,133 33.3 %
   16                 16,385 20.6 %                61,720 77.8 %                15,968 20.1 %                 1,680       2.1 %           62,308 78.9 %                16,668 21.1 %                62,404 79.1 %                16,445 20.9 %       62,529 79.3 %         16,344 20.7 %
   17                 26,963 34.9 %                48,338 62.6 %                26,829 34.8 %                 2,000       2.6 %           49,260 63.9 %                27,828 36.1 %                49,593 64.4 %                27,441 35.6 %       49,717 64.7 %         27,133 35.3 %
   18                 12,719 16.5 %                63,233 82.0 %                12,305 16.0 %                 1,551       2.0 %           63,831 83.0 %                13,070 17.0 %                63,938 83.3 %                12,807 16.7 %       64,055 83.4 %         12,731 16.6 %
   19                 30,649 26.8 %                81,376 71.2 %                30,083 26.3 %                 2,807       2.5 %           82,534 72.5 %                31,274 27.5 %                83,005 72.9 %                30,826 27.1 %       83,217 73.3 %         30,349 26.7 %
   20                 39,628 39.2 %                58,726 58.2 %                39,047 38.7 %                 3,162       3.1 %           60,139 59.7 %                40,637 40.3 %                60,275 60.1 %                40,051 39.9 %       60,866 60.7 %         39,411 39.3 %
   21                 17,884 21.6 %                63,595 76.8 %                17,413 21.0 %                 1,752       2.1 %           64,053 77.9 %                18,159 22.1 %                64,080 78.1 %                17,991 21.9 %       64,412 78.3 %         17,874 21.7 %
   22                 35,641 59.7 %                23,137 38.8 %                35,334 59.2 %                 1,234       2.1 %           23,474 39.5 %                35,946 60.5 %                23,436 39.5 %                35,898 60.5 %       23,599 39.8 %         35,672 60.2 %
   23                 29,053 37.0 %                47,591 60.8 %                28,689 36.6 %                 2,045       2.6 %           48,322 61.8 %                29,882 38.2 %                48,517 62.2 %                29,502 37.8 %       48,711 62.6 %         29,112 37.4 %
   24                 29,207 31.2 %                62,401 66.6 %                28,680 30.6 %                 2,547       2.7 %           63,594 68.1 %                29,832 31.9 %                63,673 68.3 %                29,527 31.7 %       63,904 68.7 %         29,151 31.3 %
   25                 27,804 38.3 %                43,048 59.5 %                27,475 38.0 %                 1,831       2.5 %           43,855 60.7 %                28,445 39.3 %                43,966 61.0 %                28,141 39.0 %       44,270 61.5 %         27,742 38.5 %
   26                 33,630 40.5 %                48,239 58.2 %                33,017 39.8 %                 1,661       2.0 %           48,906 59.1 %                33,776 40.9 %                48,941 59.2 %                33,687 40.8 %       49,338 59.9 %         33,059 40.1 %
   27                 58,433 70.3 %                23,610 28.5 %                57,770 69.6 %                 1,579       1.9 %           23,980 29.0 %                58,824 71.0 %                23,988 29.0 %                58,851 71.0 %       24,333 29.5 %         58,116 70.5 %
   28                 32,131 40.1 %                46,920 58.6 %                31,586 39.5 %                 1,527       1.9 %           47,374 59.4 %                32,442 40.6 %                47,342 59.4 %                32,307 40.6 %       47,581 60.0 %         31,767 40.0 %
   29                 30,439 38.7 %                46,657 59.4 %                29,943 38.1 %                 1,992       2.5 %           47,385 60.4 %                31,117 39.6 %                47,517 60.7 %                30,777 39.3 %       47,794 61.1 %         30,367 38.9 %
   30                 17,747 23.9 %                55,316 74.6 %                17,538 23.7 %                 1,269       1.7 %           55,728 75.4 %                18,211 24.6 %                55,907 75.8 %                17,888 24.2 %       55,867 75.8 %         17,822 24.2 %
   31                 24,295 39.2 %                36,000 57.8 %                24,828 39.9 %                 1,410       2.3 %           36,832 59.8 %                24,793 40.2 %                36,782 59.9 %                24,598 40.1 %       37,292 61.0 %         23,879 39.0 %
   32                 29,135 37.4 %                46,686 60.1 %                28,906 37.2 %                 2,060       2.7 %           47,488 61.3 %                29,985 38.7 %                47,985 62.1 %                29,317 37.9 %       48,182 62.6 %         28,841 37.4 %

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   SSVR-T = Total Spanish surname voter registration
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                                                                            Case 3:21-cv-00259-DCG-JES-JVB Document 102-1 Filed 12/20/21 Page 106 of 195                                                                                                              Texas Legislative Council
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 Data: 2020 Census                                                                                                                              Election Analysis                                                                                                     10/13/21 10:11 AM
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                                                                                                                                   HOUSE DISTRICTS - PLANH2316
                                                                                                                                       2020 General Election

                                                                              PRESIDENT                                                                                                                            U.S. SEN                                                      RR COMM 1
District              Biden-D                     Trump-R                     Jorgensen-L                  Hawkins-G                    Write-In-W                    Cornyn-R                      Hegar-D                   McKennon-L                Collins-G               Castaneda-D
    33                35,618      39.3 %           53,384      58.9 %             1,051      1.2 %               231      0.3 %               302      0.3 %            54,995     61.4 %            32,444     36.3 %             1,503        1.7 %      557      0.6 %           31,667        35.7 %
    34                32,171      54.4 %           26,232      44.3 %               514      0.9 %               170      0.3 %                88      0.1 %            25,746     44.5 %            30,422     52.6 %             1,158        2.0 %      522      0.9 %           30,820        54.0 %
    35                22,629      57.3 %           16,478      41.7 %               238      0.6 %               119      0.3 %                27      0.1 %            14,028     38.8 %            20,694     57.3 %               833        2.3 %      583      1.6 %           21,549        61.1 %
    36                26,905      57.6 %           19,328      41.4 %               267      0.6 %               216      0.5 %                 6      0.0 %            17,693     40.1 %            24,437     55.4 %             1,217        2.8 %      798      1.8 %           26,167        60.4 %
    37                27,740      50.6 %           26,576      48.4 %               323      0.6 %               134      0.2 %                86      0.2 %            25,703     48.1 %            26,491     49.6 %               761        1.4 %      468      0.9 %           27,280        52.0 %
    38                29,558      61.9 %           17,614      36.9 %               330      0.7 %               174      0.4 %                57      0.1 %            16,294     35.1 %            28,489     61.4 %               843        1.8 %      803      1.7 %           29,735        64.9 %
    39                27,861      59.2 %           18,679      39.7 %               254      0.5 %               228      0.5 %                11      0.0 %            17,321     38.8 %            25,390     56.8 %             1,146        2.6 %      821      1.8 %           26,726        61.1 %
    40                27,292      60.1 %           17,709      39.0 %               270      0.6 %               167      0.4 %                 6      0.0 %            16,457     38.2 %            25,083     58.1 %             1,010        2.3 %      585      1.4 %           25,943        61.4 %
    41                33,385      56.1 %           25,616      43.0 %               332      0.6 %               177      0.3 %                 6      0.0 %            25,453     43.9 %            30,854     53.2 %             1,146        2.0 %      542      0.9 %           31,934        55.9 %
    42                32,242      60.8 %           20,242      38.1 %               346      0.7 %               153      0.3 %                82      0.2 %            18,730     36.2 %            31,419     60.7 %               876        1.7 %      726      1.4 %           32,380        63.3 %
    43                27,031      37.9 %           43,401      60.9 %               637      0.9 %               204      0.3 %                50      0.1 %            41,886     60.4 %            25,865     37.3 %             1,167        1.7 %      457      0.7 %           26,244        38.3 %
    44                30,753      36.0 %           53,180      62.3 %             1,080      1.3 %               226      0.3 %               166      0.2 %            53,925     63.8 %            28,479     33.7 %             1,634        1.9 %      470      0.6 %           28,128        33.7 %
    45                48,915      58.4 %           32,987      39.4 %             1,398      1.7 %               368      0.4 %                33      0.0 %            34,338     41.4 %            45,705     55.1 %             2,168        2.6 %      720      0.9 %           43,817        53.8 %
    46                65,231      74.8 %           20,081      23.0 %             1,320      1.5 %               340      0.4 %               269      0.3 %            21,067     24.6 %            61,880     72.3 %             1,910        2.2 %      686      0.8 %           59,741        71.0 %
    47                68,416      61.5 %           40,525      36.4 %             1,628      1.5 %               273      0.2 %               394      0.4 %            44,706     40.7 %            62,863     57.2 %             1,813        1.6 %      500      0.5 %           59,819        55.8 %
    48                80,654      70.5 %           31,259      27.3 %             1,760      1.5 %               324      0.3 %               412      0.4 %            35,392     31.3 %            74,913     66.3 %             2,073        1.8 %      677      0.6 %           71,495        64.9 %
    49                89,120      81.8 %           17,478      16.0 %             1,555      1.4 %               424      0.4 %               431      0.4 %            20,512     19.1 %            84,307     78.4 %             2,025        1.9 %      717      0.7 %           80,213        76.5 %
    50                54,299      75.3 %           16,170      22.4 %             1,029      1.4 %               324      0.4 %               265      0.4 %            16,686     23.7 %            51,490     73.1 %             1,609        2.3 %      630      0.9 %           49,325        71.4 %
    51                60,236      82.1 %           11,480      15.6 %             1,066      1.5 %               325      0.4 %               262      0.4 %            12,318     17.2 %            56,747     79.1 %             1,833        2.6 %      807      1.1 %           54,833        78.0 %
    52                44,974      46.7 %           49,046      51.0 %             1,686      1.8 %               248      0.3 %               257      0.3 %            49,720     52.8 %            41,964     44.6 %             2,038        2.2 %      459      0.5 %           39,502        42.7 %
    53                22,852      22.9 %           75,912      76.0 %               880      0.9 %               200      0.2 %                41      0.0 %            75,362     76.6 %            21,125     21.5 %             1,485        1.5 %      458      0.5 %           21,016        21.6 %
    54                26,960      45.5 %           31,067      52.4 %               899      1.5 %               208      0.4 %               156      0.3 %            31,418     53.4 %            25,767     43.8 %             1,338        2.3 %      356      0.6 %           24,660        42.2 %
    55                30,054      43.9 %           36,826      53.8 %             1,081      1.6 %               232      0.3 %               207      0.3 %            37,516     55.2 %            28,646     42.2 %             1,387        2.0 %      371      0.5 %           27,040        40.2 %
    56                27,568      33.9 %           52,408      64.4 %             1,096      1.3 %               189      0.2 %                92      0.1 %            52,989     66.1 %            25,021     31.2 %             1,641        2.0 %      479      0.6 %           23,381        29.8 %
    57                36,387      42.6 %           47,660      55.8 %             1,143      1.3 %               186      0.2 %                61      0.1 %            48,710     57.6 %            33,420     39.5 %             1,888        2.2 %      501      0.6 %           31,881        38.4 %
    58                17,232      22.4 %           58,733      76.3 %               827      1.1 %               152      0.2 %                32      0.0 %            58,506     76.6 %            16,186     21.2 %             1,295        1.7 %      396      0.5 %           15,454        20.4 %
    59                16,799      21.7 %           59,325      76.6 %               996      1.3 %               223      0.3 %               154      0.2 %            58,862     76.9 %            15,675     20.5 %             1,510        2.0 %      480      0.6 %           14,818        19.6 %
    60                15,592      16.9 %           75,609      81.8 %               997      1.1 %               187      0.2 %                41      0.0 %            75,016     81.9 %            14,321     15.6 %             1,831        2.0 %      412      0.4 %           13,266        14.6 %
    61                43,274      45.2 %           50,795      53.0 %             1,202      1.3 %               213      0.2 %               305      0.3 %            52,858     56.4 %            38,729     41.3 %             1,689        1.8 %      474      0.5 %           37,197        40.4 %
    62                18,368      22.3 %           62,657      76.2 %               849      1.0 %               170      0.2 %               140      0.2 %            61,796     76.1 %            17,620     21.7 %             1,375        1.7 %      407      0.5 %           16,389        20.4 %
    63                42,303      46.4 %           47,444      52.0 %             1,164      1.3 %               240      0.3 %                77      0.1 %            49,708     55.1 %            38,075     42.2 %             1,844        2.0 %      547      0.6 %           36,123        41.0 %
    64                33,266      38.2 %           52,309      60.0 %             1,208      1.4 %               308      0.4 %                56      0.1 %            52,714     61.3 %            30,654     35.6 %             1,962        2.3 %      728      0.8 %           28,925        34.2 %
    65                43,265      45.1 %           51,231      53.4 %             1,161      1.2 %               216      0.2 %                55      0.1 %            53,666     56.6 %            38,803     40.9 %             1,839        1.9 %      547      0.6 %           36,917        39.8 %

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                                                                              Case 3:21-cv-00259-DCG-JES-JVB Document 102-1 Filed 12/20/21 Page 107 of 195                                                                                                         Texas Legislative Council
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  Data: 2020 Census                                                                                                                               Election Analysis                                                                                                10/13/21 10:11 AM
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                                                                                                                                     HOUSE DISTRICTS - PLANH2316
                                                                                                                                         2020 General Election

                                                 RR COMM 1                                                                            SUP CT CHIEF                                                                SUP CT 6                                      SUP CT 7
District             Wright-R                      Sterett-L                   Gruene-G                      Hecht-R                    Meachum-D                        Ash-L                      Bland-R                      Cheng-D              Boyd-R                 Strange-L
    33                 54,182     61.2 %             1,968      2.2 %               771      0.9 %            54,478     61.4 %            32,101     36.2 %             2,086      2.4 %            55,928     63.6 %            32,068     36.4 %   54,686   61.9 %           1,876          2.1 %
    34                 24,395     42.7 %             1,078      1.9 %               775      1.4 %            24,202     42.5 %            31,288     54.9 %             1,506      2.6 %            25,491     45.0 %            31,194     55.0 %   24,534   43.3 %           1,357          2.4 %
    35                 12,497     35.4 %               701      2.0 %               528      1.5 %            12,266     35.4 %            21,437     61.8 %               962      2.8 %            13,563     38.8 %            21,369     61.2 %   12,530   36.4 %             967          2.8 %
    36                 15,508     35.8 %               964      2.2 %               654      1.5 %            15,686     36.3 %            26,238     60.8 %             1,241      2.9 %            17,146     39.8 %            25,956     60.2 %   15,893   37.0 %           1,470          3.4 %
    37                 23,649     45.1 %               859      1.6 %               634      1.2 %            22,904     45.0 %            26,659     52.4 %             1,339      2.6 %            25,040     48.4 %            26,650     51.6 %   23,486   46.3 %           1,095          2.2 %
    38                 14,460     31.6 %               908      2.0 %               681      1.5 %            13,831     31.3 %            28,995     65.5 %             1,425      3.2 %            15,730     34.8 %            29,415     65.2 %   14,327   32.5 %           1,205          2.7 %
    39                 15,414     35.3 %               877      2.0 %               696      1.6 %            15,505     35.5 %            26,816     61.4 %             1,328      3.0 %            17,050     39.2 %            26,476     60.8 %   15,866   36.5 %           1,411          3.2 %
    40                 14,789     35.0 %               847      2.0 %               655      1.6 %            14,751     35.0 %            26,279     62.3 %             1,125      2.7 %            16,014     38.0 %            26,081     62.0 %   15,123   36.0 %           1,237          2.9 %
    41                 23,431     41.0 %               996      1.7 %               732      1.3 %            23,509     41.2 %            32,283     56.5 %             1,299      2.3 %            24,959     43.8 %            31,989     56.2 %   23,885   42.0 %           1,440          2.5 %
    42                 17,195     33.6 %               846      1.7 %               769      1.5 %            16,602     32.9 %            32,316     64.1 %             1,489      3.0 %            18,401     36.2 %            32,411     63.8 %   17,273   33.8 %           1,253          2.5 %
    43                 40,538     59.1 %             1,183      1.7 %               637      0.9 %            39,933     58.5 %            26,797     39.2 %             1,565      2.3 %            41,631     61.3 %            26,298     38.7 %   40,453   59.5 %           1,390          2.0 %
    44                 52,370     62.7 %             2,028      2.4 %               986      1.2 %            52,422     62.6 %            28,906     34.5 %             2,348      2.8 %            54,522     65.3 %            28,935     34.7 %   52,897   63.4 %           2,126          2.5 %
    45                 33,504     41.1 %             2,429      3.0 %             1,715      2.1 %            33,216     40.7 %            45,408     55.6 %             2,999      3.7 %            35,324     43.5 %            45,940     56.5 %   33,669   41.4 %           2,713          3.3 %
    46                 20,095     23.9 %             2,498      3.0 %             1,803      2.1 %            20,045     23.9 %            61,278     72.9 %             2,714      3.2 %            21,848     26.1 %            61,794     73.9 %   20,298   24.3 %           2,534          3.0 %
    47                 42,941     40.0 %             2,948      2.7 %             1,553      1.4 %            43,407     40.4 %            61,063     56.8 %             3,021      2.8 %            45,901     43.0 %            60,858     57.0 %   43,340   40.7 %           2,695          2.5 %
    48                 33,622     30.5 %             3,170      2.9 %             1,921      1.7 %            34,017     30.8 %            73,231     66.2 %             3,357      3.0 %            36,436     33.2 %            73,225     66.8 %   33,893   31.0 %           3,094          2.8 %
    49                 19,425     18.5 %             2,854      2.7 %             2,375      2.3 %            19,499     18.5 %            82,477     78.4 %             3,247      3.1 %            21,260     20.4 %            83,169     79.6 %   19,271   18.5 %           2,984          2.9 %
    50                 15,851     22.9 %             2,198      3.2 %             1,715      2.5 %            15,971     23.2 %            50,456     73.2 %             2,518      3.7 %            17,249     25.1 %            51,413     74.9 %   16,150   23.5 %           2,140          3.1 %
    51                 11,456     16.3 %             2,139      3.0 %             1,857      2.6 %            11,367     16.2 %            56,096     79.9 %             2,726      3.9 %            12,708     18.2 %            57,050     81.8 %   11,590   16.6 %           2,408          3.5 %
    52                 48,853     52.8 %             2,977      3.2 %             1,206      1.3 %            47,381     52.5 %            39,867     44.2 %             2,976      3.3 %            51,596     56.1 %            40,379     43.9 %   48,855   53.2 %           2,944          3.2 %
    53                 73,575     75.7 %             1,804      1.9 %               819      0.8 %            73,558     75.7 %            21,589     22.2 %             2,007      2.1 %            75,595     78.3 %            20,980     21.7 %   73,866   76.3 %           1,842          1.9 %
    54                 31,562     54.0 %             1,504      2.6 %               722      1.2 %            30,955     52.8 %            25,823     44.1 %             1,830      3.1 %            32,367     55.4 %            26,093     44.6 %   31,105   53.2 %           1,637          2.8 %
    55                 37,699     56.0 %             1,798      2.7 %               807      1.2 %            37,031     54.8 %            28,496     42.2 %             2,017      3.0 %            38,771     57.5 %            28,605     42.5 %   37,293   55.3 %           1,851          2.7 %
    56                 52,306     66.6 %             1,925      2.5 %               879      1.1 %            51,886     65.8 %            25,033     31.7 %             1,982      2.5 %            53,894     68.6 %            24,637     31.4 %   52,501   66.7 %           1,746          2.2 %
    57                 47,702     57.5 %             2,317      2.8 %             1,090      1.3 %            47,741     57.2 %            33,471     40.1 %             2,206      2.6 %            49,288     59.7 %            33,246     40.3 %   47,526   57.5 %           2,225          2.7 %
    58                 57,851     76.5 %             1,743      2.3 %               582      0.8 %            57,699     76.4 %            16,108     21.3 %             1,703      2.3 %            59,244     78.8 %            15,906     21.2 %   57,741   76.7 %           1,548          2.1 %
    59                 58,467     77.2 %             1,783      2.4 %               653      0.9 %            58,039     76.7 %            15,788     20.9 %             1,861      2.5 %            59,708     79.3 %            15,584     20.7 %   58,227   77.2 %           1,719          2.3 %
    60                 74,810     82.4 %             2,126      2.3 %               551      0.6 %            74,311     82.0 %            14,133     15.6 %             2,226      2.5 %            76,356     84.5 %            13,984     15.5 %   74,522   82.4 %           2,058          2.3 %
    61                 51,967     56.5 %             2,154      2.3 %               736      0.8 %            51,592     56.0 %            38,470     41.7 %             2,121      2.3 %            52,985     58.3 %            37,891     41.7 %   51,803   56.5 %           1,921          2.1 %
    62                 61,972     77.0 %             1,676      2.1 %               489      0.6 %            61,228     76.0 %            17,720     22.0 %             1,610      2.0 %            63,133     78.5 %            17,288     21.5 %   61,709   76.7 %           1,532          1.9 %
    63                 48,365     54.9 %             2,396      2.7 %             1,198      1.4 %            48,438     54.6 %            37,997     42.9 %             2,218      2.5 %            50,088     57.1 %            37,563     42.9 %   48,208   54.9 %           2,313          2.6 %
    64                 51,968     61.4 %             2,199      2.6 %             1,550      1.8 %            51,758     60.9 %            30,779     36.2 %             2,387      2.8 %            53,357     63.4 %            30,744     36.6 %   51,699   61.4 %           2,341          2.8 %
    65                 52,349     56.4 %             2,408      2.6 %             1,165      1.3 %            52,548     56.3 %            38,604     41.3 %             2,217      2.4 %            54,210     58.6 %            38,282     41.4 %   52,284   56.5 %           2,257          2.4 %

   For technical reasons, election results in Texas Legislative Council reports may vary slightly from the official election results. Complete official results for all elections are maintained by the Office of the Texas Secretary of State.
   SSVR-T = Total Spanish surname voter registration
                                                                                                                                                                                                                                                                        63321
                                                                              Case 3:21-cv-00259-DCG-JES-JVB Document 102-1 Filed 12/20/21 Page 108 of 195                                                                                                           Texas Legislative Council
  Red-206
  Data: 2020 Census                                                                                                                               Election Analysis                                                                                                  10/13/21 10:11 AM
                                                                                                                                                                                                                                                                     Page 11 of 20
  PLANH2316 10/13/2021 3:55:04 AM
                                                                                                                                     HOUSE DISTRICTS - PLANH2316
                                                                                                                                         2020 General Election

                      SUP CT 7                                                  SUP CT 8                                                                  CCA 3                                                     CCA 4                                           CCA 9
District            Williams-D                     Busby-R                      Triana-D                    Oxford-L                   Richardson-R                Davis Frizell-D                  Yeary-R                     Clinton-D             Newell-R              Birmingham-D
    33                 31,851     36.0 %            54,746     62.0 %            31,424     35.6 %             2,129      2.4 %            55,466     63.0 %            32,565     37.0 %            55,664     63.3 %            32,314     36.7 %   55,901     63.6 %           31,993     36.4 %
    34                 30,764     54.3 %            24,118     42.7 %            31,084     55.0 %             1,308      2.3 %            24,846     44.0 %            31,628     56.0 %            25,205     44.7 %            31,146     55.3 %   25,309     45.1 %           30,791     54.9 %
    35                 20,948     60.8 %            11,949     34.3 %            21,977     63.1 %               902      2.6 %            12,884     36.8 %            22,094     63.2 %            12,940     37.4 %            21,666     62.6 %   13,393     38.8 %           21,108     61.2 %
    36                 25,623     59.6 %            15,078     35.2 %            26,586     62.0 %             1,220      2.8 %            16,159     37.6 %            26,861     62.4 %            16,550     38.6 %            26,368     61.4 %   17,039     40.0 %           25,580     60.0 %
    37                 26,097     51.5 %            23,394     45.1 %            27,217     52.5 %             1,225      2.4 %            24,457     47.1 %            27,474     52.9 %            24,227     47.4 %            26,896     52.6 %   24,925     48.6 %           26,363     51.4 %
    38                 28,551     64.8 %            13,713     30.3 %            30,376     67.0 %             1,236      2.7 %            15,160     33.3 %            30,386     66.7 %            14,839     33.3 %            29,744     66.7 %   15,719     35.1 %           29,102     64.9 %
    39                 26,159     60.2 %            15,157     35.0 %            26,953     62.3 %             1,186      2.7 %            16,076     37.0 %            27,372     63.0 %            16,585     38.3 %            26,744     61.7 %   16,822     39.1 %           26,215     60.9 %
    40                 25,621     61.0 %            14,352     34.3 %            26,337     62.9 %             1,153      2.8 %            15,386     36.7 %            26,542     63.3 %            15,708     37.6 %            26,121     62.4 %   15,876     38.2 %           25,674     61.8 %
    41                 31,527     55.5 %            23,218     40.9 %            32,148     56.7 %             1,375      2.4 %            24,248     42.7 %            32,502     57.3 %            24,698     43.7 %            31,874     56.3 %   24,918     44.2 %           31,423     55.8 %
    42                 32,509     63.7 %            16,175     31.8 %            33,374     65.6 %             1,308      2.6 %            17,386     35.1 %            32,174     64.9 %            17,784     36.1 %            31,462     63.9 %   18,375     36.6 %           31,817     63.4 %
    43                 26,146     38.5 %            40,098     59.2 %            26,200     38.7 %             1,486      2.2 %            40,973     60.5 %            26,804     39.5 %            41,338     61.1 %            26,341     38.9 %   41,308     61.3 %           26,085     38.7 %
    44                 28,455     34.1 %            52,857     63.5 %            28,197     33.9 %             2,221      2.7 %            53,907     64.7 %            29,391     35.3 %            54,201     65.3 %            28,821     34.7 %   54,464     65.6 %           28,517     34.4 %
    45                 44,924     55.3 %            33,440     41.2 %            44,715     55.1 %             2,951      3.6 %            34,424     42.5 %            46,544     57.5 %            34,982     43.4 %            45,711     56.6 %   35,187     43.7 %           45,259     56.3 %
    46                 60,796     72.7 %            19,984     23.9 %            60,796     72.8 %             2,705      3.2 %            20,963     25.4 %            61,717     74.6 %            21,150     25.6 %            61,617     74.4 %   21,510     26.1 %           61,059     73.9 %
    47                 60,374     56.7 %            43,208     40.7 %            59,945     56.4 %             3,082      2.9 %            44,350     42.1 %            61,099     57.9 %            44,491     42.2 %            60,839     57.8 %   44,976     42.9 %           59,919     57.1 %
    48                 72,381     66.2 %            33,494     30.6 %            72,427     66.3 %             3,362      3.1 %            34,888     32.2 %            73,465     67.8 %            34,962     32.3 %            73,253     67.7 %   35,528     33.0 %           72,262     67.0 %
    49                 81,790     78.6 %            19,039     18.3 %            81,662     78.6 %             3,204      3.1 %            20,095     19.5 %            82,932     80.5 %            20,209     19.6 %            82,752     80.4 %   20,662     20.1 %           81,933     79.9 %
    50                 50,340     73.3 %            15,815     23.1 %            50,244     73.4 %             2,409      3.5 %            16,547     24.4 %            51,248     75.6 %            16,816     24.8 %            51,049     75.2 %   17,155     25.3 %           50,534     74.7 %
    51                 55,731     79.9 %            11,137     16.0 %            55,926     80.3 %             2,575      3.7 %            12,054     17.5 %            56,936     82.5 %            12,303     17.8 %            56,689     82.2 %   12,588     18.3 %           56,194     81.7 %
    52                 39,952     43.5 %            48,982     53.4 %            39,587     43.2 %             3,135      3.4 %            50,403     55.0 %            41,176     45.0 %            50,672     55.6 %            40,442     44.4 %   51,188     56.2 %           39,901     43.8 %
    53                 21,093     21.8 %            73,747     76.3 %            20,776     21.5 %             2,070      2.1 %            74,820     77.6 %            21,627     22.4 %            74,970     77.9 %            21,212     22.1 %   75,159     78.3 %           20,888     21.7 %
    54                 25,743     44.0 %            31,322     53.6 %            25,434     43.5 %             1,689      2.9 %            31,937     54.7 %            26,396     45.3 %            32,142     55.1 %            26,191     44.9 %   32,251     55.3 %           26,095     44.7 %
    55                 28,273     41.9 %            37,560     55.8 %            27,805     41.3 %             1,936      2.9 %            38,230     56.9 %            28,996     43.1 %            38,526     57.3 %            28,656     42.7 %   38,657     57.5 %           28,535     42.5 %
    56                 24,419     31.0 %            52,542     66.9 %            24,110     30.7 %             1,872      2.4 %            53,074     67.7 %            25,266     32.3 %            53,330     68.3 %            24,764     31.7 %   53,563     68.7 %           24,403     31.3 %
    57                 32,971     39.9 %            47,748     57.8 %            32,380     39.2 %             2,437      3.0 %            48,473     58.9 %            33,789     41.1 %            48,780     59.5 %            33,191     40.5 %   49,120     60.0 %           32,811     40.0 %
    58                 15,973     21.2 %            58,088     77.0 %            15,461     20.5 %             1,848      2.5 %            58,675     78.0 %            16,528     22.0 %            58,792     78.4 %            16,183     21.6 %   58,998     78.7 %           15,927     21.3 %
    59                 15,463     20.5 %            58,352     77.5 %            14,998     19.9 %             1,944      2.6 %            59,115     78.6 %            16,101     21.4 %            59,349     79.1 %            15,657     20.9 %   59,401     79.3 %           15,522     20.7 %
    60                 13,812     15.3 %            74,590     82.7 %            13,378     14.8 %             2,223      2.5 %            75,724     84.1 %            14,356     15.9 %            75,838     84.4 %            14,047     15.6 %   75,951     84.6 %           13,852     15.4 %
    61                 37,914     41.4 %            51,924     56.7 %            37,437     40.9 %             2,226      2.4 %            52,549     57.8 %            38,361     42.2 %            52,863     58.1 %            38,147     41.9 %   53,080     58.5 %           37,669     41.5 %
    62                 17,250     21.4 %            61,833     77.0 %            16,714     20.8 %             1,718      2.1 %            62,535     77.9 %            17,730     22.1 %            62,738     78.3 %            17,405     21.7 %   62,864     78.4 %           17,357     21.6 %
    63                 37,308     42.5 %            48,422     55.2 %            36,671     41.8 %             2,559      2.9 %            49,181     56.4 %            38,080     43.6 %            49,385     56.8 %            37,548     43.2 %   49,835     57.4 %           37,033     42.6 %
    64                 30,208     35.9 %            51,877     61.7 %            29,693     35.3 %             2,496      3.0 %            52,500     62.7 %            31,284     37.3 %            52,863     63.3 %            30,700     36.7 %   52,984     63.5 %           30,446     36.5 %
    65                 37,953     41.0 %            52,618     56.9 %            37,312     40.4 %             2,516      2.7 %            53,194     57.8 %            38,857     42.2 %            53,562     58.3 %            38,275     41.7 %   54,019     58.9 %           37,682     41.1 %

   For technical reasons, election results in Texas Legislative Council reports may vary slightly from the official election results. Complete official results for all elections are maintained by the Office of the Texas Secretary of State.
   SSVR-T = Total Spanish surname voter registration
                                                                                                                                                                                                                                                                          63321
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                 Exhibit 18:
      New York Times article, Sept. 27, 2021
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                               https://www.nytimes.com/2021/09/27/us/politics/texas-congress-map-republicans.html

Daily Political Briefing




Texas Republicans propose a new congressional map that aims to protect the party’s
incumbents.


By Nick Corasaniti and Reid J. Epstein
Sept. 27, 2021


Republicans in the Texas Legislature proposed a new congressional map on Monday that would preserve the party’s advantage in the
state’s delegation to Washington amid booming population growth spurred by communities of color.

The new map was designed with an eye toward incumbency and protecting Republicans’ current edge; the party now holds 23 of the
state’s 36 congressional seats. Rather than trying to make significant gains, the party appears to be bolstering incumbents who have
faced increasingly tough contests against an ascendant Democratic Party in Texas.

Indeed, in the proposed map, there is only one congressional district in the state where the margin of the 2020 presidential election would
have been less than five percentage points, an indication that the vast majority of the state’s 38 districts will not be particularly
competitive.

Texas was the only state in the country to be awarded two new congressional districts during this year’s reapportionment, which is taking
place after the 2020 census. The state’s Hispanic population grew by two million people over the past 10 years, and is now just 0.4
percentage points behind that of the Anglo population.

But the map proposed by the Republican-controlled State Senate redistricting committee, led by State Senator Joan Huffman, would
decrease the number of predominantly Hispanic districts in the state from eight to seven, and would increase the number of majority-
white districts from 22 to 23.


                                         Redistricting at a Glance
                                         Every 10 years, each state in the U.S is required to redraw the boundaries of their
                                         congressional and state legislative districts in a process known as redistricting.

                                            Redistricting, Explained: Answers to your most pressing questions about
                                            redistricting and gerrymandering.
                                            Breaking Down Texas’s Map: How redistricting efforts in Texas are working to
                                            make Republican districts even more red.

                                            G.O.P.’s Heavy Edge: Republicans are poised to capture enough seats to take the
                                            House in 2022, thanks to gerrymandering alone.
                                            Legal Options Dwindle: Persuading judges to undo skewed political maps was
                                            never easy. A shifting judicial landscape is making it harder.



Though the map proposed on Monday was just a first draft and could undergo some changes, civil rights groups expressed alarm at the
lack of new districts with a majority of voters of color.

“With Latinos accounting for nearly half of the total growth of the Texas population in the last decade, we would expect legally compliant
redistricting maps to protect existing Latino-majority districts and potentially to expand the number of such districts,” said Thomas
Saenz, the president and general counsel of the Mexican American Legal Defense and Educational Fund.


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                                         through the spin and delivering clarity from the chaos. Get it sent to your
                                         inbox.
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Texas has a long history of running afoul of the redistricting parameters set by the Voting Rights Act, having faced a legal challenge to
every map it has put forward since the law was passed in 1965. But in 2013, the Supreme Court gutted a key provision of the act that
forced some states to obtain approval from the Justice Department before making changes to voting laws or to congressional districts.

This year is the first time that Texas legislators have been free to redraw the state’s congressional map without following that
requirement.

Across the country, each party is poised to press its advantage to create as many favorable congressional and state legislative seats as
possible in states where its lawmakers control how maps are drawn.


    Understand How U.S. Redistricting Works

    What is redistricting? It’s the redrawing of the boundaries of congressional and state legislative districts. It happens every 10 years, after the
    census, to reflect changes in population.




On Friday, the National Redistricting Action Fund, a Democratic organization run by former Attorney General Eric H. Holder Jr., sued
Ohio over Republican-drawn state legislative maps that it argued had violated a 2015 state constitutional amendment.

In Nebraska this month, Democrats protested a proposed map from Republicans that split Douglas County, which includes Omaha, the
state’s largest city, into two congressional districts. The Democrats eventually forced a compromise that maintained a district in which
President Biden won a majority of votes. On Friday, Nebraska legislators agreed to pass a congressional map that preserves Douglas
County as a single district.

Fast-growing Oregon is one of the few states where Democrats have the potential to press a redistricting advantage. The state is adding a
sixth congressional district to its delegation, which now has four Democrats and one Republican. But the new map, set to pass on Monday,
will most likely create a Democratic district, adding to Democrats’ advantage in the state.
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                    Exhibit 19:
         Texas Tribune article, Oct. 25, 2021
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                                                                                   MENU




REDISTRICTING TEXAS


Gov. Greg Abbott signs off on Texas’ new
political maps, which protect GOP
majorities while diluting voices of voters of
color
  Texas lawmakers drew new maps for the state House and Senate, congressional
  delegation and State Board of Education. Here’s what Texans should know about the
  2021 redistricting outcomes.

BY ELVIA LIMÓN   OCT. 25, 2021   3 PM CENTRAL

                                                                       COPY LINK
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Texas lawmakers redrew political districts for the state House, state Senate, U.S. House and State Board of
Education during 2021’s third special session.    Michael Gonzalez/The Texas Tribune



      Gov. Greg Abbott on Monday approved Texas’ new political maps for the state’s
      congressional, legislative and State Board of Education districts, according to
      Texas Legislature Online.

      The maps were drawn to keep Texas Republicans in power for the next decade.
      They simultaneously diminish the power of voters of color — despite new census
      numbers pointing to Texans of color as the main force behind the state’s
      population growth.

      The new districts will be used for the first time in next year's primary and general
      elections, barring any court interventions.




             Texas has new political maps. See which districts your home
             is in.
             In 2021, Texas Republicans redrew political maps for the state’s congressional,
             House, Senate and Board of Education districts. Enter your address to see your
             districts. (Don’t worry, we won’t store your information.)

             ENTER YOUR ADDRESS

               1010 Colorado St, Austin, TX, 78701

                                            SEE DISTRICT CHANGES




      The redistricting process, which happens every 10 years after new census data is
      released, is complicated and contentious. Legal battles have already begun, with
      one early lawsuit raising various claims that the new districts unfairly and
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illegally discriminate against voters of color. More legal challenges are expected
to pop up in the near future.




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Here’s what Texans should know about the 2021 redistricting outcomes.




The Texas GOP fortified its power with
all four maps
Texas lawmakers drew political maps that would protect the GOP’s majorities in
the Texas Legislature, on the State Board of Education and within the state’s
congressional delegation to Washington, D.C. Throughout the process, Texas
Republicans — nearly all of whom are white — struggled against demographic
tides to protect their grip on power.

In a bid to hold the political turf, Republicans zeroed in on some communities
with high shares of potential voters of color — who are more likely to support
Democrats — and grafted them onto massive districts dominated by white voters.
To protect GOP incumbents, Republicans also made political districts less
competitive, which could undermine many potential challengers’ campaigns.
Some experts believe this tactic might hurt civic engagement.
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Republicans drew new maps that dilute
the power of voters of color
Census data shows that Texans of color accounted for 95% of the state’s
population growth, but the state’s new political maps don’t reflect this growth.
With partisan fervor, Republicans drew new maps for Congress and the Texas
Legislature that dilute the power of voters of color. That came despite
Democratic efforts — and pleas from members of the public — to create
additional opportunities for voters of color to meaningfully influence elections.

Since Congress passed the Voting Rights Act in 1965, Texas has been barred by
law from discriminating against voters of color. Yet in every decade since then,
federal judges have ruled at least once that the state violated federal protections
for voters in redistricting.
       Case 3:21-cv-00259-DCG-JES-JVB Document 102-1 Filed 12/20/21 Page 117 of 195
Texas’ new political districts are not reflective of the state
People of color made up 95% of Texas’ population growth, and the Hispanic and white populations are nearly
equal in size. But white voters will have disproportionate control of elections under the state’s new political
maps.

The breakdown of Texas’ population in 2020
   White        Hispanic        Black        Asian       Other

40%                                               39                                               12             5    1

Note: Percentages may not add up to 100. About 3% of people in Texas identify as having two or more races.

Majority demographic group among eligible voters in new districts
   White        Hispanic        Black        Asian       No majority

Congressional
38 districts
23 districts                                                                7                      80

State House
150 districts
89 districts                                                              30                       6    250

State Senate
31 districts
20 districts                                                                     7                            1   30

Source: U.S. Census Bureau, Texas Legislative Council
Credit: Mandi Cai



      State Sen. Joan Huffman, the Houston Republican who led the redistricting
      process in the Senate, said in a public meeting that lawmakers had drawn the
      maps "race blind" and they had "not looked at any racial data" throughout the
      process. But to the legion of civil rights activists, lawyers, local leaders and
      organizers who have labored for decades against Texas political structures that
      exclude their communities, Huffman's words translate as being politically
      invisible.

      “Color blind has two meanings — one that decisions are made without racial bias.
      These maps have obviously been made with racial bias,” Elisa Gonzalez, a retired
      educator from Corpus Christi, told lawmakers at one public hearing. “However,
Case 3:21-cv-00259-DCG-JES-JVB Document 102-1 Filed 12/20/21 Page 118 of 195
this committee is also color blind in terms of being deliberately blind to citizens
of color by making maps that silence their impact.”




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New congressional map increases
districts Donald Trump would have
won
With the state’s new congressional districts, Republicans designed a map that
will tighten their hold on diversifying parts of the state, where the party’s grip on
power was waning. It will also lock in the GOP’s majority in the 38-seat
delegation for the U.S. House.

The state’s delegation had consisted of 23 Republicans and 13 Democrats. Trump
won 22 current U.S. House districts, but would have won 25 under the new maps.
Biden won 14 current U.S. House districts, but would have won 13 under the new
maps. That means while Trump won 52.1% of the statewide vote, he would have
won in more than 65% of the new congressional districts.

By fortifying GOP districts, the congressional map often manipulates district
lines around communities of color. In some instances, Republicans drew diverse
suburban areas into sprawling rural districts dominated by white voters. They
     Case 3:21-cv-00259-DCG-JES-JVB Document 102-1 Filed 12/20/21 Page 119 of 195
     reconfigured a district in the typically blue Rio Grande Valley to boost Republican
     performance even though the area’s Hispanic voters usually don’t prefer GOP
     candidates.

     The new map also incorporates two additional U.S. House seats the state gained,
     the most of any state in this year’s reapportionment. Though Texas received
     those districts because of explosive population growth — 95% of it attributable to
     people of color — Republicans opted to give white voters effective control of
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     both, which were drawn     in the Houston  and Austin areas.




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     Republicans reduced the number of districts in which Hispanics make up the
     majority of eligible voters from eight to seven. The number of districts with Black
     residents as the majority of eligible voters drops from one to zero. Meanwhile,
     the state would have 23 districts with a white majority among eligible voters —
     up from 22 in the current configuration.

     The new 37th Congressional District in the Austin area captures Democratic-
     leaning voters that were endangering the prospects of Republican incumbents in
     nearby districts. The new 38th Congressional District offers Republicans safe
     territory in the Houston area.
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Senate map protects Republican
incumbents
Texas’ new Senate map draws safe seats for Republican incumbents who were
facing competitive races as their districts diversified over the last 10 years. As of
October 2021, the chamber’s 31 seats were divided among 18 Republicans and 13
Democrats.

In the 2020 elections, Trump won 16 districts and Biden won 15 districts. Under
the new maps, Trump would have won 19 and Biden would have won 12. That
means while Trump won 52.1% of the statewide vote, he would have won more
than 61% of the new Senate districts.

The new map still has seven districts where Hispanics make up the majority of
eligible voters and one where Black residents are the majority of eligible voters.
The number of districts where white residents make up the majority of eligible
voters drops from 21 to 20. And districts where no racial group makes up more
than half of eligible voters increases from two to three.




New House districts decrease Hispanic
and Black voters’ influence
The state’s new House map pulls back on Hispanic and Black voters’ potential
influence in electing their representatives.

The map brings the number of districts in which Hispanics make up the majority
of eligible voters down from 33 to 30. The number of districts with Black
residents as the majority of eligible voters would drop from seven to six.
Meanwhile, the number of districts with a white majority among eligible voters
would increase from 83 to 89.

The redraw will ultimately aid Republicans’ ability to control the chamber for
years to come.
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As of October 2021, the partisan breakdown of the House was 83 Republicans and
66 Democrats. During the 2020 election, 76 districts voted for Trump while 74
voted for Biden.




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The new House map creates 85 districts that would have favored Trump in 2020
and 65 that would have voted for Biden. So while Trump won 52.1% of the
statewide vote, he would have won in 56.7% of new state House districts.




State Board of Education map keeps
Republicans in control
The State Board of Education is the 15-member body that dictates what millions
of Texas public school students are taught in classrooms. It is currently made up
of nine Republicans and six Democrats. The new map continues to give
Republicans control. Seven of the districts went to Biden during the 2020 general
election, but under the new maps, Biden would have won only six of the districts.

Under the new maps, there are 10 districts whose majority of eligible voters is
white, three where the majority is Hispanic and two that have no majority. This
did not change from the previous maps.
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More than 5.3 million students were enrolled in Texas public schools for the
2020-21 school year, according to the Texas Education Agency. More than 52%
are Hispanic, about 12.7% are Black, 4.7% are Asian American, and about 26.5%
white.




Legal challenges are expected —
something to which Texas is
accustomed
Before the special legislative session for redistricting was wrapped up, lawsuits
had already been filed, and more are expected. It’s not unusual for some
redistricting plans to end up in state or federal court. For the past decade, the
state dealt with the legal implications of the 2011 redistricting maps that ended
up being rejected by the federal government. If those past lawsuits indicate
anything it’s that these types of court challenges could take years, if not the
better part of a decade.




This is the first time in decades Texas
doesn’t need federal approval to
implement new maps
In every decade since the federal Voting Rights Act was passed, federal courts
have found that Texas lawmakers disenfranchised voters in one way or another
when drawing maps. Because of this long history of voter suppression, Texas was
required for decades to run any changes to its elections, including changes to
district boundaries, by the U.S. Department of Justice or a federal court.

But in 2013, the U.S. Supreme Court gutted the Voting Rights Act and ruled that
the formula that kept states like Texas under federal oversight was outdated,
freeing the state from the process known as preclearance. That means 2021 was
the first time in nearly 50 years that Texas could implement new legislative and
congressional districts without having to prove ahead of time that the maps don’t
Case 3:21-cv-00259-DCG-JES-JVB Document 102-1 Filed 12/20/21 Page 123 of 195
undermine the electoral power of voters of color. Voters of color and civil rights
groups that have fought the state’s political maps in the past now have fewer
tools with which to challenge the discrimination that may tarnish the maps.


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                    Exhibit 20:
          Texas Tribune article, Oct. 7, 2021
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REDISTRICTING TEXAS

Weighing reelection bid, GOP Texas Sen. Kel
Seliger confronts redrawn district, Trump
endorsement of primary challenger
   After high-profile clashes with Lt. Gov. Dan Patrick, a fellow Republican, Seliger
   suspects members of his own party are trying to oust him.

BY PATRICK SVITEK       OCT. 7, 2021   5 AM CENTRAL

                                                                                           COPY LINK
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State Sen. Kel Seliger, R-Amarillo, has represented Senate District 31 in the Panhandle since 2004.   Juan
Figueroa/The Texas Tribune



      Sign up for The Brief, our daily newsletter that keeps readers up to speed on the most
      essential Texas news.

      Heading into election season, Amarillo state Sen. Kel Seliger says he feels like
      members of his own party might be using redistricting to oust him after years of
      tension with Lt. Gov. Dan Patrick, a fellow Republican.

      Seliger is deciding whether he will even run for reelection, but if he does, he is
      now staring down perhaps his toughest primary yet.

      He has received two primary challengers, including Kevin Sparks, a Midland
      oilman who previously served on the board of the Texas Public Policy
      Foundation, the Austin-based conservative think tank. Meanwhile, Seliger’s
      district was redrawn by his Republican colleagues in the Senate in a way that he
      says is designed to hobble a potential reelection bid.




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      And on Tuesday, former President Donald Trump, a close ally of Patrick,
      endorsed Sparks and bashed Seliger as a “RINO” — Republican in name only — in
      a rare intervention in a Texas legislative race by the former president.
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Reached by phone on Wednesday, Seliger offered only five words in response to
the endorsement: “It comes as no surprise.”

But the senator has otherwise been outspoken about his proposed new district,
alleging it was constructed to tilt the primary in favor of Sparks. While he is
waiting until after the redistricting process is done to decide whether to seek
reelection, Seliger said the perceived effort to draw him into a harder primary
would backfire because the new counties are still rural — and local officials in
those counties “hate TPPF because they are virulently anti-local control.”

“This map doesn’t serve the purpose that was sought because these are rural
counties, and I almost always win all the rural counties,” Seliger said.

The proposed new district removes four counties from the Panhandle and adds a
dozen to the southern end of the district, closer to Midland. The Senate approved
the map proposal Monday, with Seliger as the only Republican voting against it.

“I believe, members, that really what this is about is to take counties out of the
Panhandle and move them closer to Midland because a member of the board of
Texas Public Policy Foundation is running,” Seliger said on the floor before the
vote.

He confirmed after the vote that he was referring to Sparks, a former board
member — and that he “absolutely” felt the district was being redrawn to
advantage his opponent.

Sen. Joan Huffman, the Houston Republican who chairs the Senate Redistricting
Committee, defended the proposed new configuration of Seliger’s district, saying
the additional counties were necessary to make up for lost population in the 2020
census.




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Patrick’s chief political strategist, Allen Blakemore, scoffed at Seliger’s claims in
a statement Wednesday.

​“After spending 17 years working against the interests of conservatives, often
 being the only Republican to vote with Democrats on key issues and being ranked
 as the most liberal Member year after year, Senator Seliger now feels there is an
 elaborate scheme designed to thwart his election,” Blakemore said. “The timing
 speaks for itself.”

Patrick himself has not publicly commented on Seliger’s primary. But during a
trip to Midland last week, Patrick told the Permian Basin Petroleum Association
that the Senate needs an oil and gas expert — which Sparks happens to be.

Trump’s endorsement of Sparks arrived Tuesday evening, less than two hours
after Seliger cast the lone Republican vote against a Patrick priority bill clearing
the way for party officials to trigger election audits. Seliger reportedly said he
opposed the legislation because it is an “unfunded mandate of the counties, and
I’m opposed to big government.”




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Case 3:21-cv-00259-DCG-JES-JVB Document 102-1 Filed 12/20/21 Page 129 of 195
Trump said in a statement that Seliger ​“is not helpful to our great [Make America
Great Again] Movement and, in fact, seems like the Texas version of Mitt Romney
(and that is not good!).”

Seliger has become known for bucking Patrick on the lieutenant governor’s
signature issues. In 2017, Seliger voted against two of Patrick’s highest priorities,
a bill restricting local governments’ abilities to raise property tax revenues and
another one providing private school vouchers. The next session, Patrick stripped
Seliger of his chairmanship of the Higher Education Committee, prompting a
back-and-forth with Patrick’s office that escalated to Seliger issuing a
recommendation that a top Patrick adviser kiss his “back end.” (Seliger
ultimately apologized, but only for directing the comment at the adviser and not
at Patrick himself.)

A former Amarillo mayor, Seliger has represented Senate District 31 in the
Panhandle since 2004. He has gone through competitive primaries before,
including the last time he ran for reelection in 2018, when he faced two
challengers: Amarillo restaurateur Victor Leal and former Midland Mayor Mike
Canon. Seliger narrowly avoided a runoff against Canon, winning 50.4% of the
vote.

Patrick publicly swore off involvement in that race, but his top political
lieutenant, Blakemore, was involved in Leal’s campaign. At the time, Patrick was
running in his own primary for reelection — and Seliger had declined to join
every other GOP senator in endorsing the lieutenant governor for another term.




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Three years later, Patrick possesses no stronger ally against Seliger than Trump.
Both of Trump’s Texas campaigns were chaired by the lieutenant governor.

Trump is overwhelmingly popular in the Panhandle, where he has already
reshaped GOP representation with his 2020 backing of his former White House
doctor, Ronny Jackson, for the 13th Congressional District. Campaigning heavily
on Trump’s support, Jackson soundly defeated fellow Republican Josh
Winegarner in a primary runoff in which Winegarner had much stronger local
roots and the support of the retiring incumbent, Mac Thornberry, as well as
Seliger.

Trump won Seliger’s Senate District 31 with 78% of the vote last year. He
performed better in only one other Senate district.

Sparks celebrated the Trump endorsement in a fundraising email Wednesday
night, saying the former president “realizes that the people of Senate District 31
deserve more conservative representation.”




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Sparks is formally kicking off his campaign Monday in Midland, where he has
already assembled a formidable list of endorsements. It includes Seliger’s two
2018 primary challengers, Canon and Leal; several former Midland mayors; and
heavy-hitting conservative donors from the area like Tim Dunn, Douglas
Scharbauer and Dick Saulsbury.
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Sparks' campaign says it also has a list of Amarillo endorsements that it will
release soon.

Seliger’s other primary rival is Big Spring businessperson Stormy Bradley. She is
undeterred by recent developments, saying in a statement Wednesday that
neither the proposed new district nor the Trump endorsement “affect my
campaign strategy for Senate District 31.”

“I myself resonate with Trump’s message to ‘Make America Great Again’ as I also
am passionate towards having a thriving and secure nation,” Bradley said. “I
appreciate his concern for our citizens; however, I feel the voters in District 31
are best suited to determine their next senator.”




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Seliger had close to a half a million dollars in his campaign account at the end of
June, though he does not appear to have done much fundraising since then. He
reported one $2,500 donation on a campaign finance report that was due after
the first special session, covering July 7 through Aug. 6. Meanwhile, Sparks and
Bradley have started modestly in the money race, disclosing $58,000 and $29,000
in donations, respectively, on reports that go through Sept. 2.

As for the proposed new district, Seliger did not mince words Tuesday. He said
“the only reason verbalized to me” in a meeting with Huffman “was a desire to
provide distinct oil-and-gas districts and distinct agriculture districts.” He
disputed that, saying the proposed map “doesn’t do that at all,” and also
dismissed the idea the new 31st District would adhere to the redistricting
Case 3:21-cv-00259-DCG-JES-JVB Document 102-1 Filed 12/20/21 Page 132 of 195
principle of compactness — keeping constituents as close together as possible —
noting how far the north-south distance of the district would grow.

Huffman also noted that the partisan makeup of voters in the proposed new
district is the most favorable one for GOP candidates.

“Sen. Seliger, I still believe you have a very compact district considering the
population and the breadth of West Texas and the beauty of West Texas,”
Huffman said. “You also still have the most Republican Senate district in the
state of Texas.”




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Seliger had offered an amendment to restore the four Panhandle counties and
add different counties surrounding Midland but withdrew it, saying he wanted to
spare colleagues a “difficult vote.”

Sparks has no problem with the redrawn district.

​”Everyone understands that rural Texas has lost population, so it’s only natural
 that rural districts are larger under the proposed redistricting plan,” he said in a
 statement. “Instead of lodging petty attacks, our rural communities must stand
 together to amplify our voice in Austin.”

Disclosure: Permian Basin Petroleum Association, Stand Together and Texas Public
Policy Foundation have been financial supporters of The Texas Tribune, a nonprofit,
nonpartisan news organization that is funded in part by donations from members,
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                    Exhibit 21:
         Texas Tribune article, Jan. 22, 2019
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TEXAS LEGISLATURE 2019

Lt. Gov. Dan Patrick pulls Sen. Kel Seliger’s
chairmanship after Seliger suggested
Patrick aide kiss his “back end”
   Patrick cited a "lewd comment" by Seliger in explaining the move. The two have
   been tussling over committee assignments in recent days.

BY EMMA PLATOFF         JAN. 22, 2019   2 PM CENTRAL

                                                                                           COPY LINK
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Sen. Kel Seliger has been removed from his post as chairman of the Senate Agriculture Committee.      Laura
Skelding for The Texas Tribune




     Texas Legislature 2019
     The 86th Legislature runs from Jan. 8 to May 27. From the state budget to health care to education
     policy — and the politics behind it all — we focus on what Texans need to know about the biennial
     legislative session. MORE IN THIS SERIES




     State Sen. Kel Seliger has been stripped of his post as chairman of the Senate
     Agriculture Committee, in an escalation of a feud with Lt. Gov. Dan Patrick, who
     presides over the upper chamber.

     Announced Tuesday afternoon, the demotion caps a weekend spat between
     Seliger, an Amarillo Republican first elected to the Senate in 2004, and Patrick.
     The two have found themselves at odds with one another after Seliger voted
     against two of the lieutenant governor’s priorities in 2017.

     Patrick said the demotion came after Seliger failed to apologize for a “lewd
     comment ... that has shocked everyone” — a remark made on a West Texas radio
     program suggesting that a senior Patrick aide kiss his "back end."

     The tiff started Friday, when Patrick released committee assignments for the
     legislative session, stripping Seliger of his longtime post as chairman of the
     Senate Higher Education Committee and taking him off the committee entirely.
     Instead, Seliger was appointed chair of a newly created agriculture committee,
     which split off from a larger committee. Patrick said only that committee
     assignments were “based on a number of factors.” Seliger called the snub “a very
     clear warning” that Republicans better toe the line, teeing up the battle.




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In response, Sherry Sylvester, senior advisor to Patrick, said, “If Sen. Seliger
believes serving as chair of the Agriculture Committee — a critical committee for
West Texas and all of rural Texas — is beneath him, he should let us know and the
lieutenant governor will appoint someone else.”

In an interview over the weekend on the radio show the "Other Side of Texas,"
Seliger shot back one more time.

“It was extremely snide and really unbecoming for a member of the staff, the
lieutenant governor’s or my staff,” Seliger told host Jay Leeson. “I didn’t say
anything of the sort, and that assertion is disingenuous and I have a
recommendation for Miss Sylvester and her lips and my back end.”

Patrick announced Tuesday that he removed Seliger from his leadership position
after the veteran lawmaker declined to apologize for that remark.

“I met with Sen. Seliger earlier today and gave him an opportunity to apologize
for a lewd comment he made on radio about a female staffer that has shocked
everyone. He had 48 hours to apologize, but failed to do so,” Patrick said in a
news release. “To not be willing to apologize and suggest, somehow, that she had
it coming is unimaginable.”

“I will appoint a new Agriculture Committee chairman shortly,” Patrick added.




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In a statement later Tuesday afternoon, Seliger said he was "disappointed" to lose
the chairmanship, and he apologized for directing his message to Sylvester,
saying he “should have directed my response to the Lt. Governor.”

“But let’s be clear,” Seliger said in a statement on Twitter. “The conflict between
the Lt. Governor and me has nothing to do with recent statements I made on a
radio talk show. It has to do with the fact that I have consistently stood up for
rural Texas, local control, and public education rather than trumpeting the Lt.
Governor’s pet projects of bathroom regulation and private school vouchers.”*

Seliger could prove a thorn in Patrick’s side. After losing a Republican seat in the
Senate in the 2018 midterms, Republicans hold a razor-thin supermajority; all 19
Republican senators must vote together to bring measures to the floor without
Democratic support. A “no” vote from Seliger on partisan issues could jeopardize
the lieutenant governor’s agenda.

The demotion leaves Seliger as one of just three returning Republicans without a
chairmanship. The others are Sen. Bob Hall, R-Edgewood, and Sen. Charles
Schwertner, R-Georgetown, who voluntarily gave up his chairmanship after an
inconclusive University of Texas at Austin Title IX investigation into whether he
had sent lewd texts to a graduate student.

While Patrick explicitly attributed Seliger’s demotion to the “lewd comment,” the
lieutenant governor’s office wouldn’t confirm whether Patrick asked Schwertner
to give up his post over the sexual harassment allegation he faced. After first
taking a wait-and-see approach to the investigation, Patrick’s comments on
Schwertner’s request were limited to saying the move was “consistent” with his
plans for chair assignments.

Hall and Schwertner are the other two Republicans on the agriculture committee.

Alexa Ura contributed reporting.

Disclosure: Sherry Sylvester and the University of Texas at Austin have been financial
supporters of The Texas Tribune, a nonprofit, nonpartisan news organization that is
funded in part by donations from members, foundations and corporate sponsors.
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                   Exhibit 22:
       Amarillo Pioneer article, Oct. 20, 2021
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                                                   Oct 20




                      Seliger Calls It
                           Quits:
                       Republican
                       Senator Not
                       Seeking Re-
                          election
                       Election Coverage (/blog/category/Election+Coverage), Local News
                                         (/blog/category/Local+News)




                    State Sen. Kel Seliger has
                    announced his retirement
                    from the Texas Senate after
                    nearly two decades of
                    service, setting up an open
                    race for his seat in 2022.
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                    Seliger (R-Amarillo)
                    announced on Twitter on
                    Wednesday that he will not               Seliger/Photo by Campaign

                    be seeking re-election to the
                    Senate in 2022, saying that
                    after thoughtful consideration, he and his family made the              0


                    decision that this term will be his last. The announcement came
                    after weeks of Seliger’s claims that redistricting efforts had been
                    made to make his re-election more difficult, despite offering no
                    substantive proof for his claims.


                    In his last appearance on the ballot, Seliger faced his most
                    difficult re-election campaign yet, narrowly avoiding a runoff in
                    a three-way race that included former Midland mayor Mike
                    Canon and former Muleshoe mayor Victor Leal. Four years
                    earlier, Seliger also faced a narrow re-election against Canon.


                    During the final years of Seliger’s tenure, he was frequently
                    criticized for his liberal positions on several fiscal issues, voting
                    against bans on taxpayer-funded lobbying and being one of the
                    only Republicans in the Texas Legislature to actively oppose
                    property tax reform. His positions earned him the reputation as
                    the most liberal Republican in the Senate, as well as the criticism
                    of former President Donald Trump, who called Seliger the
                    “Texas version of Mitt Romney.”


                    With Seliger’s announcement, two candidates are already
                    seeking the Republican nomination for his job in District 31,
                    which stretches from Amarillo to south of the Midland and
                    Odessa region. Midland businessman Kevin Sparks, who has
                    received the endorsement of former President Trump, and
                    Coahoma ISD Trustee Stormy Bradley are running for the seat.


                    After Seliger’s announcement, Sparks issued a statement to the
                    Texas Scorecard publication, thanking Seliger for his service and
                    saying he is looking forward to the campaign ahead.


                    “I thank Sen. Seliger for his nearly 20 years of service in the
                    Texas Senate,” Sparks said. “I look forward to the opportunity to
                    meet with and earn the votes of the hardworking families of
                    Senate District 31.”


                    Candidates who are interested in running for State Senate can
                    begin filing to run for office in November. The Republican
                    primary election for this seat is scheduled for March 1, 2022.




                           Thomas Warren (/?author=593f5908e58c62e16b847a40)


                             October 20 2021 (/blog/tag/October+20+2021)
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                    Exhibit 23:
          Texas Senate Journal, Oct. 4, 2021
se 3:21-cv-00259-DCG-JES-JVB Document 102-1 Filed 12/20/21 Page 142 of


                         SENATE JOURNAL
            EIGHTY-SEVENTH LEGISLATURE — THIRD CALLED SESSION
                                         AUSTIN, TEXAS

                                         PROCEEDINGS


                                          THIRD DAY
                                           (Continued)
                                     (Monday, October 4, 2021)
                                         AFTER RECESS
            The Senate met at 1:36 p.m. and was called to order by the President.
            Senator Paxton offered the invocation as follows:
                  Our Father in heaven, thank You for the opportunity to gather here
            together to do the work of representing our fellow Texans, to protect the
            rights that are not given by government, but are given by You, Father,
            among them life, liberty, and the pursuit of happiness. And as we deliberate
            today, would You not only give us wisdom, but give us the courage that
            comes from love to do what is good in Your sight. It s’ in the name of Jesus
            that I pray. Amen.
                                 MESSAGE FROM THE HOUSE
                                      HOUSE CHAMBER
                                         Austin, Texas
                                    Monday, October 4, 2021 - 1
        The Honorable President of the Senate
        Senate Chamber
        Austin, Texas
        Mr. President:
        I am directed by the house to inform the senate that the house has taken the following
        action:
        THE HOUSE HAS PASSED THE FOLLOWING MEASURES:
        HCR 10                      Guerra
        In memory of former state representative Roberto Gutierrez of McAllen.
                                                                 Respectfully,
                                                                 /s/Robert Haney, Chief Clerk
                                                                 House of Representatives
se 3:21-cv-00259-DCG-JES-JVB Document 102-1 Filed 12/20/21 Page 143 of
        52                   87th Legislature — Third Called Session          3rd Day (Cont.)

                              SENATE BILL ON FIRST READING
             The following bill was introduced, read first time, and referred to the committee
        indicated:
        SB 10 by Hughes
        Relating to increasing the criminal penalty for committing certain offenses relating to
        elections.
        To Committee on State Affairs.
                                SENATE RULE 2.02 SUSPENDED
                                   (Restrictions on Admission)
                                      (Motion In Writing)
             Senator Hall offered the following Motion In Writing:
        Mr. President:
        I move suspension of the Senate s’ admission rules to grant floor privileges to a staff
        member from each Senator s’ office during the deliberations on C.S.S.B. 4 and S.B. 7.
                                                                      HALL
             The Motion In Writing was read and prevailed without objection.
                               SENATE RULE 7.12(a) SUSPENDED
                                      (Printing of Bills)
                                     (Motion In Writing)
             Senator Huffman offered the following Motion In Writing:
        Mr. President,
        Pursuant to Senate Rule 7.12(a), the Printing Rule, I move that the Senate order
        C.S.S.B. 4 and S.B. 7 not printed.
                                                                      HUFFMAN
             The Motion In Writing was read and prevailed without objection.
                                              AT EASE
             The President at 1:41 p.m. announced the Senate would stand At Ease subject to
        the call of the Chair.
                                   IN LEGISLATIVE SESSION
             The President at 3:51 p.m. called the Senate to order as In Legislative Session.
                                     (Senator Birdwell in Chair)
                                COMMITTEEiiSUBSTITUTE
                            SENATE BILL 4 ON SECOND READING
              The President laid before the Senate CSSBi4 by Senator Huffman at this time on
        its second reading:
             CSSB 4, Relating to the composition of districts for the election of members of
        the Texas Senate.
             The bill was read second time.
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        Monday, October 4, 2021              SENATE JOURNAL                              53

            Senator Huffman offered the following amendment to the bill:
        Floor Amendment No. 1
        PLAN NUMBER: PLANS2149
        DISTRICTS AMENDED: 9, 10, 19, 22, 24, and 25
        REGIONS AFFECTED: METROPLEX, CENTRAL TEXAS, and TEXAS-MEXICO
        BORDER
             Amend CSSB 4 (PLANS2130) by striking Districts 9, 10, 19, 22, 24, and 25 as
        established by PLANS2130 and substituting Districts 9, 10, 19, 22, 24, and 25 as
        established by PLANS2149.
            The amendment to CSSB 4 was read.
                                       (President in Chair)
            Senator Powell offered the following amendment to Floor Amendment No. 1:
        Floor Amendment No. 2
        PLAN NUMBER: PLANS2132
        DISTRICTS AMENDED: 9, 10, 12, 22, 23, and 30
        REGIONS AFFECTED: METROPLEX, NORTH TEXAS, and CENTRAL TEXAS
             Amend Floor Amendment No.i1 by Huffman (PLANS2149) to CSSB 4
        (PLANS2130) as follows:
             (1)iiStrike District 9, 10, and 22 as established by PLANS2149 and substitute
        District 9, 10, and 22 as established by PLANS2132.
             (2)iiStrike Districts 12, 23, and 30 as established by PLANS2130 and substitute
        Districts 12, 23, and 30 as established by PLANS2132.
            The amendment to Floor Amendment No.i1 to CSSB 4 was read and failed of
        adoption by the following vote:iiYeasi14, Naysi17.
            Yeas:iiAlvarado, Blanco, Eckhardt, Gutierrez, Hinojosa, Johnson, Lucio,
        Menéndez, Miles, Powell, Seliger, West, Whitmire, Zaffirini.
             Nays:iiBettencourt, Birdwell, Buckingham, Campbell, Creighton, Hall,
        Hancock, Huffman, Hughes, Kolkhorst, Nelson, Nichols, Paxton, Perry, Schwertner,
        Springer, Taylor.
            Senator Powell offered the following amendment to Floor Amendment No. 1:
        Floor Amendment No. 3
        PLAN NUMBER: PLANS2134
        DISTRICTS AMENDED: 9, 10, 12, 22, and 30
        REGIONS AFFECTED: METROPLEX, NORTH TEXAS, and CENTRAL TEXAS
             Amend Floor Amendment No.i1 by Huffman (PLANS2149) to CSSB 4
        (PLANS2130) as follows:
             (1)iiStrike Districts 9, 10, and 22 as established by PLANS2149 and substitute
        District 9, 10, and 22 as established by PLANS2134.
             (2)iiStrike Districts 12 and 30 as established by PLANS2130 and substitute
        Districts 12 and 30 as established by PLANS2134.
se 3:21-cv-00259-DCG-JES-JVB Document 102-1 Filed 12/20/21 Page 145 of
        54                   87th Legislature — Third Called Session          3rd Day (Cont.)

            The amendment to Floor Amendment No.i1 to CSSB 4 was read and failed of
        adoption by the following vote:iiYeasi13, Naysi18.
            Yeas:iiAlvarado, Blanco, Eckhardt, Gutierrez, Hinojosa, Johnson, Lucio,
        Menéndez, Miles, Powell, West, Whitmire, Zaffirini.
             Nays:iiBettencourt, Birdwell, Buckingham, Campbell, Creighton, Hall,
        Hancock, Huffman, Hughes, Kolkhorst, Nelson, Nichols, Paxton, Perry, Schwertner,
        Seliger, Springer, Taylor.
            Question recurring on the adoption of Floor Amendment No.i1 to CSSBi4, the
        amendment as amended was adopted by a viva voce vote.
           All Members are deemed to have voted "Yea" on the adoption of Floor
        Amendment No. 1 as amended except as follows:
            Nays:iiAlvarado, Blanco, Eckhardt, Gutierrez, Johnson, Lucio, Menéndez,
        Miles, Powell, West, Whitmire, Zaffirini.
             Present-not voting:iiHinojosa.
             Senator Creighton offered the following amendment to the bill:
        Floor Amendment No. 4
        PLAN NUMBER: PLANS2137
        DISTRICTS AMENDED: 4, 7, and 18
        REGION AFFECTED: SOUTHEAST TEXAS
            Amend CSSB 4 (PLANS2130) by striking Districts 4, 7, and 18 as established
        by PLANS2130 and substituting Districts 4, 7, and 18 as established by PLANS2137.
             The amendment to CSSB 4 was read.
             Senator Creighton withdrew Floor Amendment No.i4.
             Senator Zaffirini offered the following amendment to the bill:
        Floor Amendment No. 5
        PLAN NUMBER: PLANS2139
        DISTRICTS AMENDED: 14, 19, 21, and 29
        REGIONS AFFECTED: SOUTH, CENTRAL, and WEST TEXAS
             Amend CSSBi4 (PLANS2130) by striking Districts 14, 19, 21, and 29 as
        established by PLANS2130 and substituting Districts 14, 19, 21, and 29 as
        established by PLANS2139.
             The amendment to CSSBi4 was read.
             Senator Zaffirini offered the following amendment to Floor Amendment No. 5:
        Floor Amendment No. 6
        PLAN NUMBER: PLANS2164
        DISTRICTS AMENDED: 19, 24, and 25
        REGIONS AFFECTED: CENTRAL AND SOUTHWEST TEXAS
             Amend Amendment No.i5 by Zaffirini (PLANS2139) to CSSBi4 (PLANS2130)
        as follows:
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             (1)iiStrike District 19 as established by PLANS2139 and substitute District 19 as
        established by PLANS2164.
             (2)iiStrike Districts 24 and 25 as established by PLANS2130 and substitute
        Districts 24 and 25 as established by PLANS2164.
            The amendment to Floor Amendment No.i5 to CSSBi4 was read and was
        adopted by a viva voce vote.
           All Members are deemed to have voted "Yea" on the adoption of Floor
        Amendment No. 6.
            Question recurring on the adoption of Floor Amendment No.i5 to CSSBi4, the
        amendment as amended was adopted by a viva voce vote.
           All Members are deemed to have voted "Yea" on the adoption of Floor
        Amendment No. 5 as amended.
             The President announced that Floor Amendment No. 7 by Senator Huffman and
        Floor Amendment No. 8 by Senator Seliger were submitted after the filing deadline.
        He then asked if there was objection to the consideration of these amendments.
            There was no objection.
            Senator Huffman offered the following amendment to the bill:
        Floor Amendment No. 7
        PLAN NUMBER: PLANS2167
        DISTRICTS AMENDED: 20 and 27
        REGIONS AFFECTED: SOUTH TEXAS
            Amend CSSBi4 (PLANS2130) by striking Districts 20 and 27 as established by
        PLANS2130 and substituting Districts 20 and 27 as established by PLANS2167.
            The amendment to CSSBi4 was read and was adopted by a viva voce vote.
           All Members are deemed to have voted "Yea" on the adoption of Floor
        Amendment No. 7 except as follows:
            Nays:iiEckhardt, Gutierrez.
            Senator Seliger offered the following amendment to the bill:
        Floor Amendment No. 8
        PLAN NUMBER: PLANS2135
        DISTRICTS AMENDED: 28 and 31
        REGIONS AFFECTED: PANHANDLE AND NORTH WEST TEXAS
            Amend CSSBi4 (PLANS2130) by striking Districts 28 and 31 as established by
        PLANS2130 and substituting Districts 28 and 31 as established by PLANS2135.
            The amendment to CSSBi4 was read.
            Senator Seliger withdrew Floor Amendment No.i8.
            Senator Gutierrez offered the following amendment to the bill:
        Floor Amendment No. 9
        PLAN NUMBER: PLANS2129
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        DISTRICTS AMENDED: ALL – COMPLETE SUBSTITUTE
        REGIONS AFFECTED: ALL – COMPLETE SUBSTITUTE
            Amend CSSB 4 (PLANS2130) by striking each district as established by
        PLANS2130 and substituting each district as established by PLANS2129.
                                                                   GUTIERREZ
                                                                   ECKHARDT
             The amendment to CSSB 4 was read and failed of adoption by the following
        vote:iiYeasi10, Naysi19, Present-not votingi2.
            Yeas:iiAlvarado, Blanco, Eckhardt, Gutierrez, Lucio, Menéndez, Miles, Powell,
        West, Whitmire.
             Nays:iiBettencourt, Birdwell, Buckingham, Campbell, Creighton, Hall,
        Hancock, Huffman, Hughes, Kolkhorst, Nelson, Nichols, Paxton, Perry, Schwertner,
        Seliger, Springer, Taylor, Zaffirini.
             Present-not voting:iiHinojosa, Johnson.
             Senator Menéndez offered the following amendment to the bill:
        Floor Amendment No. 10
        PLAN NUMBER: PLANS2142
        DISTRICTS AMENDED: ALL – COMPLETE SUBSTITUTE
        REGIONS AFFECTED: ALL – COMPLETE SUBSTITUTE
            Amend CSSB 4 (PLANS2130) by striking each district as established by
        PLANS2130 and substituting each district as established by PLANS2142.
             The amendment to CSSB 4 was read and failed of adoption by the following
        vote:iiYeasi9, Naysi20, Present-not votingi2.
            Yeas:iiAlvarado, Blanco, Eckhardt, Gutierrez, Hinojosa, Lucio, Menéndez,
        Powell, Whitmire.
             Nays:iiBettencourt, Birdwell, Buckingham, Campbell, Creighton, Hall,
        Hancock, Huffman, Hughes, Kolkhorst, Nelson, Nichols, Paxton, Perry, Schwertner,
        Seliger, Springer, Taylor, West, Zaffirini.
             Present-not voting:iiJohnson, Miles.
            CSSB 4 as amended was passed to engrossment by the following vote:iiYeasi20,
        Naysi11.
            Yeas:iiBettencourt, Birdwell, Buckingham, Campbell, Creighton, Hall, Hancock,
        Hinojosa, Huffman, Hughes, Kolkhorst, Lucio, Nelson, Nichols, Paxton, Perry,
        Schwertner, Springer, Taylor, Zaffirini.
            Nays:iiAlvarado, Blanco, Eckhardt, Gutierrez, Johnson, Menéndez, Miles,
        Powell, Seliger, West, Whitmire.
                           SENATE BILL 7 ON SECOND READING
            The President laid before the Senate SBi7 by Senator Huffman at this time on its
        second reading:
se 3:21-cv-00259-DCG-JES-JVB Document 102-1 Filed 12/20/21 Page 148 of
        Monday, October 4, 2021               SENATE JOURNAL                               57

             SB 7, Relating to the composition of districts for the election of members of the
        State Board of Education.
            The bill was read second time.
            Senator Campbell offered the following amendment to the bill:
        Floor Amendment No. 1
        PLAN NUMBER: PLANE2105
        DISTRICTS AMENDED: 5 and 10
        REGIONS AFFECTED: CENTRAL TEXAS
            Amend SBi7 (PLANE2103) by striking Districts 5 and 10 as established by
        PLANE2103 and substituting Districts 5 and 10 as established by PLANE2105.
            The amendment to SBi7 was read and was adopted by a viva voce vote.
           All Members are deemed to have voted "Yea" on the adoption of Floor
        Amendment No. 1 except as follows:
            Present-not voting:iiJohnson.
            Senator Gutierrez offered the following amendment to the bill:
        Floor Amendment No. 2
        PLAN NUMBER: PLANE2104
        DISTRICTS AMENDED: ALL – COMPLETE SUBSTITUTE
        REGIONS AFFECTED: ALL – COMPLETE SUBSTITUTE
            Amend SBi7 (PLANE2103) by striking each district as established by
        PLANE2103 and substituting each district as established by PLANE2104.
             The amendment to SB 7 was read and failed of adoption by the following
        vote:iiYeasi13, Naysi18.
            Yeas:iiAlvarado, Blanco, Eckhardt, Gutierrez, Hinojosa, Johnson, Lucio,
        Menéndez, Miles, Powell, West, Whitmire, Zaffirini.
             Nays:iiBettencourt, Birdwell, Buckingham, Campbell, Creighton, Hall,
        Hancock, Huffman, Hughes, Kolkhorst, Nelson, Nichols, Paxton, Perry, Schwertner,
        Seliger, Springer, Taylor.
            SB 7 as amended was passed to engrossment by the following vote:iiYeasi21,
        Naysi10.
            Yeas:iiBettencourt, Birdwell, Buckingham, Campbell, Creighton, Hall, Hancock,
        Hinojosa, Huffman, Hughes, Kolkhorst, Lucio, Nelson, Nichols, Paxton, Perry,
        Schwertner, Seliger, Springer, Taylor, Zaffirini.
            Nays:iiAlvarado, Blanco, Eckhardt, Gutierrez, Johnson, Menéndez, Miles,
        Powell, West, Whitmire.
                               CO-AUTHOR OF SENATE BILL 1
             On motion of Senator Bettencourt, Senator Hughes will be shown as Co-author
        of SBi1.
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        58                  87th Legislature — Third Called Session        3rd Day (Cont.)

                               CO-AUTHOR OF SENATE BILL 3
            On motion of Senator Perry, Senator Hughes will be shown as Co-author of
        SBi3.
                              CO-AUTHOR OF SENATE BILL 11
            On motion of Senator Hall, Senator Springer will be shown as Co-author of
        SBi11.
                              CO-AUTHOR OF SENATE BILL 20
            On motion of Senator Hall, Senator Springer will be shown as Co-author of
        SBi20.
                CO-AUTHORS OF SENATE CONCURRENT RESOLUTION 1
            On motion of Senator Hall, Senators Eckhardt and Johnson will be shown as
        Co-authors of SCRi1.
                CO-AUTHORS OF SENATE CONCURRENT RESOLUTION 3
            On motion of Senator Nichols, Senators Birdwell and Blanco will be shown as
        Co-authors of SCRi3.
                              RESOLUTIONS OF RECOGNITION
             The following resolutions were adopted by the Senate:
                                       Memorial Resolution
        HCRi10i(Hinojosa),iIn memory of former state representative Roberto Gutierrez of
        McAllen.
                                   Congratulatory Resolutions
        SRi47iby West,iRecognizing Tom Hart on the occasion of his retirement.
        SRi48iby Campbell,iRecognizing the Guadalupe Valley Young Marines for their
        commitment to reducing drug usage and trafficking.
        SRi49iby Zaffirini, Creighton, Eckhardt, Huffman, Perry, and Springer,iRecognizing
        David W. Slayton for his service to the Office of Court Administration.
                                        ADJOURNMENT
             On motion of Senator Whitmire, the Senate at 7:13 p.m. adjourned until 7:14
        p.m. today.

                                        AAAPPENDIXAA



                                    COMMITTEE REPORTS
             The following committee reports were received by the Secretary of the Senate in
        the order listed:
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        October 4, 2021
        REDISTRICTING — CSSBi6
        TRANSPORTATION — SCRi3
                                  BILLS ENGROSSED
        October 4, 2021
        SBi4, SBi7
                              RESOLUTIONS ENROLLED
        October 4, 2021
        SRi47, SRi48, SRi49
Case 3:21-cv-00259-DCG-JES-JVB Document 102-1 Filed 12/20/21 Page 151 of 195




                   Exhibit 24:
       U.S. Census Bureau redistricting data
   An official Case    3:21-cv-00259-DCG-JES-JVB
               website of the United States government      Document 102-1 Filed 12/20/21 Page 152 of 195
   Here’s how you know




Decennial Census P.L. 94-171 Redistricting Data
AUGUST 12, 2021
CRVRDO




P.L. 94-171 Redistricting Data
Public Law (P.L.) 94-171, enacted by Congress in December 1975, requires the Census Bureau to provide states
opportunity to identify the small area geography for which they need data in order to conduct legislative
redistricting. The law also requires the U.S. Census Bureau to furnish tabulations of population to each state,
including for those small areas the states have identified, within one year of Census day.
Since the first Census Redistricting Data Program, conducted as part of the 1980 census, the U.S. Census Bure
has included summaries for the major race groups specified by the Statistical Programs and Standards Office
the U.S. Office of Management and Budget (OMB) in Directive 15 (as issued in 1977 and revised in 1997). Origina
the tabulation groups included White, Black, American Indian/Alaska Native, and Asian/Pacific Islander, plus
“some other race.” These race data were also cross-tabulated by Hispanic/Non-Hispanic origin. At the reques
the state legislatures and the Department of Justice, for the 1990 Census Redistricting Data Program, voting a
(18 years old and over) was added to the cross-tabulation of race and Hispanic origin. For the 2000 Census, th
categories were revised to the current categories used today.
2020
In this section:
    2020 Census Redistricting Data [#P1] (P.L 94-171) Summary Files [#P1]
    2020 Census (P.L. 94-171) Geographic Support Products [#P2]
    Group Quarters Assistance [#P3]
    Explaining the 2020 Census Redistricting Data [#P4]
    Additional 2020 Census Resources [#P5]



2020 Census Redistricting Data (P.L. 94-171) Summary Files
The 2020 Census Redistricting Data (P.L. 94-171) Summary Files in the Legacy Format were posted for FTP
download, by state, on August 12, 2021 and released on data.census.gov with the full redistricting toolkit on
September 16, 2021. Both releases contained the same data, only the format was different.
The summary file tables include:
    P1. – Race
    P2. – Hispanic or Latino, and not Hispanic or Latino by Race
    P3. – Race for the Population 18 Years and Over
    P4. – Hispanic or Latino, and not Hispanic or Latino by Race for the Population 18 Years and Over
    P5. – Group Quarters Population by Major Group Quarters Type
    H1. – Occupancy Status (Housing)

The 2020 Census Redistricting Data (P.L. 94-171) Summary File data are available for all 50 states, the District o
Columbia, and the Commonwealth of Puerto Rico through data.census.gov and FTP download (in the Legacy
Format).
The 2020Case
        Census State Redistricting Data (P.L. 94-171)
             3:21-cv-00259-DCG-JES-JVB                Summary
                                               Document  102-1FileFiled
                                                                   Technical  Documentation
                                                                        12/20/21  Page 153 ofis195
                                                                                               available in
English, and in Spanish specifically for Puerto Rico. The 2020 Census National Redistricting Data (P.L. 94-171)
Summary File Technical Documentation is available in English only. Links to the Technical Documentation are
provided below.
Legacy Format Support Materials are provided to help data users work with the legacy format summary files.
These materials include header records for each of the data segments in the summary file, Microsoft Access
shells, an instructional guide and video tutorial that provide step-by-step instructions on how to download th
legacy format data and import the data into the Microsoft Access Shells, and SAS and R statistical software
import scripts. Links to these support materials are provided below.

DATA LINKS

    Legacy Format Summary Files [https://www2.census.gov/programs-surveys/decennial/2020/data/01-Redistricting_File--PL_94-171/]

    Census Data Explorer (data.census.gov) [https://data.census.gov/cedsci/all?q=&y=2020&d=DEC%20Redistricting%20Data%20%28PL%2094-171%29]


TECHNICAL DOCUMENTATION
   2020 Census State (P.L. 94-171) Redistricting          [1.1 MB]      [https://www2.census.gov/programs-surveys/decennial/2020/technical-documentation/complete-tech
   Summary File Technical Documentation                                 docs/summary-file/2020Census_PL94_171Redistricting_StatesTechDoc_English.pdf]
   2020 Census State (P.L. 94-171) Redistricting             [1.1 MB]      [https://www2.census.gov/programs-surveys/decennial/2020/technical-documentation/complete-t
   Summary File Technical Documentation (Spanish)                          docs/summary-file/2020Census_PL94_171Redistricting_StatesTechDoc_Spanish.pdf]
   2020 Census National (P.L. 94-171) Redistricting         [1.1 MB]      [https://www2.census.gov/programs-surveys/decennial/2020/technical-documentation/complete-te
   Summary File Technical Documentation                                   docs/summary-file/2020Census_PL94_171Redistricting_NationalTechDoc.pdf]
The national documentation is only for the limited set of geographic entities which cross state boundaries.


LEGACY FORMAT SUPPORT MATERIALS

    Legacy Format Summary File          [< 1 MB]      [https://www2.census.gov/programs-surveys/decennial/rdo/about/2020-census-
    Header Records                                    program/Phase3/SupportMaterials/2020_PLSummaryFile_FieldNames.xlsx]

    VIDEO: How to use the Microsoft Access Database Shell [https://youtu.be/dz9117G8BsU]

   GUIDE: How to use the Microsoft        [< 1 MB]         [https://www2.census.gov/programs-surveys/decennial/rdo/about/2020-census-
   Access Database Shell                                   program/Phase3/SupportMaterials/HowToUse_2020Census_PL94-171_MSAccessShells.pdf]
    Microsoft Access Database [< 1 MB]          [https://www2.census.gov/programs-surveys/decennial/rdo/about/2020-census-
    Shell                                       program/Phase3/SupportMaterials/2020PL_SummaryFile_Shell.zip]
    SAS statistical software import [< 1 MB]        [https://www2.census.gov/programs-surveys/decennial/rdo/about/2020-census-
    scripts                                         program/Phase3/SupportMaterials/2020PL_SAS_import_scripts.zip]
    R statistical software import   [< 1 MB]       [https://www2.census.gov/programs-surveys/decennial/rdo/about/2020-census-
    scripts                                        program/Phase3/SupportMaterials/2020PL_R_import_scripts.zip]
    Frequently used geographic summary         [< 1 MB]      [https://www2.census.gov/programs-surveys/decennial/rdo/about/2020-census-
    level codes                                              program/Phase3/SupportMaterials/FrequentSummaryLevels.pdf]


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2020 Census (P.L. 94-171) Geographic Support Products
    TIGER\Line Shapefiles [https://www.census.gov/geographies/mapping-files/time-series/geo/tiger-line-file.html]

Use the 2020 Tab of the linked page.

    Maps (.pdf format) [https://www.census.gov/geographies/reference-maps/2020/geo/2020pl-maps.html]

    Block Assignment Files (BAFs) [https://www.census.gov/geographies/reference-files/time-series/geo/block-assignment-files.html]

Use the 2020 Tab of the linked page. BAFs are meant to be used in conjunction with the NLTs.

    Name Look-up Tables (NLTs) [https://www.census.gov/geographies/reference-files/time-series/geo/name-lookup-tables.html]

Use the 2020 Tab of the linked page. NLTs are meant to be used in conjunction with the BAFs.

    2010 to 2020 Tabulation Block Crosswalk Tables [https://www.census.gov/geographies/reference-files/time-series/geo/relationship-files.html]

Use the 2020 Tab of the linked page. Select Block Relationship Files.


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Group Quarters Assistance
The Census Bureau
        Case      published a Federal RegisterDocument
              3:21-cv-00259-DCG-JES-JVB        Notice on 102-1
                                                         the FinalFiled
                                                                   202012/20/21
                                                                        Census Residence
                                                                                Page 154Criteria
                                                                                         of 195 and
Residence Situations [https://www.federalregister.gov/documents/2018/02/08/2018-02370/final-2020-
census-residence-criteria-and-residence-situations] on February 8, 2018. In the Notice, the Census Bureau
stated we will continue the practice of counting prisoners at the correctional facility, to ensure that the conce
of usual residence is interpreted and applied consistent with the intent of the Census Act of 1790. The Notice
stated the Census Bureau recognizes that some states have decided, or may decide in the future, to ‘move’ the
group quarters (GQ) population (e.g. student, military, and prisoner population) to an alternate address for the
purpose of redistricting. To assist those states, the Census Bureau is offering the use of a geocoding service. T
service was updated with 2020 Census geographic data in January 2021, to assist states with their goals of
reallocating GQ population for legislative redistricting.

November 04, 2019 | CRVRDO

Group Quarters Assistance - The Census Geocoder

[/programs-surveys/decennial-census/about/rdo/summary-files/2020/GQAssistance_CensusGeocoder.html]

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Explaining the 2020 Census Redistricting Data
EXPAND ALL     COLLAPSE ALL


 𑪪 About the 2020 Redistricting Data Product
 𑪪 America Counts Stories
 𑪪 Blog Posts
 𑪪 Census Academy
 𑪪 Data Tools
 𑪪 Fact Sheets
 𑪪 News
 𑪪 Social Media Toolkit
 𑪪 Videos
 𑪪 Visualizations
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Additional 2020 Census Resources

Declarations filed in the case of Ohio v. Raimondo

In declarations filed in the case of Ohio v. Raimondo, the U.S. Census Bureau made clear that we could provide a legacy format
redistricting data summary file to all states by mid-to-late August 2021, now realized as August 12. We also met our commitment
provide the full redistricting data toolkit by Sept. 30, 2021, with delivery on Sept. 16, 2021.
    Declarations - Ohio v.    [<1 MB]   [https://www2.census.gov/programs-surveys/decennial/rdo/technical-
    Raimondo                            documentation/2020Census/Combined_Declarations_Document.pdf]
Back to top [#top]
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 Related Information

 Redistricting Data Program Management [/programs-surveys/decennial-census/about/rdo/program-management.html]

 Redistricting Data Program [/rdo]

 Decennial Census of Population and Housing Datasets [/programs-surveys/decennial-census/data/datasets.html]

  Last Revised: October 8, 2021
Case 3:21-cv-00259-DCG-JES-JVB Document 102-1 Filed 12/20/21 Page 156 of 195




                     Exhibit 25:
            Governor Abbott Proclamation,
                Third Called Session
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                                    GOVERNOR             GREG ABBOTT



September 7, 2021
                                                                 FILED IN THE OFFiCE
                                                                                     OF THE
                                                                    SECRETARY OF STATE
                                                                              L1o ‘CLOCK
                                                                                 72021

Mr. Joe A. Esparza
Deputy Secretary of State
State Capitol Room 1E.8
Austin, Texas 78701

Dear Mr. Deputy Secretary:

Pursuant to his powers as Governor of the State of Texas, Greg Abbott has issued the following:

   A proclamation calling an extraordinary session of the 87th Legislature, to convene in the
   City of Austin, commencing at 10 a.m. on Monday, September 20, 2021.

The original proclamation is attached to this letter of transmittal.

Respectfully submitted,




                       S
                  to the Governor




Attachment




             POST OFFICE Box 12428 AUSTIN, TEXAS 78711 512-463-2000 (VoICE) DIAL 7-1-1 FoR RELAY SERVICES
Case 3:21-cv-00259-DCG-JES-JVB Document 102-1 Filed 12/20/21 Page 158 of 195




                       PROCLAMATION
                                             BY THE


                (!nrnnr nffIifzfr ufIJxuz

   TO ALL TO WHOM THESE PRESENTS SHALL COME:




   I, GREG ABBOTT, GOVERNOR OF THE STATE OF TEXAS, by the authority vested
   in me by Article III, Sections 5 and 40, and Article IV, Section 8 of the Texas
   Constitution, do hereby call an extraordinary session of the 87th Legislature, to convene
   in the City of Austin, commencing at 10:00 a.m. on Monday, September 20, 2021, for the
   following purposes:

      To consider and act upon the following:

          Legislation relating to the apportionment of the State of Texas into districts
          used to elect members of the Texas House of Representatives, the Texas
          Senate, the State Board of Education, and the United States House of
          Representatives.

          Legislation providing appropriations from the American Rescue Plan Act of
          2021 (ARPA), Pub. L. No. 1 17-2.

          Legislation identical to Senate Bill 29 as passed by the Texas Senate in the
          87th Legislature, Regular Session, disallowing a student from competing in
          University Interscholastic League athletic competitions designated for the sex
          opposite to the student’s sex at birth.

          Legislation regarding whether any state or local governmental entities in
          Texas can mandate that an individual receive a COVID-19 vaccine and, if so,
          what exemptions should apply to such mandate.

          Legislation similar to Senate Bill 474 as passed by 87th Legislature, Regular
          Session, but that addresses the concerns expressed in the governor’s veto
          statement.

          Such other subjects as may be submitted by the Governor from time to
          time after the session convenes.

  The Secretary of State will take notice of this action and will notify the members of the
  legislature of my action.


                                                IN TESTIMONY WHEREOF, I
                                                have hereto signed my name and
                                                have officially caused the Seal of
                                                State to be affixed at my Office
                                                in the City of Austin, Texas, this
                                                the 7th day of September, 2021.



                                            /Ar GREG      BOTT                FILED fN THE CWFCE OF THE
                                                Governor of Texas                SECRETARY OF STATE
                                                                                    5 etvl O’CLOCK
                                                                                   SEP 0 7 2021
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Governor Greg Abbott                                         Proclamation
September 7, 202 1                                                   Page 2




   Attested by:




  SELE
  Deputy Secretary of State




                                                             FILED IN THE OFFCE OF THE
                                                                SECRETARY OF STATE
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                                                                 SEP 0 7 2021
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                   Exhibit 26:
      2020 General Election District Election
            Analysis, benchmark SD10
                                      DISTRICT ELECTION
                Case 3:21-cv-00259-DCG-JES-JVB           ANALYSIS
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DEA                                                REDISTRICTING REPORT SYSTEM                                             09/21/21
DATA: PAR                                           DISTRICT ELECTION ANALYSIS                                             15:09:02
PLANID: PLANS2100                                                                                                          PAGE 038
                                                            2020 General

                                                                           RACE/
--     DISTRICT 10 TOTALS --                                               ETHNI PARTY   ----DISTRICT----   ------STATE------
President/Vice-President                  BIDEN,JOE                                D       199,896 53.1%     5,257,513 46.5%
                                          HAWKINS,HOWIE                                      1,180   0.3%       33,378   0.3%
                                          JORGENSEN,JO                                       4,305   1.1%      126,212   1.1%
                                         *TRUMP,DONALD                            R        170,688 45.4%     5,889,022 52.0%
                                          WRITE-IN,WRITE IN                                    192   0.1%       10,927   0.1%

U.S. Senator                              COLLINS,DAVID                                     2,636    0.7%      81,753    0.7%
                                         *CORNYN,JOHN                             R       177,999   47.7%   5,961,643   53.5%
                                          HEGAR,MARY                              D       185,910   49.8%   4,887,309   43.9%
                                          MCKENNON,KERRY                                    6,788    1.8%     209,623    1.9%

U.S. Representative District 6            BLACK,MELANIE                                     5,441    3.2%      10,955    3.2%
                                          DANIEL,STEPHEN                          D        78,666   46.3%     149,530   44.0%
                                         *WRIGHT,RON                              R        85,795   50.5%     179,507   52.8%

U.S. Representative District 12          *GRANGER,KAY                             R        50,979   52.9%     233,853   63.7%
                                          HOLCOMB,TREY                                      2,818    2.9%      11,918    3.2%
                                          WELCH,LISA                              D        42,648   44.2%     121,250   33.0%

U.S. Representative District 24           BAUER,MARK                                          364    0.7%       2,909    0.8%
                                          HAMILTON,DARREN                                     671    1.4%       5,647    1.6%
                                          KUZMICH,STEVE                                       515    1.1%       4,229    1.2%
                                          VALENZUELA,CANDACE               HISP   D        16,505   34.0%     163,326   47.5%
                                          VAN DUYNE,BARBARA                       R        30,524   62.8%     167,910   48.8%

U.S. Representative District 25           KELSEY,BILL                                          83    2.3%       7,728    2.0%
                                          OLIVER,JULIE                            D         1,157   31.8%     165,676   42.1%
                                         *WILLIAMS,ROGER                          R         2,397   65.9%     220,009   55.9%

U.S. Representative District 26           BOLER,MARK                                            0   0.0%        9,243    2.1%
                                         *BURGESS,MICHAEL                         R             0   0.0%      261,963   60.6%
                                          IANNUZZI,CAROL                          D             0   0.0%      161,009   37.3%

Railroad Commissioner 1                   CASTANEDA,CHRYSTA                       D       181,063   49.0%   4,791,167   43.6%
                                          GRUENE,KATIJA                                     4,038    1.1%     129,588    1.2%
                                          STERETT,MATT                                      8,140    2.2%     247,568    2.3%
                                          WRIGHT,JAMES                            R       175,962   47.7%   5,830,003   53.0%

- CONTEST CONTINUED ON NEXT PAGE -
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                   Exhibit 27:
      2020 General Election District Election
             Analysis, current SD10
                                      DISTRICT ELECTION
                Case 3:21-cv-00259-DCG-JES-JVB           ANALYSIS
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DEA                                                  REDISTRICTING REPORT SYSTEM                                           10/19/21
DATA: PAR                                             DISTRICT ELECTION ANALYSIS                                           17:14:28
PLANID: PLANS2168                                                                                                          PAGE 041
                                                            2020 General

                                                                           RACE/
--     DISTRICT 10 TOTALS --                                               ETHNI PARTY   ----DISTRICT----   ------STATE------
President/Vice-President                  BIDEN,JOE                                D       155,339 41.4%     5,257,513 46.5%
                                          HAWKINS,HOWIE                                        993   0.3%       33,378   0.3%
                                          JORGENSEN,JO                                       4,107   1.1%      126,212   1.1%
                                         *TRUMP,DONALD                             R       214,676 57.2%     5,889,022 52.0%
                                          WRITE-IN,WRITE IN                                    165   0.0%       10,927   0.1%

U.S. Senator                              COLLINS,DAVID                                     2,349    0.6%      81,753    0.7%
                                         *CORNYN,JOHN                              R      217,653   58.5%   5,961,643   53.5%
                                          HEGAR,MARY                               D      145,387   39.1%   4,887,309   43.9%
                                          MCKENNON,KERRY                                    6,720    1.8%     209,623    1.9%

U.S. Representative District 6            BLACK,MELANIE                                     3,575    3.2%      10,955    3.2%
                                          DANIEL,STEPHEN                           D       49,800   45.0%     149,530   44.0%
                                         *WRIGHT,RON                               R       57,193   51.7%     179,507   52.8%

U.S. Representative District 11           CODY,WACEY                                          611    1.6%       5,805    2.0%
                                          HOGG,JON                                 D        4,836   13.1%      53,400   18.3%
                                          PFLUGER,AUGUST                           R       31,595   85.3%     232,661   79.7%

U.S. Representative District 12          *GRANGER,KAY                              R       65,287   59.8%     233,853   63.7%
                                          HOLCOMB,TREY                                      3,387    3.1%      11,918    3.2%
                                          WELCH,LISA                               D       40,546   37.1%     121,250   33.0%

U.S. Representative District 19          *ARRINGTON,JODEY                          R        2,544   92.6%     198,193   74.8%
                                          BURNES,JOE                                           22    0.8%       6,271    2.4%
                                          WATSON,TOM                               D          182    6.6%      60,572   22.9%

U.S. Representative District 25           KELSEY,BILL                                       1,286    1.7%       7,728    2.0%
                                          OLIVER,JULIE                             D       16,473   22.1%     165,676   42.1%
                                         *WILLIAMS,ROGER                           R       56,736   76.2%     220,009   55.9%

Railroad Commissioner 1                   CASTANEDA,CHRYSTA                        D      141,228   38.3%   4,791,167   43.6%
                                          GRUENE,KATIJA                                     3,490    0.9%     129,588    1.2%
                                          STERETT,MATT                                      8,059    2.2%     247,568    2.3%
                                          WRIGHT,JAMES                             R      215,524   58.5%   5,830,003   53.0%

Chief Justice, Supreme Court              ASH,MARK                                          8,649   2.3%      277,432   2.5%

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                 Exhibit 28:
   2012–2020 EI Voting Analysis, benchmark
                    SD10
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                                                            EI Voting Analysis
                                 Estimated Race/Ethnicity Turnout as a percent of Estimated Total Turnout
                                                   In Voter Tabulation Districts (VTDs)
                                                               District 10
                                                                PLANS2100
                                                 Estimated Estimated Estimated Estimated Actual    Acutal
                                                 Turnout   Turnout   Turnout   Turnout   Turnout   Turnout
                                                 % for     % for     % for     % in      % in      % in
VTD In   % VTD In       % VAP In                 Anglo     Black     Hispanic District District Election
----------------------------------------------------------------------------------------------------------------------------------
2020 General
  330     88.9%           100%                    75.7%     40.2%     21.2%     53.1%     53.1%     51.9%

2012 Democratic Primary
  331     89.2%           100%                    1.1%      6.1%      3.8%      2.9%      2.9%      2.8%

2012 Democratic Runoff
  331     89.2%           100%                    0.6%      4.7%      3.4%      2.2%      2.2%      1.2%

2012 General
  329     88.7%           100%                   55.4%     40.6%     16.0%     41.3%     41.3%     36.8%

2014 Democratic Primary
  331     89.2%           100%                    1.8%      5.4%      5.9%      3.7%      3.7%      2.7%

2014 Democratic Runoff
  331     89.2%           100%                    0.5%      1.4%      1.4%      0.9%      0.9%      1.0%

2014 General
  331     89.2%           100%                   39.2%     18.9%      6.6%     25.9%     25.9%     21.7%

2016 Democratic Primary
  331     89.2%           100%                    6.2%     11.3%      9.1%      8.1%      8.0%      6.7%

2016 Democratic Runoff
  331     89.2%           100%                    0.4%      0.9%      0.7%      0.6%      0.6%      1.0%

2016 General
  330     88.9%           100%                   63.0%     33.7%     15.3%     43.6%     43.6%     41.4%

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                                                            EI Voting Analysis
                                 Estimated Race/Ethnicity Turnout as a percent of Estimated Total Turnout
                                                   In Voter Tabulation Districts (VTDs)
                                                               District 10
                                                                PLANS2100
                                                 Estimated Estimated Estimated Estimated Actual    Acutal
                                                 Turnout   Turnout   Turnout   Turnout   Turnout   Turnout
                                                 % for     % for     % for     % in      % in      % in
VTD In   % VTD In       % VAP In                 Anglo     Black     Hispanic District District Election
----------------------------------------------------------------------------------------------------------------------------------
2018 Democratic Primary
  331     89.2%           100%                     6.3%      6.8%      3.7%      5.7%      5.7%      5.1%

2018 Democratic Runoff
  331     89.2%           100%                    1.5%      2.9%      2.1%      2.0%      2.0%      8.3%

2018 General
  330     88.9%           100%                   31.9%      9.3%      5.3%     19.8%     19.8%     41.2%

2020 Democratic Primary
  331     89.2%           100%                   11.9%      2.0%      1.5%      6.9%      6.9%      7.3%

2020 Democratic Runoff
  331     89.2%           100%                    5.6%     11.0%      3.1%      6.0%      6.0%      4.6%

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                                                            EI Voting Analysis
                                       Estimated Percent Vote by Race/Ethnicity for Each Candidate
                                                   In Voter Tabulation Districts (VTDs)
                                                               District 10
                                                                PLANS2100
                                  Estimated   Estimated   Estimated   Estimated   Actual      Actual
                                  % Anglo     % Black     % Hispanic % of Total % of Total % of Total
                        Ethnic    Votes for   Votes for   Votes for   Votes in    Votes in    Votes in
                        Party     Candidate   Candidate   Candidate   District    District    Election
----------------------------------------------------------------------------------------------------------------------------------

2020 General                                    President/Vice-President
BIDEN,JOE                   A   D    39.2%       93.1%       89.3%       53.0%       53.1%       46.5%
HAWKINS,HOWIE               A   G     0.2%        0.6%        1.4%        0.4%        0.3%        0.3%
JORGENSEN,JO                A   L     0.9%        1.7%        2.4%        1.2%        1.1%        1.1%
TRUMP,DONALD                A   R    59.7%        4.4%        6.5%       45.3%       45.4%       52.0%
WRITE-IN,WRITE IN           O   W     0.1%        0.2%        0.4%        0.1%        0.1%        0.1%

2020 General                                    U.S. Senator
COLLINS,DAVID               A   G     0.3%        1.5%        2.8%        0.7%        0.7%        0.7%
CORNYN,JOHN                 A   R    62.3%        4.9%        7.7%       47.7%       47.7%       53.5%
HEGAR,MARY                  A   D    36.3%       90.2%       84.6%       49.7%       49.8%       43.9%
MCKENNON,KERRY              A   L     1.1%        3.4%        4.8%        1.8%        1.8%        1.9%

2020 General                                    Justice of the Supreme Court, Place 7
BOYD,JEFF                   A   R    61.9%        8.2%        9.7%       47.4%       47.4%       53.3%
STRANGE,WILLIAM             A   L     1.4%        3.8%        7.0%        2.4%        2.3%        2.3%
WILLIAMS,STACI              B   D    36.6%       88.0%       83.3%       50.2%       50.3%       44.3%

2020 General                                    Justice of the Supreme Court, Place 8
BUSBY,BRETT                 A   R    62.5%        7.5%        8.4%       47.7%       47.7%       53.4%
OXFORD,TOM                  A   L     1.6%        3.7%        6.4%        2.5%        2.4%        2.5%
TRIANA,GISELA               H   D    35.9%       88.8%       85.2%       49.8%       49.8%       44.1%

2020 General                                    Court of Criminal Appeals, Place 3
DAVIS FRIZELL,ELIZABETH     B   D    37.6%       90.5%       88.7%       51.6%       51.6%       45.5%
RICHARDSON,BERT             A   R    62.4%        9.5%       11.3%       48.4%       48.4%       54.5%

2012 Democratic Primary                          President/Vice-President
ELY,BOB                      A D       4.3%        1.3%        1.8%        2.0%        0.9%        2.4%
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                                                            EI Voting Analysis
                                       Estimated Percent Vote by Race/Ethnicity for Each Candidate
                                                   In Voter Tabulation Districts (VTDs)
                                                               District 10
                                                                PLANS2100
                                  Estimated   Estimated   Estimated   Estimated   Actual      Actual
                                  % Anglo     % Black     % Hispanic % of Total % of Total % of Total
                        Ethnic    Votes for   Votes for   Votes for   Votes in    Votes in    Votes in
                        Party     Candidate   Candidate   Candidate   District    District    Election
----------------------------------------------------------------------------------------------------------------------------------
OBAMA,BARACK                 B D      84.5%       95.2%       92.7%       92.4%       95.5%       88.2%
RICHARDSON,DARCY             A D       5.8%        1.7%        3.0%        2.9%        2.0%        4.3%
WOLFE,JOHN                   A D       5.5%        1.8%        2.6%        2.7%        1.7%        5.1%

2012 Democratic Primary                         U.S. Senator
ALLEN,ADDIE                 B   D    19.9%       23.3%       23.2%       22.4%       22.4%       22.9%
HUBBARD,SEAN                A   D    17.0%       16.6%       16.4%       16.6%       16.3%       16.1%
SADLER,PAUL                 A   D    42.6%       33.2%       34.4%       36.0%       36.3%       35.1%
YARBROUGH,GRADY             B   D    20.5%       27.0%       25.9%       25.0%       25.1%       25.9%

2012 Democratic Runoff                          U.S. Senator
SADLER,PAUL                 A   D    68.3%       44.7%       61.6%       55.9%       56.0%       63.1%
YARBROUGH,GRADY             B   D    31.7%       55.3%       38.4%       44.1%       44.0%       36.9%

2012 General                                    President/Vice-President
JOHNSON,GARY                A   L     0.8%        1.4%        2.6%        1.1%        1.0%        1.1%
OBAMA,BARACK                B   D    25.2%       94.2%       90.8%       45.3%       45.4%       41.4%
ROMNEY,MITT                 A   R    73.8%        3.7%        5.0%       53.2%       53.3%       57.1%
STEIN,JILL                  A   G     0.2%        0.5%        1.2%        0.4%        0.3%        0.3%
WRITE-IN,WRITE IN           O         0.1%        0.2%        0.4%        0.1%        0.0%        0.1%

2012 General                                    U.S. Senator
COLLINS,DAVID               A   G     0.4%        1.1%        2.7%        0.8%        0.7%        0.9%
CRUZ,TED                    H   R    73.2%        6.0%        9.3%       53.0%       53.1%       56.5%
MYERS,JOHN                  A   L     1.3%        2.3%        4.6%        1.8%        1.8%        2.1%
SADLER,PAUL                 A   D    25.1%       90.6%       83.4%       44.4%       44.5%       40.6%

2014 Democratic Primary                          Governor
DAVIS,WENDY                  A D      93.6%       96.0%       90.1%       93.4%       94.1%       79.3%
MADRIGAL,RAY                 H D       6.4%        4.0%        9.9%        6.6%        5.9%       20.7%
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                                                            EI Voting Analysis
                                       Estimated Percent Vote by Race/Ethnicity for Each Candidate
                                                   In Voter Tabulation Districts (VTDs)
                                                               District 10
                                                                PLANS2100
                                  Estimated   Estimated   Estimated   Estimated   Actual      Actual
                                  % Anglo     % Black     % Hispanic % of Total % of Total % of Total
                        Ethnic    Votes for   Votes for   Votes for   Votes in    Votes in    Votes in
                        Party     Candidate   Candidate   Candidate   District    District    Election
----------------------------------------------------------------------------------------------------------------------------------

2014 Democratic Primary                         Railroad Commissioner 3
BROWN,STEVE                 B   D    59.2%       65.9%       56.5%        60.4%      60.6%       63.9%
HENRY,DALE                  A   D    40.8%       34.1%       43.5%        39.6%      39.4%       36.1%

2014 Democratic Runoff                          U.S. Senator
ALAMEEL,DAVID               O   D    81.2%       73.4%       72.4%        75.7%      77.5%       72.1%
ROGERS,KESHA                B   D    18.8%       26.6%       27.6%        24.3%      22.5%       27.9%

2014 General                                    U.S. Senator
ALAMEEL,DAVID               O   D    24.3%       91.0%       77.0%        40.4%      40.5%       34.4%
CORNYN,JOHN                 A   R    73.1%        4.0%       10.4%        55.9%      56.0%       61.6%
PADDOCK,REBECCA             A   L     1.9%        3.2%        6.7%         2.5%       2.5%        2.9%
SANCHEZ,EMILY               H   G     0.6%        1.6%        5.2%         1.1%       1.0%        1.2%
TAHIRO,MOHAMMED             O   W     0.1%        0.2%        0.7%         0.2%       0.0%        0.0%

2014 General                                    Lt. Governor
BUTLER,ROBERT               A   L     1.9%        3.0%        7.7%         2.5%       2.5%        2.6%
COURTNEY,CHANDRAKANTHA      O   G     0.4%        1.0%        3.2%         0.7%       0.6%        0.6%
PATRICK,DAN                 A   R    69.5%        5.5%       11.8%        52.7%      52.7%       58.1%
VAN DE PUTTE,LETICIA        H   D    28.3%       90.5%       77.3%        44.1%      44.2%       38.7%

2014 General                                    Land Commissioner
ALESSI,VALERIE              O   G     0.7%        1.6%        5.1%         1.2%       1.1%        1.3%
BUSH,GEORGE                 H   R    73.1%        6.3%       11.7%        55.5%      55.6%       60.7%
COOK,JOHN                   A   D    24.3%       89.1%       76.0%        40.8%      40.9%       35.3%
KNIGHT,JUSTIN               O   L     1.8%        3.0%        7.2%         2.5%       2.4%        2.7%

2014 General                                     Railroad Commissioner 3
BROWN,STEVE                  B D      26.7%       88.0%       73.6%       42.2%       42.3%       36.5%
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                                                            EI Voting Analysis
                                       Estimated Percent Vote by Race/Ethnicity for Each Candidate
                                                   In Voter Tabulation Districts (VTDs)
                                                               District 10
                                                                PLANS2100
                                  Estimated   Estimated   Estimated   Estimated   Actual      Actual
                                  % Anglo     % Black     % Hispanic % of Total % of Total % of Total
                        Ethnic    Votes for   Votes for   Votes for   Votes in    Votes in    Votes in
                        Party     Candidate   Candidate   Candidate   District    District    Election
----------------------------------------------------------------------------------------------------------------------------------
MILLER,MARK                  A L       2.1%        3.4%        8.0%        2.8%        2.8%        3.2%
SALINAS,MARTINA              H G       1.0%        2.3%        6.6%        1.7%        1.6%        2.0%
SITTON,RYAN                  A R      70.3%        6.3%       11.8%       53.3%       53.3%       58.3%

2014 General                                    Justice of the Supreme Court, Place 7
BENAVIDES,GINA              H   D    26.9%       89.5%       79.5%       42.9%       42.9%       37.6%
BOYD,JEFF                   A   R    70.7%        6.2%       10.1%       53.8%       53.8%       58.9%
FULTON,DON                  A   L     2.0%        3.0%        6.7%        2.5%        2.5%        2.8%
WATERBURY,CHARLES           A   G     0.4%        1.3%        3.7%        0.8%        0.7%        0.7%

2016 Democratic Primary                         President/Vice-President
CLINTON,HILLARY             A   D    52.2%       86.6%       70.2%       67.8%       68.8%       65.2%
COMBINED                    O         0.7%        0.7%        1.1%        0.8%        0.4%        0.8%
DE LA FUENTE,ROQUE          H   D     0.5%        0.6%        0.9%        0.6%        0.2%        0.6%
SANDERS,BERNIE              A   D    46.1%       11.6%       27.0%       30.3%       30.6%       33.2%
WILSON,WILLIE               B   D     0.5%        0.4%        0.9%        0.6%        0.1%        0.2%

2016 Democratic Primary                         Railroad Commissioner 1
BURNAM,LON                  A   D    50.0%       28.1%       49.9%        42.1%      42.2%       24.8%
GARRETT,ROBERT              A   D    24.4%       25.8%       24.5%        25.0%      24.8%       35.2%
YARBROUGH,GRADY             B   D    25.6%       46.1%       25.6%        33.0%      33.0%       39.9%

2016 Democratic Runoff                          Railroad Commissioner 1
GARRETT,ROBERT              A   D    45.8%       35.8%       37.9%        39.6%      38.5%       46.3%
YARBROUGH,GRADY             B   D    54.2%       64.2%       62.1%        60.4%      61.5%       53.7%

2016 General                                     President/Vice-President
CLINTON,HILLARY              A D      31.2%       90.2%       86.8%       47.2%       47.3%       43.2%
JOHNSON,GARY                 A L       3.3%        3.3%        3.9%        3.4%        3.4%        3.2%
STEIN,JILL                   A G       0.5%        1.4%        2.1%        0.8%        0.8%        0.8%
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                                                            EI Voting Analysis
                                       Estimated Percent Vote by Race/Ethnicity for Each Candidate
                                                   In Voter Tabulation Districts (VTDs)
                                                               District 10
                                                                PLANS2100
                                  Estimated   Estimated   Estimated   Estimated   Actual      Actual
                                  % Anglo     % Black     % Hispanic % of Total % of Total % of Total
                        Ethnic    Votes for   Votes for   Votes for   Votes in    Votes in    Votes in
                        Party     Candidate   Candidate   Candidate   District    District    Election
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TRUMP,DONALD                 A R      64.5%        3.8%        5.4%       47.8%       47.9%       52.2%
WRITE-IN,WRITE IN            O W       0.5%        1.2%        1.8%        0.8%        0.7%        0.7%

2016 General                                    Railroad Commissioner 1
CHRISTIAN,WAYNE             A   R    67.5%        4.9%        7.9%        50.1%      50.2%       53.1%
MILLER,MARK                 A   L     4.7%        4.1%        6.5%         4.8%       4.8%        5.3%
SALINAS,MARTINA             H   G     1.6%        4.1%        7.2%         2.6%       2.6%        3.3%
YARBROUGH,GRADY             B   D    26.1%       86.9%       78.4%        42.4%      42.5%       38.4%

2016 General                                    Justice of the Supreme Court, Place 3
GLASS,KATHIE                A   L     3.2%        4.4%        6.6%        3.8%        3.7%        4.0%
LEHRMANN,DEBRA              A   R    70.4%        5.4%        6.7%       51.9%       51.9%       54.8%
MUNOZ,RODOLFO               H   G     1.1%        2.9%        8.0%        2.1%        2.1%        2.7%
WESTERGREN,MIKE             A   D    25.3%       87.3%       78.7%       42.2%       42.3%       38.5%

2016 General                                    Justice of the Supreme Court, Place 5
GARZA,DORI                  H   D    28.0%       89.1%       83.5%       44.4%       44.5%       41.2%
GREEN,PAUL                  A   R    68.7%        5.0%        6.9%       51.1%       51.2%       54.3%
OXFORD,TOM                  A   L     2.6%        3.9%        5.9%        3.2%        3.2%        3.3%
WATERBURY,CHARLES           A   G     0.7%        2.0%        3.7%        1.3%        1.2%        1.2%

2016 General                                    Justice of the Supreme Court, Place 9
CHISHOLM,JIM                O   G     0.7%        2.0%        4.3%        1.3%        1.2%        1.4%
FULTON,DON                  A   L     2.9%        3.9%        5.5%        3.3%        3.3%        3.5%
GUZMAN,EVA                  H   R    70.1%        4.6%        8.2%       52.1%       52.1%       55.8%
ROBINSON,SAVANNAH           A   D    26.4%       89.5%       82.0%       43.4%       43.4%       39.4%

2016 General                                     Court of Criminal Appeals, Place 2
ASH,MARK                     A L       3.1%        3.8%        6.0%        3.5%        3.5%        3.7%
KEEL,MARY                    A R      69.6%        5.7%        7.2%       51.5%       51.5%       54.9%
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                                                            EI Voting Analysis
                                       Estimated Percent Vote by Race/Ethnicity for Each Candidate
                                                   In Voter Tabulation Districts (VTDs)
                                                               District 10
                                                                PLANS2100
                                  Estimated   Estimated   Estimated   Estimated   Actual      Actual
                                  % Anglo     % Black     % Hispanic % of Total % of Total % of Total
                        Ethnic    Votes for   Votes for   Votes for   Votes in    Votes in    Votes in
                        Party     Candidate   Candidate   Candidate   District    District    Election
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MEYERS,LAWRENCE              A D      26.6%       88.4%       83.1%       43.7%       43.8%       40.0%
REPOSA,ADAM                  H G       0.7%        2.1%        3.8%        1.3%        1.2%        1.4%

2018 Democratic Primary                         U.S. Senator
HERNANDEZ,SEMA              H   D    12.9%       40.5%       34.8%       24.0%       23.9%       23.7%
KIMBROUGH,EDWARD            B   D     7.5%       30.4%       26.9%       16.9%       16.7%       14.5%
O'ROURKE,BETO               A   D    79.6%       29.1%       38.3%       59.2%       59.4%       61.8%

2018 Democratic Primary                         Governor
COMBINED                    O        42.1%       20.4%        17.7%      31.6%       31.8%       39.1%
DAVIS,CEDRIC                B   D     5.7%       21.0%        15.2%      11.6%       11.5%        8.2%
OCEGUEDA,ADRIAN             H   D     2.5%        3.7%         5.2%       3.4%        3.0%        4.4%
VALDEZ,LUPE                 H   D    47.3%       49.3%        54.9%      49.3%       49.8%       42.9%
YARBROUGH,GRADY             B   D     2.5%        5.6%         6.9%       4.2%        3.8%        5.4%

2018 Democratic Primary                         Lt. Governor
COLLIER,MIKE                A   D    53.8%       48.8%       41.2%       49.6%       49.6%       52.4%
COOPER,MICHAEL              B   D    46.2%       51.2%       58.8%       50.4%       50.4%       47.6%

2018 Democratic Primary                         Comptroller
CHEVALIER,JOI               B   D    54.2%       39.7%        45.4%      48.3%       48.3%       51.9%
MAHONEY,TIM                 A   D    45.8%       60.3%        54.6%      51.7%       51.7%       48.1%

2018 Democratic Primary                         Land Commissioner
MORGAN,TEX                  A   D    28.0%       50.3%       38.0%       35.4%       35.3%       29.8%
SUAZO,MIGUEL                H   D    72.0%       49.7%       62.0%       64.6%       64.7%       70.2%

2018 Democratic Primary                          Railroad Commissioner 1
MCALLEN,ROMAN                A D      58.0%       38.4%       56.6%       52.1%       52.1%       58.5%
SPELLMON,CHRIS               B D      42.0%       61.6%       43.4%       47.9%       47.9%       41.5%
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                                                            EI Voting Analysis
                                       Estimated Percent Vote by Race/Ethnicity for Each Candidate
                                                   In Voter Tabulation Districts (VTDs)
                                                               District 10
                                                                PLANS2100
                                  Estimated   Estimated   Estimated   Estimated   Actual      Actual
                                  % Anglo     % Black     % Hispanic % of Total % of Total % of Total
                        Ethnic    Votes for   Votes for   Votes for   Votes in    Votes in    Votes in
                        Party     Candidate   Candidate   Candidate   District    District    Election
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2018 Democratic Runoff                          Governor
VALDEZ,LUPE                 H   D    56.5%       63.5%        62.3%      60.0%       60.3%       53.3%
WHITE,ANDREW                A   D    43.5%       36.5%        37.7%      40.0%       39.7%       46.7%

2018 General                                    U.S. Senator
CRUZ,TED                    H   R    59.4%        6.4%        7.6%       45.9%       45.9%       50.9%
DIKEMAN,NEAL                A   L     0.5%        1.7%        2.2%        0.8%        0.8%        0.8%
O'ROURKE,BETO               A   D    40.1%       91.8%       90.2%       53.2%       53.3%       48.3%

2018 General                                    Governor
ABBOTT,GREG                 A   R    66.0%        6.7%         9.5%      51.1%       51.1%       55.8%
TIPPETTS,MARK               A   L     1.2%        3.1%         4.3%       1.8%        1.8%        1.7%
VALDEZ,LUPE                 H   D    32.8%       90.3%        86.2%      47.0%       47.1%       42.5%

2018 General                                    Comptroller
CHEVALIER,JOI               B   D    35.1%       87.1%        84.3%      48.1%       48.1%       43.4%
HEGAR,GLENN                 A   R    62.5%        6.9%         8.4%      48.5%       48.5%       53.2%
SANDERS,BEN                 A   L     2.4%        5.9%         7.3%       3.4%        3.4%        3.4%

2018 General                                    Land Commissioner
BUSH,GEORGE                 H   R    64.1%        7.8%        8.8%       49.8%       49.8%       53.7%
PINA,MATT                   H   L     1.9%        4.9%        6.6%        2.8%        2.8%        3.1%
SUAZO,MIGUEL                H   D    34.0%       87.4%       84.5%       47.4%       47.4%       43.2%

2018 General                                    Court of Criminal Appeals, Presiding
JACKSON,MARIA               B   D    35.2%       90.0%       85.6%       49.7%       49.8%       45.5%
KELLER,SHARON               A   R    63.2%        6.8%        8.6%       48.0%       48.0%       52.2%
STRANGE,WILLIAM             A   L     1.6%        3.3%        5.8%        2.3%        2.3%        2.3%

2018 General                                     Court of Criminal Appeals, Place 7
FRANKLIN,RAMONA              B D      35.8%       90.8%       87.1%       50.6%       50.6%       45.8%
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                                                            EI Voting Analysis
                                       Estimated Percent Vote by Race/Ethnicity for Each Candidate
                                                   In Voter Tabulation Districts (VTDs)
                                                               District 10
                                                                PLANS2100
                                  Estimated   Estimated   Estimated   Estimated   Actual      Actual
                                  % Anglo     % Black     % Hispanic % of Total % of Total % of Total
                        Ethnic    Votes for   Votes for   Votes for   Votes in    Votes in    Votes in
                        Party     Candidate   Candidate   Candidate   District    District    Election
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HERVEY,BARBARA               A R      64.2%        9.2%       12.9%       49.4%       49.4%       54.2%

2020 Democratic Primary                         President/Vice-President
BIDEN,JOE                   A   D    37.4%       54.4%       18.0%       39.6%       39.7%       34.6%
COMBINED                    O        38.0%       18.9%       18.2%       30.2%        0.8%       35.5%
COMBINED                    O         0.6%        1.2%        3.3%        1.1%       30.2%       35.5%
SANDERS,BERNIE              A   D    24.1%       25.5%       60.5%       29.2%       29.2%       29.9%

2020 Democratic Primary                         U.S. Senator
COMBINED                    O        42.9%       10.5%       21.9%        29.7%      59.7%       89.7%
COMBINED                    O        47.9%       81.6%       53.8%        59.6%      29.7%       89.7%
GARCIA,ANNIE                O   D     9.2%        7.9%       24.3%        10.6%      10.5%       10.3%

2020 Democratic Primary                         Railroad Commissioner 1
ALONZO,ROBERTO              H   D    20.7%       30.4%       47.6%        28.3%      28.3%       28.6%
CASTANEDA,CHRYSTA           A   D    40.4%       11.4%       18.4%        28.2%      28.2%       33.8%
STONE,KELLY                 A   D    22.9%       24.2%       15.6%        22.0%      22.0%       21.7%
WATSON,MARK                 A   D    16.0%       34.0%       18.4%        21.6%      21.6%       15.8%

2020 Democratic Primary                         Justice of the Supreme Court, Place 7
VOSS,BRANDY                 A   D    35.2%       23.6%       42.0%       32.6%       32.6%       34.9%
WILLIAMS,STACI              B   D    64.8%       76.4%       58.0%       67.4%       67.4%       65.1%

2020 Democratic Primary                         Justice of the Supreme Court, Place 8
KELLY,PETER                 A   D    24.1%       43.6%       44.6%       32.8%       32.7%       28.0%
TRIANA,GISELA               H   D    75.9%       56.4%       55.4%       67.2%       67.3%       72.0%

2020 Democratic Primary                          Court of Criminal Appeals, Place 3
DAVIS FRIZELL,ELIZABETH      B D      82.8%       57.9%       57.9%       71.5%       71.7%       68.7%
DEMOND,WILLIAM               O D       5.5%       15.2%       17.5%       10.3%       10.1%       12.0%
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                                                            EI Voting Analysis
                                       Estimated Percent Vote by Race/Ethnicity for Each Candidate
                                                   In Voter Tabulation Districts (VTDs)
                                                               District 10
                                                                PLANS2100
                                  Estimated   Estimated   Estimated   Estimated   Actual      Actual
                                  % Anglo     % Black     % Hispanic % of Total % of Total % of Total
                        Ethnic    Votes for   Votes for   Votes for   Votes in    Votes in    Votes in
                        Party     Candidate   Candidate   Candidate   District    District    Election
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WOOD,DAN                     A D      11.8%       26.9%       24.6%       18.2%       18.2%       19.2%

2020 Democratic Runoff                           Railroad Commissioner 1
ALONZO,ROBERTO               H D      28.5%       57.3%       52.8%       42.6%       42.5%       38.0%
CASTANEDA,CHRYSTA            A D      71.5%       42.7%       47.2%       57.4%       57.5%       62.0%
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                  Exhibit 29:
    District Population Analysis, benchmark
                      SD10
                                  Case 3:21-cv-00259-DCG-JES-JVB Document 102-1 Filed 12/20/21 Page 177 of 195   Texas Legislative Council
Red-100T
Data: 2020 Census                              District Population Analysis with County Subtotals                08/26/21 1:33 PM
                                                                                                                 Page 1 of 11
PLANS2100 08/02/2021 4:30:06 PM
                                                           SENATE DISTRICTS - PLANS2100




                                      Total State Population                                29,145,505
                                      Total Districts Required                                       31
                                      Ideal District Population                                940,178
                                      Unassigned Population                                           0
                                      Districts in Plan                                              31
                                      Unassigned Geography                                          No
                                      Districts Contiguous                                          Yes

                                                                  Population    --------Deviation--------
                                                                                  Total        Percent
                                      Plan Overall Range                       307,472          32.70%
                                      Smallest District (28)         796,007   -144,171        -15.33%
                                      Largest District (25)        1,103,479   163,301          17.37%
                                      Average (mean)                 940,178    62,569           6.65%

                                                                    PLANS2100




                                                                                                                              56432
                                                            Case 3:21-cv-00259-DCG-JES-JVB Document 102-1 Filed 12/20/21 Page 178 of 195                                         Texas Legislative Council
 Red-100T
 Data: 2020 Census                                                        District Population Analysis with County Subtotals                                                     08/26/21 1:33 PM
                                                                                                                                                                                 Page 4 of 11
 PLANS2100 08/02/2021 4:30:06 PM
                                                                                       SENATE DISTRICTS - PLANS2100

                           Deviation               Total         Anglo    Non-Anglo         Asian     Black    Hispanic     B+H     %Anglo    %Non-Anglo    %Asian    %Black   %Hispanic             %B+H

DISTRICT 7                69,190       Total:   1,009,368       400,979      608,389       108,606   178,105    314,396   482,266      39.7          60.3      10.8     17.6          31.1                   47.8
                          7.36 %       VAP:       741,905       318,117      423,788        79,795   121,527    213,508   330,000      42.9          57.1      10.8     16.4          28.8                   44.5
 Harris (21%)                                   1,009,368       400,979      608,389       108,606   178,105    314,396   482,266      39.7          60.3      10.8     17.6          31.1                   47.8

DISTRICT 8                57,955       Total:    998,133        471,726      526,407       213,052   132,796    164,666   292,219      47.3          52.7      21.3     13.3          16.5                   29.3
                          6.16 %       VAP:      750,559        379,606      370,953       151,150    93,611    112,209   203,272      50.6          49.4      20.1     12.5          15.0                   27.1
 Collin (80%)                                    855,489        414,023      441,466       194,946   104,142    128,210   227,961      48.4          51.6      22.8     12.2          15.0                   26.6
 Dallas (5%)                                     142,644         57,703       84,941        18,106    28,654     36,456    64,258      40.5          59.5      12.7     20.1          25.6                   45.0

DISTRICT 9                -15,521      Total:    924,657        359,833      564,824        77,850   148,920    324,820   465,913      38.9          61.1       8.4     16.1          35.1                   50.4
                          -1.65 %      VAP:      684,713        292,419      392,294        57,586   103,578    218,171   317,934      42.7          57.3       8.4     15.1          31.9                   46.4
 Dallas (8%)                                     214,865         40,951      173,914        11,414    28,241    133,038   159,538      19.1          80.9       5.3     13.1          61.9                   74.3
 Tarrant (34%)                                   709,792        318,882      390,910        66,436   120,679    191,782   306,375      44.9          55.1       9.4     17.0          27.0                   43.2

DISTRICT 10               5,318        Total:    945,496        373,902      571,594        53,541   203,632    304,689   500,464      39.5          60.5       5.7     21.5          32.2                   52.9
                          0.57 %       VAP:      708,665        311,021      397,644        39,148   143,890    203,819   344,139      43.9          56.1       5.5     20.3          28.8                   48.6
 Tarrant (45%)                                   945,496        373,902      571,594        53,541   203,632    304,689   500,464      39.5          60.5       5.7     21.5          32.2                   52.9

DISTRICT 11               -6,922       Total:    933,256        441,837      491,419        69,631   126,520    283,159   402,305      47.3          52.7       7.5     13.6          30.3                   43.1
                          -0.74 %      VAP:      704,652        358,661      345,991        50,870    89,666    192,455   278,887      50.9          49.1       7.2     12.7          27.3                   39.6
 Brazoria (74%)                                  274,233        109,938      164,295        28,062    51,329     82,513   131,415      40.1          59.9      10.2     18.7          30.1                   47.9
 Galveston (99%)                                 347,912        189,069      158,843        15,598    49,137     88,315   134,914      54.3          45.7       4.5     14.1          25.4                   38.8
 Harris (7%)                                     311,111        142,830      168,281        25,971    26,054    112,331   135,976      45.9          54.1       8.3      8.4          36.1                   43.7

DISTRICT 12               146,201      Total:   1,086,379       584,227      502,152       112,796   130,987    237,245   360,982      53.8          46.2      10.4     12.1          21.8                   33.2
                          15.55 %      VAP:       809,228       463,844      345,384        79,199    89,823    157,794   244,165      57.3          42.7       9.8     11.1          19.5                   30.2
 Denton (82%)                                     747,584       397,439      350,145        97,774    92,723    145,266   233,269      53.2          46.8      13.1     12.4          19.4                   31.2
 Tarrant (16%)                                    338,795       186,788      152,007        15,022    38,264     91,979   127,713      55.1          44.9       4.4     11.3          27.1                   37.7

DISTRICT 13               -48,341      Total:    891,837         87,673      804,164        83,325   359,794    366,202   714,241       9.8          90.2       9.3     40.3          41.1                   80.1
                          -5.14 %      VAP:      672,728         77,764      594,964        68,800   274,320    253,519   520,963      11.6          88.4      10.2     40.8          37.7                   77.4
 Fort Bend (16%)                                 129,465         10,047      119,418        13,324    66,474     40,856   105,499       7.8          92.2      10.3     51.3          31.6                   81.5
 Harris (16%)                                    762,372         77,626      684,746        70,001   293,320    325,346   608,742      10.2          89.8       9.2     38.5          42.7                   79.8

DISTRICT 14               104,129      Total:   1,044,307       500,168      544,139       100,712   104,059    327,880   423,128      47.9          52.1       9.6     10.0          31.4                   40.5
                          11.08 %      VAP:       823,529       423,611      399,918        77,514    77,803    232,239   305,178      51.4          48.6       9.4      9.4          28.2                   37.1
 Bastrop (100%)                                    97,216        45,751       51,465         1,287     6,873     41,484    47,762      47.1          52.9       1.3      7.1          42.7                   49.1
 Travis (73%)                                     947,091       454,417      492,674        99,425    97,186    286,396   375,366      48.0          52.0      10.5     10.3          30.2                   39.6

DISTRICT 15               3,390        Total:    943,568        226,738      716,830        58,385   231,324    426,052   647,386      24.0          76.0       6.2     24.5          45.2                   68.6
                          0.36 %       VAP:      702,919        193,626      509,293        46,291   166,966    291,967   453,752      27.5          72.5       6.6     23.8          41.5                   64.6
 Harris (20%)                                    943,568        226,738      716,830        58,385   231,324    426,052   647,386      24.0          76.0       6.2     24.5          45.2                   68.6




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                                                                             Case 3:21-cv-00259-DCG-JES-JVB Document 102-1 Filed 12/20/21 Page 179 of 195                                                                                                             Texas Legislative Council
Data: 2020 Census                                                                                                      Population and Voter Data                                                                                                                      08/26/21 1:33 PM
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                                                                                                                  with Voter Registration Comparison
                                                                                                                    SENATE DISTRICTS - PLANS2100
                                                                                                  Population                                                                                                         Total Voter Registration            Non-Suspense Voter Registration
 District Deviation                              Total       %Anglo         %Non-Anglo %Asian %Black %Hispanic                                   %B+H          General Election             Turnout                Total        SSVR        TO/VR         Total      SSVR             TO/VR
     1        -94,391           Total:         845,787             61.9                 38.1            1.5          18.0               16.1         33.6               2020                   363,881            545,787         5.6 %         66.7 %   493,895       5.7 %             73.7 %
              -10.04%           VAP:           647,407             65.4                 34.6            1.4          17.1               13.3         30.2               2018                   276,374            519,484         5.2 %         53.2 %   469,416       5.2 %             58.9 %
     2        4,398             Total:         944,576             47.4                 52.6            3.1          14.9               32.8         47.0               2020                   354,231            526,499        14.4 %         67.3 %   478,714      14.7 %             74.0 %
              0.47%             VAP:           695,983             51.8                 48.2            3.1          13.9               28.9         42.4               2018                   263,192            490,342        13.4 %         53.7 %   443,129      13.7 %             59.4 %
     3        -63,008           Total:         877,170             66.9                 33.1            1.1          12.2               17.3         29.2               2020                   376,342            561,371         6.6 %         67.0 %   512,956       6.6 %             73.4 %
              -6.70%            VAP:           678,053             69.9                 30.1            1.0          11.7               14.7         26.2               2018                   280,147            535,185         6.1 %         52.3 %   484,839       6.1 %             57.8 %
     4        78,972            Total:       1,019,150             53.6                 46.4            4.6          14.4               25.5         39.4               2020                   430,449            612,336        11.0 %         70.3 %   554,823      11.2 %             77.6 %
              8.40%             VAP:           754,208             57.1                 42.9            4.4          13.8               22.6         36.0               2018                   312,833            565,684        10.2 %         55.3 %   504,817      10.4 %             62.0 %
     5        120,622           Total:       1,060,800             55.2                 44.8            7.9          11.1               24.3         34.6               2020                   459,310            632,370        13.0 %         72.6 %   570,389      12.9 %             80.5 %
              12.83%            VAP:           814,153             58.5                 41.5            7.3          10.4               21.8         31.7               2018                   339,136            567,650        12.6 %         59.7 %   507,259      12.6 %             66.9 %
     6        -106,189          Total:         833,989              9.8                 90.2            2.7          13.5               74.4         86.9               2020                   187,157            344,937        55.7 %         54.3 %   320,598      57.0 %             58.4 %
              -11.29%           VAP:           597,899             11.7                 88.3            2.9          13.4               72.0         84.7               2018                   136,184            329,003        55.1 %         41.4 %   301,546      56.7 %             45.2 %
     7        69,190            Total:       1,009,368             39.7                 60.3           10.8          17.6               31.1         47.8               2020                   426,355            595,067        17.1 %         71.6 %   550,952      17.3 %             77.4 %
              7.36%             VAP:           741,905             42.9                 57.1           10.8          16.4               28.8         44.5               2018                   309,991            550,965        16.2 %         56.3 %   500,948      16.6 %             61.9 %
     8        57,955            Total:         998,133             47.3                 52.7           21.3          13.3               16.5         29.3               2020                   452,913            603,428         7.8 %         75.1 %   542,981       7.7 %             83.4 %
              6.16%             VAP:           750,559             50.6                 49.4           20.1          12.5               15.0         27.1               2018                   341,629            552,615         7.5 %         61.8 %   490,057       7.5 %             69.7 %
     9        -15,521           Total:         924,657             38.9                 61.1            8.4          16.1               35.1         50.4               2020                   333,524            495,653        17.3 %         67.3 %   437,005      17.7 %             76.3 %
              -1.65%            VAP:           684,713             42.7                 57.3            8.4          15.1               31.9         46.4               2018                   250,040            463,827        16.6 %         53.9 %   397,962      17.1 %             62.8 %
     10       5,318             Total:         945,496             39.5                 60.5            5.7          21.5               32.2         52.9               2020                   376,345            548,142        15.9 %         68.7 %   491,709      16.2 %             76.5 %
              0.57%             VAP:           708,665             43.9                 56.1            5.5          20.3               28.8         48.6               2018                   291,940            515,137        15.1 %         56.7 %   451,996      15.6 %             64.6 %
     11       -6,922            Total:         933,256             47.3                 52.7            7.5          13.6               30.3         43.1               2020                   400,677            576,112        17.8 %         69.5 %   522,945      18.0 %             76.6 %
              -0.74%            VAP:           704,652             50.9                 49.1            7.2          12.7               27.3         39.6               2018                   292,834            536,056        17.1 %         54.6 %   480,189      17.3 %             61.0 %
     12       146,201           Total:       1,086,379             53.8                 46.2           10.4          12.1               21.8         33.2               2020                   489,574            670,147        10.7 %         73.1 %   602,956      10.8 %             81.2 %
              15.55%            VAP:           809,228             57.3                 42.7            9.8          11.1               19.5         30.2               2018                   347,516            607,787        10.3 %         57.2 %   532,763      10.4 %             65.2 %
     13       -48,341           Total:         891,837              9.8                 90.2            9.3          40.3               41.1         80.1               2020                   258,849            429,463        17.6 %         60.3 %   389,598      18.1 %             66.4 %
              -5.14%            VAP:           672,728             11.6                 88.4           10.2          40.8               37.7         77.4               2018                   193,994            412,649        16.6 %         47.0 %   368,996      17.2 %             52.6 %
     14       104,129           Total:       1,044,307             47.9                 52.1            9.6          10.0               31.4         40.5               2020                   493,322            692,307        14.7 %         71.3 %   627,742      14.8 %             78.6 %
              11.08%            VAP:           823,529             51.4                 48.6            9.4           9.4               28.2         37.1               2018                   392,361            635,991        14.5 %         61.7 %   551,288      14.6 %             71.2 %
     15       3,390             Total:         943,568             24.0                 76.0            6.2          24.5               45.2         68.6               2020                   323,560            490,330        23.6 %         66.0 %   450,416      24.1 %             71.8 %
              0.36%             VAP:           702,919             27.5                 72.5            6.6          23.8               41.5         64.6               2018                   237,678            459,316        22.6 %         51.7 %   414,921      23.3 %             57.3 %
     16       -13,360           Total:         926,818             41.3                 58.7           14.6          13.7               29.4         42.4               2020                   378,394            520,942        12.7 %         72.6 %   468,661      12.8 %             80.7 %
              -1.42%            VAP:           721,088             44.9                 55.1           14.0          13.2               26.6         39.3               2018                   301,162            492,052        12.2 %         61.2 %   433,403      12.4 %             69.5 %
     17       17,351            Total:         957,529             39.6                 60.4           17.5          17.0               25.4         41.5               2020                   412,243            569,790        13.7 %         72.3 %   522,954      13.8 %             78.8 %
              1.85%             VAP:           735,558             42.2                 57.8           17.2          16.0               23.7         39.0               2018                   312,707            532,482        13.3 %         58.7 %   480,692      13.5 %             65.1 %
     18       96,015            Total:       1,036,193             42.9                 57.1           11.8          13.9               30.5         43.6               2020                   440,812            623,972        18.8 %         70.6 %   574,524      18.6 %             76.7 %
              10.21%            VAP:           764,077             46.4                 53.6           11.2          13.1               28.0         40.6               2018                   315,715            568,373        18.7 %         55.5 %   518,218      18.6 %             60.9 %
     19       12,036            Total:         952,214             21.8                 78.2            3.0           8.7               66.8         74.3               2020                   332,264            547,241        53.8 %         60.7 %   491,568      54.6 %             67.6 %
              1.28%             VAP:           696,433             24.3                 75.7            2.9           8.3               64.0         71.6               2018                   226,564            505,535        54.1 %         44.8 %   450,382      55.2 %             50.3 %
     20       -32,504           Total:         907,674             15.9                 84.1            2.2           2.6               79.1         81.1               2020                   277,036            470,445        66.4 %         58.9 %   425,350      67.6 %             65.1 %
              -3.46%            VAP:           661,833             18.2                 81.8            2.2           2.5               76.5         78.6               2018                   197,570            445,114        66.5 %         44.4 %   399,738      68.1 %             49.4 %

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 SSVR = Spanish surname voter registration                                                                                                                                                                                                                                                   56432
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                                                                             Case 3:21-cv-00259-DCG-JES-JVB Document 102-1 Filed 12/20/21 Page 180 of 195                                                                                                             Texas Legislative Council
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                                                                                                                  with Voter Registration Comparison
                                                                                                                    SENATE DISTRICTS - PLANS2100
                                                                                                  Population                                                                                                         Total Voter Registration            Non-Suspense Voter Registration
 District Deviation                              Total       %Anglo         %Non-Anglo %Asian %Black %Hispanic                                   %B+H          General Election             Turnout                Total        SSVR        TO/VR         Total      SSVR             TO/VR
     21       -38,924           Total:         901,254             22.6                 77.4             1.6          4.1               71.2         74.6               2020                   295,047            505,873        57.2 %         58.3 %   460,757      58.0 %             64.0 %
              -4.14%            VAP:           668,648             25.7                 74.3             1.7          4.2               67.5         71.3               2018                   212,875            473,899        58.2 %         44.9 %   427,579      59.4 %             49.8 %
     22       3,844             Total:         944,022             55.2                 44.8             3.3         14.3               25.1         38.6               2020                   388,997            569,813        12.7 %         68.3 %   517,886      12.8 %             75.1 %
              0.41%             VAP:           707,084             59.2                 40.8             3.2         13.1               21.8         34.6               2018                   288,330            525,924        12.1 %         54.8 %   474,494      12.2 %             60.8 %
     23       -53,073           Total:         887,105             14.2                 85.8             2.2         38.2               45.3         82.7               2020                   295,978            486,211        22.8 %         60.9 %   437,579      23.7 %             67.6 %
              -5.64%            VAP:           664,473             17.3                 82.7             2.5         38.4               41.4         79.2               2018                   229,575            462,812        21.7 %         49.6 %   411,325      22.8 %             55.8 %
     24       -13,388           Total:         926,790             58.1                 41.9             3.9         14.5               21.8         35.0               2020                   392,271            585,675        11.2 %         67.0 %   516,380      11.0 %             76.0 %
              -1.42%            VAP:           708,848             62.3                 37.7             3.6         12.8               19.1         31.0               2018                   286,629            537,541        10.9 %         53.3 %   463,672      10.7 %             61.8 %
     25       163,301           Total:       1,103,479             53.1                 46.9             5.4          6.7               33.8         39.5               2020                   571,431            758,052        20.7 %         75.4 %   681,411      20.7 %             83.9 %
              17.37%            VAP:           844,709             56.3                 43.7             5.0          6.1               31.0         36.5               2018                   418,940            683,429        20.1 %         61.3 %   606,850      20.0 %             69.0 %
     26       -99,613           Total:         840,565             19.3                 80.7             4.3          9.2               67.7         75.6               2020                   290,494            482,377        54.4 %         60.2 %   419,418      55.7 %             69.3 %
              -10.60%           VAP:           644,877             21.9                 78.1             4.2          8.6               65.1         72.8               2018                   211,203            461,672        54.4 %         45.7 %   397,764      56.0 %             53.1 %
     27       -108,504          Total:         831,674              7.9                 92.1             0.8          0.9               90.4         90.9               2020                   220,265            411,297        80.0 %         53.6 %   379,121      80.5 %             58.1 %
              -11.54%           VAP:           588,385              9.6                 90.4             0.9          0.8               88.6         89.1               2018                   152,571            387,475        80.5 %         39.4 %   356,966      81.2 %             42.7 %
     28       -144,171          Total:         796,007             51.2                 48.8             2.3          7.4               37.9         44.4               2020                   304,386            478,336        26.6 %         63.6 %   424,419      26.3 %             71.7 %
              -15.33%           VAP:           607,986             54.9                 45.1             2.3          6.9               34.1         40.6               2018                   231,687            464,208        26.3 %         49.9 %   408,199      26.2 %             56.8 %
     29       -61,004           Total:         879,174             11.6                 88.4             2.1          4.4               82.4         85.7               2020                   274,554            498,691        67.7 %         55.1 %   446,689      69.1 %             61.5 %
              -6.49%            VAP:           655,733             12.9                 87.1             2.1          4.0               81.0         84.3               2018                   208,261            467,178        68.6 %         44.6 %   424,087      70.0 %             49.1 %
     30       87,087            Total:       1,027,265             67.4                 32.6             3.1          7.7               18.6         25.8               2020                   460,025            654,804         8.4 %         70.3 %   585,897       8.4 %             78.5 %
              9.26%             VAP:           773,135             70.8                 29.2             2.8          6.9               16.0         22.6               2018                   325,058            590,211         7.9 %         55.1 %   522,934       7.9 %             62.2 %
     31       -70,909           Total:         869,269             46.5                 53.5             2.5          6.0               43.4         48.8               2020                   294,653            472,639        27.3 %         62.3 %   421,808      27.4 %             69.9 %
              -7.54%            VAP:           637,232             50.4                 49.6             2.3          5.5               39.8         44.9               2018                   217,034            449,448        26.4 %         48.3 %   400,801      26.6 %             54.2 %




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 SSVR = Spanish surname voter registration                                                                                                                                                                                                                                                   56432
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Data: 2020 Census                               Incumbents by District                     08/31/21 5:30 PM
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                                        SENATE DISTRICTS - PLANS2100


                                     District       Incumbents
                                         1          Hughes - R
                                         2          Hall - R
                                         3          Nichols - R
                                         4          Creighton - R
                                         5          Schwertner - R
                                         6          Alvarado - D
                                         7          Bettencourt - R
                                         8          Paxton - R
                                         9          Hancock - R
                                        10          Powell - D
                                        11          Taylor - R
                                        12          Nelson - R
                                        13          Miles - D
                                        14          Eckhardt - D
                                        15          Whitmire - D
                                        16          Johnson - D
                                        17          Huffman - R
                                        18          Kolkhorst - R
                                        19          Gutierrez - D
                                        20          Hinojosa - D
                                        21          Zaffirini - D
                                        22          Birdwell - R
                                        23          West - D
                                        24          Buckingham - R
                                        25          Campbell - R
                                        26          Menéndez - D
                                        27          Lucio, - D
                                        28          Perry - R
                                        29          Blanco - D
                                        30          Springer - R
                                        31          Seliger - R




* Incumbents paired.                                                                                          56948
                                                                                           Case 3:21-cv-00259-DCG-JES-JVB Document 102-1 Filed 12/20/21 Page 182 of 195MONTAGUE                                                                                                                                                                                                                              COOKE                          GRAYSON
                                                                                                                                                                                                                                                                                                                                                                                                                                                                    FANNIN
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                                                                                                            DEAF SMITH          RANDALL          ARMSTRONG      DONLEY
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           BLANCO
                                                                                                          PARMER
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                                                                                                                                                                                                                                                      MONTAGUE                                                                      RED RIVER
                                                                                                                                                                                                                                                                                      GRAYSON          FANNIN
                                                                                                        COCHRAN      HOCKLEY         LUBBOCK       CROSBY      DICKENS             KING        KNOX         BAYLOR          ARCHER                                         COOKE
                    HAYS                                                                                                                                                                                                                                                                                                                               BOWIE


                                              21
                                                               BASTROP                                                                                                                                                                              30                                                              DELTA

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                                                                                                                      TERRY           LYNN         GARZA                                                                     YOUNG                                                                                                          MORRIS         CASS

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                                                                                                            GAINES             DAWSON          BORDEN        SCURRY           FISHER          JONES                   STEPHENS

                                                                                                                                                                                                                                                                      10                                                                                                                                                       MONTGOMERY
                                                                                                                                                                                                       SHACKELFORD

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                                                                                                                                                                                                                                                                                                             VAN ZANDT

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                                                                                                           ANDREWS             MARTIN          HOWARD                         NOLAN         TAYLOR      CALLAHAN      EASTLAND
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                                                                                                                                                            MITCHELL                                                                                                                                         HENDERSON                                     PANOLA
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                                                                                                                                                                                                                                                                                              NAVARRO
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                                    EL PASO
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                                                                                       LOVING                 ECTOR                                                                                                             COMANCHE                   BOSQUE                                                                                                 SHELBY
                                                                                                WINKLER                     MIDLAND      GLASSCOCK      STERLING           COKE                                                                                                                                     ANDERSON        CHEROKEE
                                                                                                                                                                                           RUNNELS
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                                                                 CULBERSON                       WARD                                                                                                                           MILLS
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                                                    HUDSPETH                                                  CRANE                                                                                                                                                                                                          HOUSTON
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                                                                                                                            UPTON                                                                                                                      CORYELL                                                                                                             SABINE
                                                                                      REEVES                                              REAGAN                                                                                                                                                             LEON                                 ANGELINA
                                                                                                                                                            IRION          TOM GREEN        CONCHO                                                                                  FALLS
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                   Exhibit 30:
         Texas Tribune article, June 4, 2021
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TEXAS 2022 ELECTIONS

Republican state Sen. Dawn Buckingham
running for Texas land commissioner
   The news of her decision comes two days after the current land commissioner,
   George P. Bush, announced he was running for attorney general next year,
   challenging fellow Republican Ken Paxton.

BY PATRICK SVITEK      JUNE 4, 2021      UPDATED: JUNE 7, 2021

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State Sen. Dawn Buckingham, R-Lakeway, is running to be the state’s land commissioner.   Kelly West for The
Texas Tribune



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     essential Texas news.

     State Sen. Dawn Buckingham, R-Lakeway, announced Monday she is running for
     land commissioner.

     “I will be running for Land Commissioner with a strong conservative record
     defending the right to life, our Second Amendment, our invaluable oil and gas
     industry, and the low tax economy that has made Texas great. Conservatives
     know just how important the Texas General Land Office is," Buckingham said in a
     statement.

     "It’s my goal as your next Texas Land Commissioner to safeguard the heroes who
     served in our military, protect our exceptional natural resources, and protect our
     unique Texas heritage, especially the Alamo,” she said.




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     The Texas Tribune first reported her intentions to run Friday, when Buckingham
     was making calls to potential supporters sharing her decision, according to
     sources.
Case 3:21-cv-00259-DCG-JES-JVB Document 102-1 Filed 12/20/21 Page 187 of 195
On Friday afternoon, Buckingham launched several Facebook ads alluding to a
land commissioner run, asking viewers, for example, if they are "ready to elect
the first female Land Commissioner." Another ad billed her as a "staunch
defender of the Trump agenda."

The news of her decision comes two days after the current land commissioner,
George P. Bush, announced he was running for attorney general next year,
challenging fellow Republican Ken Paxton.

Buckingham was first elected in 2016 to represent Senate District 24 in Central
Texas. While she won a second term last year, all members of the Senate have to
run for reelection in 2022 due to redistricting, so she will have to give up her seat
if she runs for land commissioner.

Another Republican, Weston Martinez, announced Monday that he is running for
land commissioner. Martinez is a San Antonio activist who has run twice for the
Railroad Commission. Agriculture Commissioner Sid Miller endorsed Martinez's
bid on Friday afternoon.

Buckingham may not be the only GOP state senator who vies for land
commissioner. Sen. Brandon Creighton of Conroe has been discussed as a
potential candidate, and asked for comment, a spokesperson provided a
statement from him that indicated his focus was still on legislative issues.

"I am officially announcing that I am ready for the special session," Creighton
said in the statement. "Let’s get an election bill passed."

The General Land Office oversees investments that earn billions of dollars for
public education. It is responsible for managing state lands, and it operates the
Alamo, helps communities recovering from natural disasters and doles out
benefits to Texas veterans.




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                   Exhibit 31:
        Texas Tribune article, Sept. 21, 2021
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REDISTRICTING TEXAS

After losing to a Democrat in 2020, former
GOP state Sen. Pete Flores seeks election in
newly drawn Republican district
   Within hours, Flores got the endorsement of Sen. Dawn Buckingham, R-Lakeway,
   who is vacating the seat to run for land commissioner, and then Lt. Gov. Dan Patrick,
   who presides over the Senate.

BY PATRICK SVITEK      SEPT. 21, 2021    1 PM CENTRAL

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      Case 3:21-cv-00259-DCG-JES-JVB Document 102-1 Filed 12/20/21 Page 190 of 195

Former state Sen. Pete Flores, R-Pleasanton, announced Monday that he is running next year for Senate District
24, which was significantly redrawn in the first proposed map to include his hometown.  Juan Figueroa/The
Texas Tribune



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     essential Texas news.

     Former state Sen. Pete Flores is mounting a comeback bid for the upper chamber
     — with significant support — in one of the first major examples of this year’s
     redistricting process creating new opportunities for Republican candidates.

     The Pleasanton Republican announced Monday that he is running next year for
     Senate District 24, which was significantly redrawn in the first proposed map to
     include his hometown and to be safer for a Republican than his old district where
     he lost to a Democrat. Within hours, Flores got the endorsement of the current
     SD-24 incumbent, Sen. Dawn Buckingham, R-Lakeway, who is vacating the seat
     to run for land commissioner, and then Lt. Gov. Dan Patrick, who presides over
     the Senate.

     Flores lost reelection last year in Senate District 19 to San Antonio Democrat
     Roland Gutierrez after nabbing it from Democratic control in a 2018 special
     election upset that drew national attention.




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       Case 3:21-cv-00259-DCG-JES-JVB Document 102-1 Filed 12/20/21 Page 191 of 195
      “It’s not the old District 19, but it still encompasses the heartland of Texas, the
      parts of Texas I most closely identify with,” Flores said in a news release,
      referring to the draft SD-24. “I know the people and the ideas and values they
      hold dear.”


Proposed Texas Senate district 24
State Senate district 24 was drawn to include former senator Pete Flores' home in Pleasanton. Flores
represented Senate district 19 for two years before he lost the seat in 2020 to a Democrat.




                                                                                    © OpenStreetMap contributors


Source: Texas Legislative Council




      Things moved quickly after Flores’ announcement, with Buckingham endorsing
      him Monday afternoon and Patrick backing him Tuesday morning. Patrick said in
      a statement he needs Flores “back in the Texas Senate to continue to advance our
      conservative agenda for Texas.”

      The newly proposed SD-24 is largely rural, jutting into Atascosa County to
      encompass almost all of Flores’ hometown of Pleasanton. It then curves north
       Case 3:21-cv-00259-DCG-JES-JVB Document 102-1 Filed 12/20/21 Page 192 of 195
      around the San Antonio area and farther up through the Hill Country and beyond
      Austin.

      The draft of SD-24 went for for President Donald Trump by 18 percentage points
      last year, which would be a friendlier district for Flores than the one he
      previously held, SD-19. President Joe Biden carried that district by 8 points.

      Under the proposed map, SD-19 would become more Democratic, morphing into
      a district that Biden won by 13 points.

      Flores’ return to the chamber would add a Hispanic Republican to its ranks at a
      time when the GOP is pushing to make fresh inroads in South Texas, where
      President Joe Biden underperformed last year.


Current Texas Senate district 24
District 24 is currently represented by Sen. Dawn Buckingham, R-Lakeway, who is vacating the seat to run for
land commissioner. Under the current plan, Pete Flores, a former state senator who lives in Pleasanton,
doesn’t live in the district.




                                                                                   © OpenStreetMap contributors


Source: Texas Legislative Council
Case 3:21-cv-00259-DCG-JES-JVB Document 102-1 Filed 12/20/21 Page 193 of 195
Ellen Troxclair, a Republican and former member of the Austin City Council, has
been campaigning for SD-24 for months, unopposed by any other serious
candidates. She launched her bid shortly after Buckingham announced in June
that she was vacating the seat to run for land commissioner.

The first proposed boundaries for SD-24, however, appear to pose problems for
Troxclair. Her campaign paperwork lists an address in the Austin suburb of Bee
Cave, which would fall outside SD-24 under the new map.




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The map will have to be approved by both chambers of the Legislature and signed
into law by Gov. Greg Abbott.

“This map is only the first draft of many and will be vetted and tweaked in the
weeks to come,” Troxclair said in a statement Monday. “The only certain thing
about the current map is that it will change.”

Flores and Troxclair traded endorsements Tuesday. After Flores rolled out
Patrick's support, Troxclair announced the backing of U.S. Rep. Roger Williams of
Austin. Flores than released the endorsement of former Gov. Rick Perry.

In a news release announcing Williams' endorsement, Troxclair's campaign
alluded to the tension over the proposed 24th District, showing no sign of
backing down.
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"As political insiders wrestle for power over the evolving redistricting maps in
Austin," the campaign said, "Troxclair continues to focus her attention on
building grassroots support on the ground, fundraising, and earning
endorsements.

The Legislature started its work in the third special session on Monday to redraw
the district maps for the Texas House, Senate, State Board of Education and
members of Congress. Lawmakers will craft those maps using the latest census
data, which showed that people of color fueled 95% of the state’s population
growth over the past decade.

Republicans control both chambers and will have every advantage throughout
the 30-day process to better position their party for the next decade.

This is the first time in decades federal law allows Texas to draw and use political
maps without first getting federal approval to ensure that they’re not
disenfranchising the voting rights of people of color. That federal preclearance
requirement in the Voting Rights Act was gutted by the Supreme Court in 2013.




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Since the enactment of the Voting Rights Act in 1965, Texas has not made it
through a single decade without a federal court admonishing it for violating
federal protections for voters of color.

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Tribune Festival happening now through Sept. 25. Join as big names from politics,
public policy and the media share what’s next for Texas and beyond. Explore live and
on-demand programming, including dozens of free events, at tribfest.org.


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    cover, every event we convene and every newsletter we send. As a nonprofit
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